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Exhibit 9
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             EXPERT REPORT OF DANIEL CICCARONE, MD, MPH
                                 August 3, 2020
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I.     BACKGROUND AND QUALIFICATIONS
       1.      I am a Professor of Family Community Medicine at the University of California

San Francisco (UCSF). I have been on faculty at UCSF since 2000. A copy of my current CV,

which lists my publications in the last ten years, is attached to this Report as Exhibit A.

       2.      I received my undergraduate degree in biology and social sciences from State

University of New York at Stony Brook in 1983 and my medical degree at SUNY Stony Brook in

1987. I completed my residency training in Family Medicine at UCSF (San Francisco General

Hospital) in 1992. I received my Masters in Public Health (MPH) degree at University of

California Berkeley (UCB) in 1998. I completed a second residency in General Preventive

Medicine and Public Health at the UCSF/UCB Joint Residency Program in 2000, at the same time

as completing a post-doctoral fellowship at the Center for AIDS Prevention Studies, UCSF.

       3.      I have been licensed to practice medicine in the State of California from 1992 to

present. I have received board certification from the American Board of Medical Specialties in

Family Medicine (American Board of Family Medicine, 1992 to present), Preventive Medicine

(American Board of Preventive Medicine, 2003 to 2013) and Addiction Medicine (American

Board of Preventive Medicine, sub-Board Addiction Medicine, 2018 to present).

       4.      My faculty/professional time is divided between research (at least 60% full-time

equivalent), teaching (5-20%) and clinical (10-20%).

       5.      Over the past 20 years, I have been Principal Investigator or Co-Investigator on

numerous US National Institutes of Health (NIH) sponsored research projects in the areas of public

health and HIV/AIDS prevention. These population-based studies, utilizing both quantitative and

qualitative methodologies, aim to deepen our understanding of HIV and related disease and risk-

taking among socially marginalized groups, e.g., injection drug users.



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       6.      I have published over 70 peer-reviewed articles, commentaries, letters and chapters

in prestigious medicine, public health and addiction journals, including New England Journal of

Medicine, Journal of the American Medical Association, PLoS Medicine, American Journal of

Public Health, International Journal on Drug Policy (IJDP), and Addiction, among many others.

According to Mendeley, my work has been cited over 3,000 times, viewed more than 60,000 times

and mentioned in the media over 200 times.1

       7.      For the past 15 years, my research has explored the differential medical

consequences of use of various sources and forms of heroin. When the US recently entered a new

heroin use epidemic, circa 2010, my team was already poised to explore it.2 One of our first

findings was how the heroin use epidemic was fueled by the recent opioid pill epidemic.3 My

team is currently exploring the public health, economic, anthropological, and clinical dimensions

of the “Triple Wave” – prescription opioid pills to heroin to fentanyls – opioid overdose crisis.4

       8.      My methodological innovation to public health research was the development of an

interdisciplinary research platform combining quantitative and qualitative techniques to explore

both the breadth of structural risk (quantitative methods including epidemiological and

econometric) along with the depth of personal risk taking (qualitative methods including

ethnographic and clinical observation) to better understand the problematic outcomes. Our




1
       https://www.mendeley.com/impact/dan-ciccarone/
2
       https://www.researchgate.net/project/Heroin-Price-Purity-and-Outcomes-Study
3
      Mars S, Bourgois P, Karandinos G, Montero F, Ciccarone D. "Every 'Never' I Ever Said
Came True": Transitions from opioid pills to heroin injecting. Int J Drug Policy. 2014
Mar;25(2):257-66. doi: 10.1016/j.drugpo.2013.10.004. Epub 2013 Oct 19. [PMID: 24238956]
4
       https://www.researchgate.net/project/Heroin-in-Transition

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methods have been highlighted in both the scientific5 and lay6 press. This interdisciplinary work

gives us more complex understandings and insight into mechanism in the evolution of social

problems. For example, in the triple wave opioid overdose phenomenon we can understand both

supply (structural) and demand (personal, social) forces for drug use including the reasons for

transitions from pills to heroin and fentanyl.

       9.      Doing street-based ethnographic research has an advantage of real time authentic

observation. Fieldwork I did during 2011-2012 in inner-city Philadelphia led to a big-shift in the

focus of my team’s work.7 A key encounter at that time was with two older men who, while

currently injecting heroin, started their opioid use as patients with workplace injuries and

transitioned to heroin after developing opioid dependency and once their doctors “cut [them] off”.

We went on to document the early rise of the current US heroin epidemic and the influx of users

migrating from opioid pill dependency to heroin. “Every 'Never' I Ever Said Came True”:

Transitions from opioid pills to heroin injecting is a qualitative exploration of opioid-pill-to-heroin

transition stories; it is the first qualitative paper to compare the contexts of initiation into

prescription opioid use and transitions to heroin injection across two generations of current heroin

injectors in two distinct US cities.8 Key findings include folks initiating heroin after becoming


5
       Ciccarone D. With Both Eyes Open: Notes on a Disciplinary Dialogue between
Ethnographic and Epidemiological Research among Injection Drug Users. Int J Drug Policy. 2003;
14(1):115-8.
6
       https://medium.com/ucsf-magazine/streets-of-pain-bcf26aef318
7
       Fessel JN, Mars SG, Bourgois P and Ciccarone D. Into the Epistemic Void: Using rapid
assessment to investigate the opioid crisis, in Ethnography Uncensored, ed. Miriam Boeri and
Rashi K. Shukla. (2019) University of California Press.
8
      Mars S, Bourgois P, Karandinos G, Montero F, Ciccarone D. "Every 'Never' I Ever Said
Came True": Transitions from opioid pills to heroin injecting. Int J Drug Policy. 2014
Mar;25(2):257-66. doi: 10.1016/j.drugpo.2013.10.004. Epub 2013 Oct 19. [PMID: 24238956]

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opioid pill dependent; while younger “pill-initiates” started with diverted opioid pills, most of our

older pill-initiates started with prescribed opioids. (For more key findings see paragraph 50). This

paper, led by my co-investigator Dr. Sarah Mars, has received several accolades: cited 234 times,9

it was for several years the most cited paper at IJDP since 2014; a “highly cited paper” according

to Web of Science, it has received enough citations to place it in the top 1 percentile of papers in

its field.10

         10.    Our first papers on this phenomenon received national attention all the way to the

White House. The companion quantitative paper, Intertwined Epidemics: National Demographic

Trends in Hospitalizations for Heroin- and Opioid-Related Overdoses, 1993-2009, presents a

national statistical model on the intertwining epidemics of prescription opioid-related and heroin-

related overdose.11 This paper, led by my co-investigator Dr. Jay Unick, has been cited 173 times12

and the language of “intertwined epidemics” used by many leaders including Michael Botticelli,

former Director, Office of National Drug Control Policy. Its Altmetric score of 432 puts it in the

top 1 percentile of all research outputs measured.13

         11.    I am currently Principal Investigator for the NIH/National Institute of Drug Abuse

funded Heroin in Transition (HIT) study; a six-year project (2015-2021) with integrated


9
         https://badge.dimensions.ai/details/id/pub.1004504501
10
         http://apps.webofknowledge.com/summary.do?product=WOS&parentProduct=WOS&
search_mode=GeneralSearch&parentQid=&qid=4&SID=5AjRg6yPuApGQAExUe2&&update_
back2search_link_param=yes&page=3
11
       Unick GJ, Rosenblum D, Mars S, Ciccarone D. Intertwined epidemics: national
demographic trends in hospitalizations for heroin- and opioid-related overdoses, 1993-2009. PLoS
One. 2013; 8(2):e54496. PMID: 23405084
12
         https://badge.dimensions.ai/details/id/pub.1040502066
13
         https://www.altmetric.com/details/1225036

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multidisciplinary – ethnographic, economic and statistical modeling – aims to examine the recent

rise in US heroin use and sharp increases in illicit opioid-involved morbidity and mortality. In

2017, I served as Guest Editor for a Special Issue of IJDP on Heroin in Transition.14

       12.     Recent published commentaries summarize our research insights. A key one, The

triple wave epidemic: Supply and demand drivers of the US opioid overdose crisis, published in

IJDP in 2019, summarizes the epidemiological data on three waves of opioid overdose deaths –

opioid pills to heroin to fentanyls – along with an analysis of the structural and personal forces

leading the transitions from wave to wave.15

       13.     The findings from HIT have been highly influential. HIT findings have received

national and international attention through 17 peer-reviewed papers, letters and editorials as well




14
       Ciccarone D. Fentanyl in the US heroin supply: A rapidly changing risk environment. Int
J Drug Policy. 2017 08; 46:107-111. PMID: 28735776. PMCID: PMC5742018.
15
       Ciccarone D. The triple wave epidemic: Supply and demand drivers of the US opioid
overdose crisis. Int J Drug Policy. 2019 Feb 01. PMID: 30718120.

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as two book chapters.16 HIT publications have received over 700 citations in just 6 years17; two

of these papers are in the top 3 cited papers at IJDP since 2017.18 Intense media interest has led to



16
        Mars S, Fessel J, Bourgois P, Montero F, Karandinos G, Ciccarone D. Heroin-related
overdose: the unexplored influences of markets, marketing and source-types in the United States.
Soc Sci Med. 2015 Sep;140:44-53. doi: 10.1016/j.socscimed.2015.06.032. Epub 2015 Jun 30.
[PMID: 26202771]; Ciccarone D. & Harris M. Fire in the vein: Heroin acidity and its proximal
effect on users' health. Int J Drug Policy. 2015 Nov;26(11):1103-10. doi:
10.1016/j.drugpo.2015.04.009. Epub 2015 Apr 17. [PMID: 26077143]; Ciccarone D & Bourgois
P. Injecting drugs in tight spaces: HIV, cocaine and collinearity in the Downtown Eastside,
Vancouver, BC. In IJDP Special Issue: Situating Drugs and Drug Use Geographically. Int J Drug
Policy. 2016 Mar 8. pii: S0955-3959(16)30060-3. doi: 10.1016/j.drugpo.2016.02.028. [Epub
ahead of print] PMID: 27117187; Ciccarone D, Unick J, Cohen J, Mars S, Rosenblum D.
Nationwide increase in hospitalizations for heroin-related soft tissue infections: associations with
structural market conditions. Drug Alcohol Depend. 2016 Apr 14. pii: S0376-8716(16)30036-9.
doi: 10.1016/j.drugalcdep.2016.04.009. [Epub ahead of print] PMID: 27155756; Mars S, Bourgois
P, Montero F, Karandinos G, Ciccarone D. The Textures of Heroin: User Perspectives on “Black
Tar” and Powder Heroin in Two US Cities. J of Psychoactive Drugs. 2016 Sep-Oct;48(4):270-8.
doi: 10.1080/02791072.2016.1207826. Epub 2016 Jul 20 PMID:27440088; Unick GJ, Ciccarone
D. US regional and demographic differences in prescription opioid and heroin-related overdose
hospitalizations. Int J Drug Policy. 2017 08; 46:112-119. PMID: 28688539. PMCID:
PMC5722230; Ciccarone D, Ondocsin J, Mars SG. Heroin uncertainties: Exploring users’
perceptions of fentanyl-adulterated and -substituted ‘heroin’. Int J Drug Policy. 2017 08; 46:146-
155. PMID: 28735775. PMCID: PMC5577861; Ciccarone D. Fentanyl in the US heroin supply:
A rapidly changing risk environment. Int J Drug Policy. 2017 08; 46:107-111. PMID: 28735776.
PMCID: PMC5742018; Mars SG, Ondocsin J, Ciccarone D. Sold as Heroin: Perceptions and Use
of an Evolving Drug in Baltimore, MD. J Psychoactive Drugs. 2017 Dec 06; 1-10. PMID:
29211971. PMCID: PMC6114137; Dasgupta N, Beletsky L, Ciccarone D. Opioid Crisis: No Easy
Fix to Its Social and Economic Determinants. Am J Public Health. 2018 Feb; 108(2):182-186.
PMID: 29267060. PMCID: PMC5846593; Mars SG, Ondocsin J, Ciccarone D. Toots, tastes and
tester shots: user accounts of drug sampling methods for gauging heroin potency. Harm Reduct J.
2018 May 16; 15(1):26. PMID: 29769132. PMCID: PMC5956544; Mars SG, Rosenblum D,
Ciccarone D. ‘Illicit fentanyls in the opioid street market: desired or imposed?’ Addiction. 2018
Dec 4. doi: 10.1111/add.14474. [Epub ahead of print]; Ciccarone D. The triple wave epidemic:
Supply and demand drivers of the US opioid overdose crisis. Int J Drug Policy. 2019 Feb 01.
PMID: 30718120; Ciccarone D. Heroin Smoking Is Not Common in the United States. JAMA
Neurol. 2019 Mar 11. PMID: 30855649; Mars SG, Rosenblum D, Ciccarone D. Fentanyl: the many
challenges ahead. Addiction. 2019 Mar 15. PMID: 30873700. Bobashev G, Mars S, Murphy N,
Dreisbach C, Zule W, Ciccarone D. Heroin type, injecting behavior, and HIV transmission. A
simulation model of HIV incidence and prevalence. PLoS One. 2019; 14(12):e0215042. PMID:
31887142. PMCID: PMC6936826; Rosenblum D, Unick J, Ciccarone D. The Rapidly Changing
US Illicit Drug Market and the Potential for an Improved Early Warning System: Evidence from
Ohio Drug Crime Labs. Drug Alcohol Depend. 2020 Mar 01; 208:107779. PMID: 31931266.
PMCID: PMC7096152; Fessel JN, Mars SG, Bourgois P and Ciccarone D. Into the Epistemic
                                                 6
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over 200 news articles quoting myself as well as other HIT Co-Investigators, e.g., in Science,

Nature, The New York Times (multiple), The Washington Post (multiple), NBC, NPR, among many

others. Subsequently, 9 HIT papers have Altmetric scores in the 95th percentile and an additional

4 in the top 99th. Language from our HIT papers and presentations, e.g., “intertwined epidemics”

and “triple wave epidemic” has made it into the national policy lexicon regarding the opioid crisis.

       14.      I have had the honor of giving numerous plenary and keynote presentations, on the

triple wave opioid epidemic, in settings sponsored, e.g., by US Office of National Drug Control

Policy (ONDCP), Centers for Disease Control and Prevention (CDC), US Drug Enforcement

Administration (DEA), and the American Association for the Advancement of Science (AAAS),

among others.

       15.      I have given testimony to the US House of Representatives twice, in 2018 and 2020,

regarding the supply-side issues related to fentanyl, and other illicit synthetic opioids, and on

public health responses to the triple wave crisis.

       16.      I have provided consultation to officials and agencies at local, state and federal

levels, e.g., to the CDC, US Governmental Accountability Office, West Virginia’s State Health

Office, New York State Health Department and Colorado Department of Public Health and

Environment, among others. I was a temporary voting member of the Food and Drug




Void: Using rapid assessment to investigate the opioid crisis, in Ethnography Uncensored, ed.
Miriam Boeri and Rashi K. Shukla. (2019) University of California Press.
17
      https://app.dimensions.ai/discover/publication?or_facet_researcher=ur.015647654307.01&
or_facet_researcher=ur.015715767507.22.
18
        https://www.journals.elsevier.com/international-journal-of-drug-policy/most-cited-
articles.

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 Administration (FDA) Center for Drug Evaluation and Research’s Drug Safety and Risk

 Management Advisory Committee (DSaRM) in 2017-18.

        17.     Last year I was honored for my contributions to the drugs field and underserved

 populations with the 2019 UCSF Chancellor’s Award for Public Service.

        18.     I have been an Associate Editor at IJDP since 2013, with the subject domain of drug

 policy and economics; and ranked an “outstanding reviewer” at that journal in 2015 and 2018. I

 have peer-reviewed almost 100 manuscripts in over 30 academic journals.

        19.     In my activities as a medical educator at UCSF, I have largely worked towards

 improving the social, behavioral and prevention science content within the medical school

 curriculum. From 2009 to 2016, I was Co-Director for the Foundations of Patient Care (FPC)

 course. This course helped students develop their clinical and professional skills. I was also

 Director of the Transitional Clerkship (2009-2017), a two-week immersion course for second year

 medical students transitioning to their clinical training years.

        20.     In the realm of addiction medicine, I have several educational accomplishments. I

 developed an elective course for advanced students regarding substance use, entitled

 Understanding the Complexities of Substance Use “in The Real World.” The course has been

 described in a brief publication in Medical Education.19 I have given an annual lecture on

 homelessness, injection drug use and infection. This won an “outstanding lecture” award from the

 student body in 2009.




 19
        Ciccarone D, Jain S, Bourgois P. Understanding illicit substance use in the real world. Med
 Educ. 2008 May; 42(5):532. PMID: 18412911.

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        21.     From 2009 to 2015, I was part of a team led by Dr. Paula Lum to develop and

 implement a 7-week seminar series to introduce SBIRT (Screening, Brief Intervention and Referral

 to Treatment) skills to Internal Medicine residents. This has been described in two publications.20

        22.     Beginning in 2018 and continuing to the present, I have focused my teaching efforts

 exclusively on curriculum development and advising related to addiction medicine. In 2018, the

 six University of California (UC) medical schools appointed an Opioid Crisis Workgroup to

 develop educational strategies and a coordinated response to the opioid epidemic. I am a key

 participant in that Workgroup helping develop competencies and curricula for student education

 in pain management, appropriate opioid prescribing, and substance use disorders screening and

 treatment. I am supervising or mentoring several students and post-docs in their addiction related

 educational or research efforts. In addition, I am faculty advisor for the student run harm reduction

 and addiction medicine student interest group (and their fall teaching elective) and am affiliated

 faculty for the UCSF Primary Care Addiction Medicine Fellowship. In 2019, I lectured in the

 UCSF Mini-Medical School (for the public) on addiction.

        23.     I have received several awards while at UCSF, including for teaching (2006 and

 2009) and have been nominated for dozens more.


 20
         Hettema JE, Ratanawongsa N, Manuel JK, Ciccarone D, Coffa D, Jain S, Lum PJ. A
 SBIRT curriculum for medical residents: development of a performance feedback tool to build
 learner confidence. Subst Abus. 2012; 33(3):241-50. PMID: 22738001. Azari S, Lum P,
 Ratanawongsa N, Ciccarone D, Cangelosi C, Coffa D, Shapiro B, Jain S, Hersh D, Hettema J,
 Manuel J. A Skills-Based Curriculum for Teaching Motivational Interviewing-Enhanced
 Screening, Brief Intervention, and Referral to Treatment (SBIRT) to Medical Residents.
 MedEdPORTAL                 Publications;         2015.               Available          at
 https://www.mededportal.org/publication/10080;         http://dx.doi.org/10.15766/mep_2374-
 8265.10080




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        24.     Since 2019, I have served on the Pain and Addiction Research Center (PARC)

 Strategic Advisory Board. The goal of PARC is to create an interactive community at UCSF to

 promote discovery and translation of clinical and preclinical research results to improve patient

 care in the related fields of pain and addiction medicine.

        25.     My clinical activities consist of providing patient care for 10-20% of my

 professional time. The clinic I work in provides treatment for substance use disorders and chronic

 pain. I treat patients suffering with alcohol, benzodiazepine and opioid use disorders. In 2017, I

 received my DATA 2000 waiver to prescribe buprenorphine for the treatment of opioid use

 disorder.

        26.     I am a member of the following organizations: International Society for the Study

 of Drug Policy, the Association for Medical Education and Research in Substance Abuse

 (AMERSA), the California Society of Addiction Medicine, and the American Society of Addiction

 Medicine.


 II.    SUMMARY OF OPINIONS
        27.     In my opinion, there is a well-defined causal link between the use of prescription

 opioids and subsequent use of heroin.

        28.     The increased availability of prescription opioids has resulted in increased number

 of heroin users, transitioning from opioid pill misuse to heroin use, particularly among the 20 to

 34-year-old age group.

        29.     A second wave of heroin-related overdose built upon, and is intertwined with, the

 first wave of opioid-pill-related overdose. Heroin-related deaths have increased 394% nationally




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 from 2008 to 2018.21 The third wave, overdoses due to fentanyl-adulterated or -substituted heroin

 (FASH), has dramatically compounded the overdose problem.

        30.     The State of West Virginia has been disproportionately affected by the triple wave

 overdose phenomenon. West Virginia has experienced statistically significant increases in drug

 overdose deaths every year since 2013 with an age-adjusted death rate of 57.8 per 100,000 in

 2017.22 This is the highest drug related death rate for any state in the US.23 These increases have

 occurred across multiple opioid categories, including heroin, synthetic and prescription opioids.24

 The death rate attributed to prescription opioids remains high in West Virginia (19.7 per 100,000

 in 2016)25 with a slight decline in 2017 (17.2 per 100,000),26 the highest rate among US states for

 both years. Within West Virginia, Cabell County has been disproportionately affected, ranking




 21
        Hedegaard H, Miniño AM, Warner M. Drug overdose deaths in the United States, 1999–
 2018. NCHS Data Brief, no 356. Hyattsville, MD: National Center for Health Statistics. 2020.
 22
        Scholl L, Seth P, Kariisa M, Wilson N, Baldwin G. Drug and Opioid-Involved Overdose
 Deaths — United States, 2013–2017. MMWR Morb Mortal Wkly Rep. 2019 Jan
 4;67(5152):1419–27.
 23
        Scholl L, Seth P, Kariisa M, Wilson N, Baldwin G. Drug and Opioid-Involved Overdose
 Deaths — United States, 2013–2017. MMWR Morb Mortal Wkly Rep. 2019 Jan
 4;67(5152):1419–27.
 24
        Seth P, Scholl L, Rudd RA, Bacon S. Overdose Deaths Involving Opioids, Cocaine, and
 Psychostimulants — United States, 2015–2016. MMWR Morb Mortal Wkly Rep. 2018 Mar
 30;67(12):349–58.
 25
        Seth P, Scholl L, Rudd RA, Bacon S. Overdose Deaths Involving Opioids, Cocaine, and
 Psychostimulants — United States, 2015–2016. MMWR Morb Mortal Wkly Rep. 2018 Mar
 30;67(12):349–58.
 26
        Scholl L, Seth P, Kariisa M, Wilson N, Baldwin G. Drug and Opioid-Involved Overdose
 Deaths — United States, 2013–2017. MMWR Morb Mortal Wkly Rep. 2019 Jan
 4;67(5152):1419–27.

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 first in the state with the highest opioid overdose death rate per 100,000 population for 2015 and

 2016.27


 III.      METHODOLOGY
           31.   My report is based on my twenty years of experience as a professor of family and

 community medicine at UCSF, the evidence gathered through my public health research on

 substance use and, in particular, my recent research into the link between prescription opioid use

 and subsequent heroin use.

           32.   My opinion is also informed by my 30 years of training and experience as a

 clinician, both as a family medicine practitioner and more recently as an addiction medicine

 specialist, providing care for persons affected by substance use.

           33.   As part of my research, I have received three grants, over 15 years of continuous

 funding, from the National Institutes of Health, National Institute on Drug Abuse, to study the

 public health aspects of heroin use. I am the Principal Investigator on each of these and as such I

 lead a team of researchers (co-investigators) and staff. The questions we pose, the analyses we

 perform and the papers we write are all chosen and approved by me; the work is collaborative.28

 Our research is multi-methodological. For our epidemiological research we perform extensive

 literature searches, gather data from governmental sources, analyze it using sophisticated means

 and publish it following community standards of peer-review. Our qualitative research is laborious




 27
         West Virginia Board of Pharmacy. Prescription Opioid Problematic Prescribing Indicators
 County            Report,          Cabell           County.           October            2017.
 https://helpandhopewv.org/docs/PFS_County_Reports/Cabell_PfS%20County%20Reports_Final
 .pdf.
 28
        In publications, the role of Principal Investigator is usually denoted with first- or last- (i.e.,
 “senior”) authorship positions.

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 and involves the logistics of fieldwork in multiple US locations, interviewing dozens of research

 subjects (i.e., opioid and heroin users), along with multiple days of observations and hours of video

 and audio recordings per location; followed by rigorous analysis, write-up and publication. My

 research has resulted in the publication of over 40 peer-reviewed articles on heroin with several

 key publications on the link between prescription opioids and heroin:

               Unick GJ, Rosenblum D, Mars S, Ciccarone D. Intertwined epidemics: national

        demographic trends in hospitalizations for heroin- and opioid-related overdoses, 1993-

        2009. PLoS One. 2013; 8(2):e54496. PMID: 23405084.

               Mars S, Bourgois P, Karandinos G, Montero F, Ciccarone D. “Every ‘Never’ I

        Ever Said Came True”: Transitions from opioid pills to heroin injecting. International

        Journal of Drug Policy. 2014 Mar;25(2):257-66. PMID: 24238956.

               Unick GJ, Ciccarone D. US regional and demographic differences in prescription

        opioid and heroin-related overdose hospitalizations. Int J Drug Policy. 2017 08; 46:112-

        119. PMID: 28688539. PMCID: PMC5722230.

               Dasgupta N, Beletsky L, Ciccarone D. Opioid Crisis: No Easy Fix to Its Social

        and Economic Determinants. Am J Public Health. 2018 Feb; 108(2):182-186. PMID:

        29267060. PMCID: PMC5846593.

               Ciccarone D. The triple wave epidemic: Supply and demand drivers of the US

        opioid overdose crisis. Int J Drug Policy. 2019 Feb 01. PMID: 30718120.


        34.     In preparing this report I reviewed documents provided to me by the Plaintiffs,

 including expert opinion reports from Drs. Lembke, Alexander, and Courtwright, state data reports

 from West Virginia, published literature and my own published papers. Specifically for this report,

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 in addition to the materials referenced in the footnotes, I have considered the materials listed in

 Exhibit B, attached. I hold the opinions stated in this report to a reasonable degree of scientific

 certainty based on the information I had at the time of writing it. Opinions are my own and not

 that of the University of California. I reserve the right to revise my perspectives as new data are

 presented to me.

         35.       My opinions have also been honed by my experience in the scholarship of drug

 policy. In my role as Associate Editor for the International Journal of Drug Policy, the premier

 drug policy journal, I read, process and publish dozens of scholarly articles each year. My research

 and expertise also has me interfacing with government, public policy and interventional leaders at

 the national, state and local levels; and in these interactions my opinions get honed.

         36.       My hourly rate of compensation for this work is $500 for all services, except for

 deposition and trial testimony, which shall be $600. I am not compensated based on the outcome

 of this matter.

 IV.     DISCUSSION OF OPINIONS
         A.        Opioid Use Disorder

         37.       Addiction has been defined by several leading organizations. The American

 Society of Addiction Medicine’s definition: “Addiction is a primary, chronic disease of brain

 reward, motivation, memory and related circuitry. Dysfunction in these circuits leads to

 characteristic biological, psychological, social and spiritual manifestations. This is reflected in an

 individual pathologically pursuing reward and/or relief by substance use and other behaviors.

 Addiction is characterized by inability to consistently abstain, impairment in behavioral control,

 craving, diminished recognition of significant problems with one’s behaviors and interpersonal

 relationships, and a dysfunctional emotional response. Like other chronic diseases, addiction often

 involves cycles of relapse and remission. Without treatment or engagement in recovery activities,

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 addiction is progressive and can result in disability or premature death.”29 The important element

 in this definition is that addiction is the manifestation of a brain disease. That is it is an organ

 disease similar to diabetes being a metabolic disease, or myocardial infarction being a disease of

 the heart. The disease of addiction is considered a maladaptive, or pathophysiological, response

 to chronic exposure to an addicting substance. The “characteristic biological, psychological, etc.

 manifestations” say more about the hurt brain than do the typical causal attributions of “choice,”

 or “morals” of the individual. In Dr. Lembke’s expert opinion she states, that while “everyone is

 vulnerable to the disease of addiction… without activation by consumption of the drug, the disease

 of addiction does not exist. Exposure to/consumption of the addictive substance is a necessary

 criterion for the development of addiction to that substance.”30 I agree with this statement and

 have seen it occur in my clinical practice as well as in my research experience. Exposure to opioids

 is the critical first step in developing OUD. Chronic exposure can then lead to altered brain

 functioning. The behavioral features of addiction, e.g., craving for the drug, compulsive drug

 taking, etc. are associated with structural and functional changes in the neural, e.g., reward, circuits

 of the brain.31

         38.       Clinical providers need diagnostic criteria for establishing a medical condition in a

 patient. The current diagnostic nomenclature for “addictions” is “substance use disorders.” The




 29
         American Society of Addiction Medicine (ASAM) Definition of Addiction:
 https://www.asam.org/resources/definition-of-addiction (accessed June 17, 2020).
 30
        Expert Report of Anna Lembke, M.D., Cabell County Commission and City of Huntington,
 West Virginia v. AmerisourceBergen Drug Corp., et al., No. 1:17-op-45053-SAP and No. 1:17-
 op-45054.
 31
        Volkow ND, McLellan AT. Opioid Abuse in Chronic Pain - Misconceptions and
 Mitigation Strategies. N Engl J Med. 2016;374(13):1253-1263. doi:10.1056/NEJMra1507771.
                                                    15
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 Diagnostic and Statistical Manual of Mental Disorders (DSM-5)32 is the textbook that clinicians

 use to diagnose mental health, including substance use disorders, in their patients. The DSM-5

 states 11 different symptomatic criteria to diagnose an opioid use disorder (OUD). It is a spectrum

 disorder; severity of OUD depend on the number of criteria/symptoms met: mild OUD, 2-3

 symptoms; moderate, 4-5 symptoms; severe, 6 or more symptoms. In my opinion, DSM-5 went

 too far in removing tolerance and withdrawal as symptoms of OUD.

        39.     Risks leading to OUD include genetic predisposition (including family history),

 developmental conditions, and environmental influences. The complexity of these interacting

 forces has not been fully elucidated. Some persons are more vulnerable than others and this also

 not completely understood. One force that is quite clear – in raising the whole societal boat of

 vulnerability – is the role of increased supply and exposure to opioids.

        40.     OUD manifests from a disorder in the brain’s dopaminergic centers. Dopamine is

 our “reward” neurochemical that regulates how we perceive pleasure and pain.33 Opioids,

 including natural ones (e.g., morphine), semi synthetics (e.g., oxycodone or heroin), or full

 synthetics (e.g., fentanyl), cause increases in dopamine release. Physiological processes in the

 body work hard to achieve homeostatic balance. Neuroadaptation is the mechanism in which the

 brain achieves homeostasis. If dopamine is externally triggered, a natural response in the reward

 center is to reduce internal dopamine availability and function. This is the underlying mechanism

 of withdrawal from, tolerance to and dependency on opioids. The resulting dopamine deficit state




 32
        Diagnostic and Statistical Manual of Mental Disorders. Washington, DC: American
 Psychiatric Association (DSM-5); 2013.
 33
       Koob GF, Volkow ND. Neurocircuitry of addiction. Neuropsychopharmacology.
 2010;35:217-238. doi:10.1038/npp.2010.4

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 causes the threshold for experiencing pleasure to go up, while the threshold for experiencing pain

 goes down. Persons who are chronically exposed (and this happens in short course) need further

 opioids in order to achieve pain relief (usually in higher doses to overcome tolerance) and to avoid

 withdrawal – in short, to feel well. Over a longer period of exposure maladaptive symptoms may

 develop including, e.g., psychological (e.g., craving) or social symptoms (e.g., inability to meet

 work duties); if enough of the 11 DSM-5 symptoms develop then criteria for OUD is met. (See

 paragraph 38 above.)

       41.      Drug supply matters in terms of causing waves of problematic drug use.34

 Historians have observed the implications of increased supply in several opioid misuse cycles

 beginning with morphine in the latter half of the 19th century.35 Morphine was mostly dispensed

 by physicians in the United States, particularly to women.36 The United States’ first opioid problem

 was iatrogenic, i.e., caused by prescribers and pharmacists, and exacerbated by the technological

 advance of the hypodermic syringe.37 According to historian David Courtwright, “the two most

 important risk factors (for morphine addiction) were exposure to narcotics and a history of chronic




 34
        Ciccarone D. The triple wave epidemic: Supply and demand drivers of the US opioid
 overdose crisis. Int J Drug Policy. 2019 Feb 01. PMID: 30718120.
 35
        Courtwright, D. T. (2001a). Forces of habit. Drugs and the making of the modern world.
 Cambridge, MA and London, UK: Harvard University Press. Courtwright, D. T. (2001b). Dark
 paradise: A history of opiate addiction in America. Cambridge, MA: Harvard University Press.
 Musto, D. F. (1999). The American disease: Origins of narcotic control (3rd ed.). New York:
 Oxford University Press.
 36
       Courtwright, D. T. (2001a). Forces of habit. Drugs and the making of the modern world.
 Cambridge, MA and London, UK: Harvard University Press.
 37
       Courtwright, D. T. (2001b). Dark paradise: A history of opiate addiction in America.
 Cambridge, MA: Harvard University Press.

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 illness.”38 At the peak of this first US opioid epidemic in 1895, approximately 300,000 persons

 suffered from addiction to opioids, a population prevalence of 0.4%, or 1 in every 250 persons.39

       42.      Subsequently, periods of increased licit and illicit opioid supplies influenced use

 and misuse and caused waves of public health problems. Heroin (diacetylmorphine) had a short

 life as a licit medication beginning in 1898. Medical conservatism regarding opiates, stemming

 from lessons learned from morphine addiction, kept iatrogenic addiction to heroin to a lesser wave

 than that which preceded it. Nevertheless, heroin became a problematic drug and was banned from

 medical practice.   Likewise concerns about problematic use following the introduction of

 oxycodone (semisynthetic opioid) and methadone (synthetic opioid) in the 1940s led to their

 regulation.40 Illicit heroin had waves of use and consequence following the introduction of new

 sources and increased supplies in the1940s and 1970s.41

       43.      Increased access to opioids increases incident opioid use disorder. The biggest risk

 for developing OUD is exposure.42 A 1954 study reported that 17% of opioid addicted men




 38
       Courtwright, D. T. (2001b). Dark paradise: A history of opiate addiction in America.
 Cambridge, MA: Harvard University Press.
 39
         My calculation is based on opiate “addict” population estimate from Courtwright, Dark
 Paradise,      and        US        historic      census       data       obtained       from:
 https://www.census.gov/population/estimates/nation/popclockest.txt (accessed June 17, 2020).
 40
        Edlund MJ, Martin BC, Russo JE, Devries A, Braden JB, Sullivan MD. The Role of Opioid
 Prescription in Incident Opioid Abuse and Dependence Among Individuals With Chronic
 Noncancer Pain. Clin J Pain. 2014;30(7):557-564.
 41
        Ciccarone D. The triple wave epidemic: Supply and demand drivers of the US opioid
 overdose crisis. Int J Drug Policy. 2019 Feb 01. PMID: 30718120.
 42
        Expert Report of Anna Lembke, M.D., Cabell County Commission and City of Huntington,
 West Virginia v. AmerisourceBergen Drug Corp., et al., No. 1:17-op-45053-SAP and No. 1:17-
 op-45054.

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 became addicted after being treated with opioids for pain.43 Increased dose and duration of opioid

 use is directly correlated with risk of addiction. The odds ratio44 (risk) of developing OUD in

 patients on chronic opioid therapy compared to those not prescribed opioids ranges from 15 (low

 daily morphine equivalent dose) to 122 (high daily morphine equivalent dose).45 These odds

 ratios, from Edlund et al, for patients developing incident OUD following chronic exposure to

 opioids, far exceed those from other known risk factors of mental health and prior substance use

 disorder history.46 A pooled estimate of the risk of addiction with chronic opioid therapy comes

 from a systematic review by Vowles et al.47 Following chronic opioid therapy in the populations

 studied, rates of opioid misuse averaged between 21% and 29% (range, 95% confidence interval

 [CI]: 13%-38%), and rates of opioid addiction averaged between 8% and 12% (range, 95% CI:

 3%-17%).




 43
      Rayport M. Experience in the Management of Patients Medically Addicted to Narcotics.
 JAMA - J Am Med Assoc. 1954;156(7):684-691, at p. 690.
 44
        An “odds ratio” compares the odds of an outcome happening given exposure, with that
 without exposure. https://www.ncbi.nlm.nih.gov/pmc/articles/PMC2938757/.
 45
        Edlund MJ, Martin BC, Russo JE, Devries A, Braden JB, Sullivan MD. The Role of Opioid
 Prescription in Incident Opioid Abuse and Dependence Among Individuals With Chronic
 Noncancer Pain. Clin J Pain. 2014;30(7):557-564.
 46
        Edlund MJ, Martin BC, Russo JE, Devries A, Braden JB, Sullivan MD. The Role of Opioid
 Prescription in Incident Opioid Abuse and Dependence Among Individuals With Chronic
 Noncancer Pain. Clin J Pain. 2014;30(7):557-564.
 47
        Vowles KE, McEntee ML, Julnes PS, Frohe T, Ney JP, Van Der Goes DN. Rates of opioid
 misuse, abuse, and addiction in chronic pain: A systematic review and data synthesis. Pain. 2015.

                                                19
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           a. The US is the leading global consumer of prescription opioids: 30 percent of the

               global total; at a rate of 47,580 doses per day per million people.48 The supply of

               prescription opioids was clearly excessive with the equivalent to 710 mg per person

               in the United States in 2010.49 Opioid oversupply has been a key driver in the

               opioid epidemic according to reports from the CDC50 and the National Academies

               of Science, Engineering and Medicine (NASEM).51

           b. The tremendous expansion of prescription opioid sales in the 2000s and 2010s led

               to parallel increases in treatment seeking for OUD and overdose deaths. From 1999

               to 2010, sales of prescription opioids increased by a factor of four; treatment

               seeking for OUD was almost six times the rate in 1999; and the overdose death rate

               in 2008 was nearly four times the rate in 1999.52



 48
        International Narcotics Control Board, Narcotic Drugs Technical Report 2016, at pp. 200-
 203. See https://www.incb.org/incb/en/narcotic-drugs/Technical_Reports/2016/narcotic-drugs-
 technical-report-2016.html.
 49
       Paulozzi LJ, Jones CM, Mack K a, Rudd R a. Vital Signs: Overdoses of Prescription Opioid
 Pain Relievers --- {United States}, 1999–2008. MMWR Morb Mortal Wkly Rep.
 2011;60(43):1487-1492,            http://www.cdc.gov/mmwr/preview/mmwrhtml/mm6043a4.
 htm?s_cid=mm6043a4_w, at p. 1489.
 50
        Centers for Disease Control and Prevention. Contextual evidence review for the CDC
 guideline for prescribing opioids for chronic pain – United States, 2016. CDC Stacks: Public
 Health Publications. March 18, 2016. https://stacks.cdc.gov/view/cdc/38027 (accessed June 18,
 2020).
 51
        National Academies of Science Engineering and Medicine. Pain Management and the
 Opioid Epidemic: Balancing Societal and Individual Benefits and Risks of Prescription Opioid
 Use; 2017. doi:10.17226/24781.
 52
       Paulozzi LJ, Jones CM, Mack K a, Rudd R a. Vital Signs: Overdoses of Prescription Opioid
 Pain Relievers --- {United States}, 1999–2008. MMWR Morb Mortal Wkly Rep.
 2011;60(43):1487-1492,            http://www.cdc.gov/mmwr/preview/mmwrhtml/mm6043a4.
 htm?s_cid=mm6043a4_w, at p. 1489.

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             c. Between 1999 and 2018, nearly a quarter million (246,444) Americans have died

                from overdose related to prescription opioids (not including non-methadone

                synthetic opioids, e.g., fentanyl). The overdose death rate from natural and semi-

                synthetic opioids has increased four-fold from 1.0/100,000 (1999) to 4.4/100,000

                (2017); with a decline to 3.8/100k in 2018.53

       44.      Among the national crisis of drug overdose deaths, the death rate in the State of

 West Virginia stands above all other states. In 2008, West Virginia had the second highest all-

 drug overdose death rate in the country at 25.8/100,000.54 At the same time the state was ranked

 seventh highest in rate of prescription opioid misuse. By 2015, West Virginia had the highest

 opioid overdose death rate at 41.5 deaths per every 100,000 people;55 far ahead of the next states

 in the ranking: New Hampshire (34.3 per 100,000), Kentucky (29.9 per 100,000), Ohio (29.9 per

 100,000), and Rhode Island (28.2 per 100,000).56 And the situation got worse. West Virginia has

 experienced statistically significant increases in drug overdose deaths every year since 2013 with




 53
        Hedegaard H, Miniño AM, Warner M. Drug overdose deaths in the United States, 1999–
 2018. NCHS Data Brief, no 356. Hyattsville, MD: National Center for Health Statistics. 2020.
 54
       Paulozzi LJ, Jones CM, Mack K a, Rudd R a. Vital Signs: Overdoses of Prescription Opioid
 Pain Relievers --- {United States}, 1999–2008. MMWR Morb Mortal Wkly Rep.
 2011;60(43):1487-1492, http://www.cdc.gov/mmwr/preview/mmwrhtml/mm6043a4.htm?s_cid
 =mm6043a4_w
 55
       Rudd RA, Seth P, David F, & Scholl L. (2015). Increases in Drug and Opioid-Involved
 Overdose Deaths — United States, 2010–2015. MMWR Morbidity and Mortal Weekly Report.
 65:1445–1452. Retrieved Jan 20, 2017 from http://dx.doi.org/10.15585/mmwr.mm655051e1.
 56
         Centers for Disease Control and Prevention (CDC). (2016b). Drug Overdose Death Data,
 https://www.cdc.gov/drugoverdose/data/statedeaths.html (accessed June 18, 2020).

                                                21
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 an age-adjusted death rate of 57.8 per 100,000 in 2017.57 Prescription opioid deaths remain high

 (19.7 per 100,000 in 201658) with a slight decline in 2017 (17.2 per 100,00059), the highest in the

 US for both years.

            a. Other than Berkeley County in West Virginia’s eastern panhandle, overdose deaths

                are concentrated in the southern portion of the state and along the Ohio border,

                including the counties of Kanawha (home to Charleston, the state capitol) and

                Cabell (county seat of Huntington).60 Cabell County had an opioid overdose death

                rate of 72.7 per 100,000 in 2017, almost five times the national average.61

            b. Research and reporting from HD Media and The Washington Post reveal the

                extreme excess distribution of prescription opioids into West Virginia.62 Between


 57
        Scholl L, Seth P, Kariisa M, Wilson N, Baldwin G. Drug and Opioid-Involved Overdose
 Deaths — United States, 2013–2017. MMWR Morb Mortal Wkly Rep. 2019 Jan
 4;67(5152):1419–27.
 58
        Seth P, Scholl L, Rudd RA, Bacon S. Overdose Deaths Involving Opioids, Cocaine, and
 Psychostimulants — United States, 2015–2016. MMWR Morb Mortal Wkly Rep. 2018 Mar
 30;67(12):349–58.
 59
        Scholl L, Seth P, Kariisa M, Wilson N, Baldwin G. Drug and Opioid-Involved Overdose
 Deaths — United States, 2013–2017. MMWR Morb Mortal Wkly Rep. 2019 Jan
 4;67(5152):1419–27.
 60
         West Virginia Department of Health and Human Resources. West Virginia drug overdose
 deaths          historical       overview         2001-2015.        Available         from:
 http://dhhr.wv.gov/oeps/disease/ob/documents/opioid/wv-drug-overdoses-2001_2015.pdf
 (accessed June 18, 2020).
 61
        Scholl L, Seth P, Kariisa M, Wilson N, Baldwin G. Drug and Opioid-Involved Overdose
 Deaths — United States, 2013–2017. MMWR Morb Mortal Wkly Rep. 2019 Jan
 4;67(5152):1419–27.
 62
         Courtney Hessler, More than 65 million opioids flooded Cabell County over 7 years, data
 shows,       The      Herald      Dispatch     (July     19,     2019),     https://www.herald-
 dispatch.com/_recent_news/more-than-million-opioids-flooded-cabell-county-over-years-
 data/article_8f0d8676-a9a9-11e9-98ff-ebdd2586af3f.html (accessed June 18, 2020); More Than
 100 Billion Pain Pills Saturated the Nation Over Nine Years, The Washington Post (Jan. 14, 2020),
                                                 22
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               2006 and 2014, over 100 billion opioid pills were distributed throughout the US.

               West Virginia received the highest concentration of these opioids with 67 pills per

               person per year (853.5 million total pills). Cabell County alone received 65 million

               pills with a population distribution of 96 pills per person per year.63

        B.     The Increased Use of Heroin And The Relationship With Prescription Opioids

       45.     For the first time in 100 years, life expectancy at birth has gone down in the US

 three years in a row from 2014 to 2017.64 In 1919, mortality rates shot up because of the ravages

 of WW1 and the great influenza pandemic. And because these events disproportionately affected

 young people, correspondingly life expectancy went down. This era’s scourge is drug poisoning

 which is disproportionately affecting young people and driving down life expectancy. According

 to the latest formal data from the CDC, there were 67,367 drug overdose deaths in the United

 States, a 4.1% decline from the peak in 2017 (70,237 deaths).65 Since the beginning of the opioid

 epidemic, 700,000 Americans have died from drug poisoning. Annual deaths due to drug




 https://www.washingtonpost.com/investigations/more-than-100-billion-pain-pills-saturated-the-
 nation-over-nine-years/2020/01/14/fde320ba-db13-11e9-a688-303693fb4b0b_story.html,
 (accessed August 3, 2020).
 63
         More Than 100 Billion Pain Pills Saturated the Nation Over Nine Years, The Washington
 Post (Jan. 14, 2020), https://www.washingtonpost.com/investigations/more-than-100-billion-
 pain-pills-saturated-the-nation-over-nine-years/2020/01/14/fde320ba-db13-11e9-a688-
 303693fb4b0b_story.html (accessed August 3, 2020).
 64
       Murphy SL, Xu JQ, Kochanek KD, Arias E. Mortality in the United States, 2017. NCHS
 Data Brief, no 328. Hyattsville, MD: National Center for Health Statistics. 2018; Woolf SH,
 Schoomaker H. Life expectancy and mortality rates in the United States, 1959-2017. JAMA,
 2019;322(20):1996-2016. https://doi:10.1001/jama.2019.16932
 65
        Hedegaard H, Miniño AM, Warner M. Drug overdose deaths in the United States, 1999–
 2018. NCHS Data Brief, no 356. Hyattsville, MD: National Center for Health Statistics. 2020.

                                                 23
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 overdoses now exceed deaths due to car accidents, gun violence, and even HIV at the height of the

 1990s HIV epidemic.66

          46.    The triple wave
                                             Figure 1: Three waves of opioid mortality by sub-class,
                                             1999 - 2017
 epidemic of overdose deaths stems

 from three classes of opioids:

 prescription opioid pills (“natural

 and semi-synthetic opioids” in

 Figure 1), heroin, and synthetic

 opioids other than methadone.67

 Figure 1 shows three waves of

 opioid    mortality,   each    wave

 cresting on top of the one before it.

 In the first wave, overdoses related to opioid pills, started rising in the year 2000 and have steadily

 grown through 2016. The second wave saw overdose deaths due to heroin, which started

 increasing in 2008, surpassing the number of deaths due to opioid pills in 2015. The third wave

 of mortality has arisen from illicit fentanyl, fentanyl analogues and other illicit synthetic opioids

 in the drug supply, climbing slowly at first, but dramatically after 2013. Data from 2017 show

 synthetic opioid deaths continuing to rise, reaching a peak of over 28,000, while opioid pill and




 66
        Hedegaard H, Miniño AM, Warner M. Drug overdose deaths in the United States, 1999–
 2017. NCHS Data Brief, no 329. Hyattsville, MD: National Center for Health Statistics. 2018.
 67
          Ciccarone, D. The triple wave epidemic: Supply and demand drivers of the US opioid
 crisis. International Journal of Drug Policy, https://doi.org/10.1016/j.drugpo.2019.01.010.

                                                   24
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 heroin overdose deaths leveled off, albeit at very high levels of approximately 15,000 deaths in

 each category.68

            a. The rise in overdose mortality in wave one due to prescription opioids (natural and

                semi-synthetics) has been discussed above (e.g., see paragraph 43.c.). In wave two,

                heroin-related overdose deaths in the United States have risen six-fold.69 Deaths

                from heroin rose from a rate of 0.8/100,000 population in 2007 to a peak of

                4.9/100,000 in 2017 before dropping slightly to 4.7/100,000 in 2018.70

            b. In wave three, opioid mortality deaths are being driven by fentanyl-adulterated and

                substituted heroin (FASH).71 Deaths due to illicit synthetic opioids (excluding

                methadone and including fentanyl, fentanyl analogues and non-fentanyl synthetics)

                have increased 10-fold in number and rate from 3,105 (1.0/100,000 pop.) in 2013




 68
       Hedegaard H, Miniño AM, and Warner M, Drug overdose deaths in the United States,
 1999-2017, in NCHS Data Brief no 329. Hyattsville, MD: National Center for Health Statistics.
 2018.
 69
        Mars SG, Ondocsin J, Ciccarone D. Sold as Heroin: Perceptions and Use of an Evolving
 Drug in Baltimore, MD. J Psychoactive Drugs. 2017 Dec 06; 1-10. PMID: 29211971. PMCID:
 PMC6114137.
 70
        Hedegaard H, Miniño AM, Warner M. Drug overdose deaths in the United States, 1999–
 2018. NCHS Data Brief, no 356. Hyattsville, MD: National Center for Health Statistics. 2020.
 71
         Ciccarone D. Fentanyl in the US heroin supply: A rapidly changing risk environment. Int
 J Drug Policy. 2017 08; 46:107-111. PMID: 28735776. PMCID: PMC5742018. Ciccarone D. The
 triple wave epidemic: Supply and demand drivers of the US opioid overdose crisis. Int J Drug
 Policy. 2019 Feb 01. PMID: 30718120. Mars SG, Ondocsin J, Ciccarone D. Sold as Heroin:
 Perceptions and Use of an Evolving Drug in Baltimore, MD. J Psychoactive Drugs. 2017 Dec 06;
 1-10. PMID: 29211971. PMCID: PMC6114137. Ciccarone D, Ondocsin J, Mars SG. Heroin
 uncertainties: Exploring users' perceptions of fentanyl-adulterated and -substituted 'heroin'. Int J
 Drug Policy. 2017 08; 46:146-155. PMID: 28735775. PMCID: PMC5577861.

                                                 25
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               to 31,335 (9.9/100,000) in 2018.72 It is important to note that this wave continues

               to grow. The latest provisional data from the CDC shows the third wave continuing

               to rise with 35,171 deaths attributed to synthetic opioids in the 12-month period

               through November of 2019, an 11.9% increase from the 12-month period prior to

               November 2018.

            c. The second and third wave deaths are regional, with the Northeast (including Mid-

               Atlantic) and Midwest (including Appalachia) being the most affected.73 This has

               been largely driven by the burgeoning supply of fentanyls.74 The notion that the

               “risk environment” has become more dangerous for users of illicit opioids does not

               detract from the fundamental claim that current persons who use heroin, especially

               young people, transitioned in this era from opioid pills to heroin/FASH.75

               (Discussed further below.) It is also important to recognize that the use of FASH

               is less about specific choice and more about supply-side imposition, i.e., it is a

               contamination of the heroin supply.76


 72
        Hedegaard H, Miniño AM, Warner M. Drug overdose deaths in the United States, 1999–
 2018. NCHS Data Brief, no 356. Hyattsville, MD: National Center for Health Statistics. 2020.
 73
        Unick GJ, Ciccarone D. US regional and demographic differences in prescription opioid
 and heroin-related overdose hospitalizations. Int J Drug Policy. 2017 08; 46:112-119. PMID:
 28688539. PMCID: PMC5722230.
 74
        Gladden RM, Martinez P, Seth P. Fentanyl Law Enforcement Submissions and Increases
 in Synthetic Opioid–Involved Overdose Deaths — 27 States, 2013–2014. MMWR Morb Mortal
 Wkly Rep 2016;65:837–843. DOI: http://dx.doi.org/10.15585/mmwr.mm6533a2external icon
 75
    Unick GJ, Ciccarone D. US regional and demographic differences in prescription opioid and
 heroin-related overdose hospitalizations. Int J Drug Policy. 2017 08; 46:112-119. PMID:
 28688539. PMCID: PMC5722230; Ciccarone D. The triple wave epidemic: Supply and demand
 drivers of the US opioid overdose crisis. Int J Drug Policy. 2019 Feb 01. PMID: 30718120.
 76
        Mars SG, Rosenblum D, Ciccarone D. 'Illicit fentanyls in the opioid street market: desired
 or imposed?’ Addiction. 2018 Dec 4. doi: 10.1111/add.14474; Ciccarone D, Ondocsin J, Mars SG.
                                                26
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         47.    West Virginia has been               Figure 2: Accidental deaths WV vs US, 1999-2016

 disproportionately affected, compared with

 the US, by the opioid crisis. Figure 2 shows

 the dramatic 113.6% rise in accidental

 death   rate   in   West    Virginia   from

 42.0/100,000    (1999)     to   89.7/100,000

 (2016).77 West Virginia ranked 1st in the

 country in 2016 for the highest death rate

 due to accidents; deaths which have been predominately driven by drug poisoning. While the

 death rate due to all drugs rose 2.5 times for the US overall (from 6.8/100,000 in 2001 to 16.9 in

 2016) it rose 4.5 times for West Virginia (from 10.0 to 46.9).78 As stated previously, by 2015

 West Virginia had the highest opioid overdose death rate in the US. This was driven first by

 prescription opioids and then heroin/FASH. Heroin deaths in the state rose by 687% from 2010




 Heroin uncertainties: Exploring users’ perceptions of fentanyl-adulterated and -substituted
 'heroin'. Int J Drug Policy. 2017 08; 46:146-155. PMID: 28735775. PMCID: PMC5577861.
 77
        West Virginia’s 10 Leading Causes of Death, 2016 Health Statistics Center Statistical Brief
 No. 32 West Virginia Dept. of Health and Human Resources. Same reference for Fig. 2.
 78
         West Virginia Board of Pharmacy. Prescription Opioid Problematic Prescribing Indicators
 County            Report,          Cabell           County.           October            2017.
 https://helpandhopewv.org/docs/PFS_County_Reports/Cabell_PfS%20County%20Reports_Final
 .pdf.

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 to 2017.79 By 2017 fentanyl (and other synthetics)      Figure 3: Opioid overdose death rate, Cabell
                                                                 County and WV, 2014-2016
 were involved in 74% of all opioid deaths.80 In

 2016, West Virginia had the highest mortality rate

 of US states in all three opioid sub-classes

 (prescription opioids, heroin and fentanyls).81

 Figure 3 shows even greater, and growing,

 disparities at the county level.82

         48.     The opioid pill and heroin/FASH

 crises are intertwined at the population and individual levels. An early analysis from my team,

 finding an ecological (i.e., “big picture”) relationship between annual overdoses from prescription

 opioids and heroin led us to develop a hypothesis that the opioid and heroin epidemics are




 79
         Heroin fast facts. Oct 2018 West Virginia Dept. of Health and Human Resources
 http://www.wvdhhr.org/bph/hsc/pubs/other/Heroin_Fast_Facts_2017/Heroin_Fast_Stats_2017.p
 df (accessed June 19, 2020).
 80
    Synthetic opioid fast fact. Sept 2019. West Virginia Dept. of Health and Human Resources
 http://www.wvdhhr.org/bph/hsc/pubs/other/SyntheticOpioidFastStats/Synthetic_Opioid_Fast_St
 ats.pdf (accessed June 19, 2020).
 81
        Seth P, Scholl L, Rudd RA, Bacon S. Overdose Deaths Involving Opioids, Cocaine, and
 Psychostimulants — United States, 2015–2016. MMWR Morb Mortal Wkly Rep. 2018 Mar
 30;67(12):349–58.
 82
         West Virginia Board of Pharmacy. Prescription Opioid Problematic Prescribing Indicators
 County            Report,          Cabell           County.           October            2017.
 https://helpandhopewv.org/docs/PFS_County_Reports/Cabell_PfS%20County%20Reports_Final
 .pdf.

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 intertwined.83 Subsequently, a number of investigators have linked the increase in prescription

 opioid use to the increase in heroin use.84

            a. In 2011, the CDC estimated 11 million people reporting nonmedical use of opioid

                analgesics.85 Estimates from the 2015 National Survey on Drug use and Health

                (NSDUH) state 11.5 million Americans misused prescription opioids and 1.9

                million had a use disorder86 related to them. The OUD population prevalence of




 83
        Unick, G. J., Rosenblum, D., Mars, S., & Ciccarone, D. (2013). Intertwined epidemics:
 National demographic trends in hospitalizations for heroin- and opioid-related overdoses, 1993–
 2009. PLoS One, 8(2), e54496. http://dx.doi.org/10.1371/journal.pone.0054496.
 84
         Banerjee, G., Edelman, E. J., Barry, D. T., Becker, W. C., Cerda, M., Crystal, S., &
 Marshall, B. D. (2016). Non-medical use of prescription opioids is associated with heroin initiation
 among US veterans: A prospective cohort study. Addiction,111(11), 2021–2031.
 http://dx.doi.org/10.1111/add.13491. Cerda, M., Santaella, J., Marshall, B. D., Kim, J. H., &
 Martins, S. S. (2015). Nonmedical prescription opioid use in childhood and early adolescence
 predicts transitions to heroin use in young adulthood: A national study. Journal of Pediatrics,
 167(3), 605–612. http://dx.doi.org/10.1016/j.jpeds.2015.04.071. e601-602. Cicero, T. J., Ellis, M.
 S., & Harney, J. (2015). Shifting patterns of prescription opioid and heroin abuse in the United
 States.    The      New      England     Journal    of      Medicine,     373(18),     1789–1790.
 http://dx.doi.org/10.1056/NEJMc1505541. Cicero, T. J., Ellis, M. S., Surratt, H. L., & Kurtz, S. P.
 (2014). The changing face of heroin use in the United States: A retrospective analysis of the past
 50 years. JAMA Psychiatry, 71(7), 821–826. http://dx.doi.org/10.1001/jamapsychiatry.2014.366.
 Compton, W. M., Jones, C. M., & Baldwin, G. T. (2016). Relationship between nonmedical
 prescription-opioid use and heroin use. The New England Journal of Medicine, 374(2), 154–163.
 http://dx.doi.org/10.1056/NEJMra1508490. Dart, R. C., Surratt, H. L., Cicero, T. J., Parrino, M.
 W., Severtson, S. G., Bucher-Bartelson, B., & Green, J. L. (2015). Trends in opioid analgesic abuse
 and mortality in the United States. The New England Journal of Medicine, 372(3), 241–248.
 http://dx.doi.org/10.1056/NEJMsa1406143. Jones, C. M. (2013). Heroin use and heroin use risk
 behaviors among nonmedical users of prescription opioid pain relievers—United States, 2002–
 2004 and 2008–2010. Drug and Alcohol Dependence, 132(1–2), 95–100.
 http://dx.doi.org/10.1016/j.drugalcdep.2013.01.007.
 85
         United States Department of Health and Human Services. Addressing Prescription Drug
 Abuse         in       the      United       States      at      pp.,       9-10.       See
 https://www.cdc.gov/drugoverdose/pdf/hhs_prescription_drug_abuse_report_09.2013.pdf
 86
       Han B, Compton WM, Blanco C, Crane E, Lee J, Jones CM. Prescription Opioid Use,
 Misuse, and Use Disorders in U.S. Adults: 2015 National Survey on Drug Use and Health. Annals
                                                 29
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               0.8% is twice that estimated for the first US opioid epidemic (related to the misuse

               of morphine, see paragraph 41 above). This huge population developed during the

               period of excessive supply of prescription opioids (paragraph 42 above).

           b. During this period of huge expansion of persons with opioid misuse or use disorder,

               there has been a concomitant increase in the number of heroin users. According to

               NSDUH, the estimated number of heroin users peaked in 2014 at 914,000 having

               increased 145% since 2007.87 Since NSDUH surveys households, it misses persons

               who are transient, homeless or refuse survey participation. RAND produced a

               recent estimate, complied from multiple data sources, of 2.3 million heroin users in

               2016, with an upper bound of 4.6 million. The RAND authors state that their

               estimate may be biased downward: “If the makeup of the population of heroin

               users in the United States has changed since ADAM [Arrestee Drug Abuse

               Monitoring program] was terminated in 2013, we may understate the true number

               of chronic users. Given that the composition of treatment admissions and overdose

               decedents is now more female and less concentrated in a few big cities than was

               the historical norm, the true number of chronic heroin users in the United States

               could be as much as double our best estimate”.88




 of internal medicine. 2017;167(5):293-301. Epub 2017/08/02. doi: 10.7326/m17-0865. PubMed
 PMID: 28761945.
 87
       Center for Behavioral Health Statistics and Quality. 2014 National Survey on Drug Use
 and Health: detailed tables. Rockville, MD: Substance Abuse and Mental Health Services
 Administration, 2015.
 88
        Gregory Midgette, Steven Davenport, Jonathan P. Caulkins, Beau Kilmer. What America’s
 Users Spend on Illegal Drugs, 2006–2016. RAND Corporation, Santa Monica, CA, 2019.

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           c. National-level studies support the population-level transition from prescription

               opioid misuse to heroin. Analyzing NSDUH data from earlier in the epidemic

               (2002-2004), Becker et al. found that heroin users were 3.9 times as likely to report

               nonmedical use of opioids in the previous year, as persons who did not use heroin.89

               Analyzing a later timeframe of NSDUH (2002-2011), Muhuri et al. found that the

               incidence of heroin use among people who reported prior nonmedical use of

               prescription opioids was 19 times higher than the incidence among persons who

               reported no previous nonmedical use.90 The “intertwined epidemics” effect was

               noted as well, albeit of much lower magnitude: the incidence rate of recent non-

               medical use of prescription opioids was almost 2 times higher among those who

               reported prior heroin use than who did not (2.8 vs. 1.6 percent).91 Jones et al., using

               two more years of NSDUH data (2002-2013), found the likelihood of heroin use

               disorder is 40 times greater among those reporting prescription opioid use disorder

               compared with those without prescription opioid use disorder, adjusting for

               sociodemographic, geographic, and other substance abuse or dependence




 89
         Becker WC, Sullivan LE, Tetrault JM, Desai RA, Fiellin DA. Non-medical use, abuse and
 dependence on prescription opioids among U.S. adults: psychiatric, medical and substance use
 correlates. Drug Alcohol Depend 2008;94:38-47.
 90
          Muhuri PK, Gfroerer JC, Davies C. Associations of nonmedical pain reliever use and
 initiation of heroin use in the United States. CBHSQ Data Review, 2013
 https://img3.reoveme.com/m/25e062e91894208c.pdf (accessed June 20, 2020).
 91
          Muhuri PK, Gfroerer JC, Davies C. Associations of nonmedical pain reliever use and
 initiation of heroin use in the United States. CBHSQ Data Review, 2013
 https://img3.reoveme.com/m/25e062e91894208c.pdf (accessed June 20, 2020).

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               characteristics.92 Comparing these three studies, which used the same database, we

               see the risk of transitioning from opioid pill misuse to heroin at the population level

               increased over time.

           d. Muhuri et al. reported that the rate of heroin initiation increased significantly, 57%,

               between the first and second waves of the opioid epidemic. They further estimated

               that 3.6% of nonmedical prescription opioid users initiated heroin use within 5

               years after beginning nonmedical use of prescription opioids.93 Considering the

               substantial size of the population of persons using opioids non-medically, however,

               this led to sizable increases in the population using heroin. As Wilson Compton,

               Deputy Director at the National Institute on Drug Abuse, and colleagues note:

               “given the large number of nonmedical [opioid] users, even a small percentage who

               initiate heroin use translates into several hundred thousand new heroin users”.94

           e. Diversion of the excess opioid supply also increases community-level risk. A

               recent NASEM report summarizes this issue well: “Opioids pose risks not only to

               the patients for whom they are prescribed, but also to family members and to the

               community. Unused opioid pills from opioid prescriptions can be diverted to




 92
       Vital signs: demographic and substance use trends among heroin users — United States,
 2002–2013. MMWR Morb Mortal Wkly Rep 2015;64:719-725.
 93
          Muhuri PK, Gfroerer JC, Davies C. Associations of nonmedical pain reliever use and
 initiation of heroin use in the United States. CBHSQ Data Review, 2013
 https://img3.reoveme.com/m/25e062e91894208c.pdf (accessed June 20, 2020).
 94
         Compton, W. M., Jones, C. M., & Baldwin, G. T. (2016). Relationship between nonmedical
 prescription-opioid use and heroin use. The New England Journal of Medicine, 374(2), 154–163.
 http://dx.doi.org/10.1056/NEJMra1508490.

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               family members and friends (Bicket et al., 2019;95 Hill et al., 2017;96 Howard et al.,

               201997; Thiels et al., 201798). These unused pills, which often are not disposed of

               properly, may be used by the patient for indications other than those for which they

               were prescribed (e.g., as a sleep aid), or they may be used by someone other than

               the patient (Bicket et al., 201799; Jones et al., 2014100). Individuals with opioid use

               disorder commonly report that they started by misusing prescription opioids (Ali et




 95
        Bicket MC, White E, Pronovost PJ, Wu CL, Yaster M, Alexander GC. 2019. Opioid
 oversupply after joint and spine surgery: A prospective cohort study. Anesthesia & Analgesia
 128(2):358–364.
 96
        Hill MV, McMahon ML, Stucke RS, and Barth RJJ. 2017. Wide variation and excessive
 dosage of opioid prescriptions for common general surgical procedures. Annals of Surgery
 265(4):709–714.
 97
        Howard R., Fry B, Gunaseelan V, Lee J, Waljee J, Brummett C, Campbell, Jr. D, Seese E,
 Englesbe M, and Vu J. 2019. Association of opioid prescribing with opioid consumption after
 surgery in Michigan. JAMA Surgery 154(1):e184234.
 98
        Thiels, CA, Anderson SS, Ubl DS, Hanson KT, Bergquist WJ, Gray RJ, Gazelka HM,
 Cima RR, and Habermann EB. 2017. Wide variation and overprescription of opioids after elective
 surgery. Annals of Surgery 266(4):564–573.
 99
        Bicket MC, Long JJ, Pronovost PJ, Alexander GC, and Wu CL. 2017. Prescription opioid
 analgesics commonly unused after surgery: A systematic review. JAMA Surgery 152(11):1066–
 1071.
 100
        Jones CM, Paulozzi LJ, and Mack KA. 2014. Sources of prescription opioid pain relievers
 by frequency of past-year nonmedical use, United States, 2008–2011. JAMA Internal Medicine
 174(5):802–803.

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               al., 2019;101 Becker et al., 2008;102 Cicero et al., 2014103; NASEM, 2019104).

               Furthermore, there is an association between the size of a patient’s opioid

               prescription and the likelihood of an opioid overdose among the patient’s family

               members (Khan et al., 2019105). This association is present in children and

               adolescents as well as in adults (Khan et al., 2019106). Among individuals who

               misuse prescription opioids, the most common source of opioids was pills from

               family members and friends. Among individuals who use heroin, the majority

               (66%) previously misused prescription opioids (Cicero et al., 2014107). Thus,

               opioid overprescribing, that is, prescribing more opioids than are necessary to




 101
        Ali MM, Henke RM, Mutter R, O’Brien PL, Cutler E, Mazer-Amirshahi M, and Pines JM.
 2019. Family member opioid prescriptions and opioid use disorder. Addictive Behaviors 95:58–
 63.
 102
        Becker WC, Sullivan LE, Tetrault JM, Desai RA, and Fiellin DA. 2008. Non-medical use,
 abuse, and dependence on prescription opioids among U.S. adults: Psychiatric, medical and
 substance use correlates. Drug and Alcohol Dependence 94(1):38–47.
 103
        Cicero TJ, Ellis MS, Surratt HL, and Kurtz SP. 2014. The changing face of heroin use in
 the United States: A retrospective analysis of the past 50 years. JAMA Psychiatry 71(7):821–826.
 104
        National Academies of Science, Engineering and Medicine. 2019. Medications for opioid
 use disorder save lives. Washington, DC: The National Academies Press.
 105
        Khan NF, Bateman BT, Landon JE, and Gagne JJ. 2019. Association of opioid overdose
 with opioid prescriptions to family members. JAMA Internal Medicine 179(9):1186–1192.
 106
        Khan NF, Bateman BT, Landon JE, and Gagne JJ. 2019. Association of opioid overdose
 with opioid prescriptions to family members. JAMA Internal Medicine 179(9):1186–1192.
 107
        Cicero TJ, Ellis MS, Surratt HL, and Kurtz SP. 2014. The changing face of heroin use in
 the United States: A retrospective analysis of the past 50 years. JAMA Psychiatry 71(7).

                                               34
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                 control a patient’s acute pain, is a factor contributing to the public health epidemic

                 of opioid overdoses.”108

              f. Another key report from NASEM sums up the intertwining of the prescription

                 opioid and heroin waves: “A preponderance of evidence suggests that the major

                 increase in prescription opioid use beginning in the late 1990s has served as a

                 gateway to increased heroin use… The interrelated nature of the prescription and

                 illicit opioid epidemics means that one cannot be addressed separately from the

                 other.”109

        49.      At the individual level, there is also good evidence of transitioning from opioid pills

 use/misuse/use disorder to heroin use. Prescription opioids and heroin are substitutable, i.e., both

 can stave off withdrawal symptoms and produce the desired psychoactive effects. Use of either

 can lead to developing OUD (see section IV.A above). Without treatment, OUD, from any starting

 opioid, is progressive through the mechanisms of tolerance, dependence, compulsive use and

 craving.

              a. Heroin is structurally similar to typical prescription opioids, e.g., oxycodone, and

                 thus functional effects are similar. For example, a study involving persons who use

                 heroin showed that the reinforcing effects of oxycodone were similar to those




 108
        National Academies of Sciences, Engineering, and Medicine 2020. Framing Opioid
 Prescribing Guidelines for Acute Pain: Developing the Evidence. Washington, DC: The National
 Academies Press. https://doi.org/10.17226/25555.
 109
        National Academies of Science Engineering and Medicine. Pain Management and the
 Opioid Epidemic: Balancing Societal and Individual Benefits and Risks of Prescription Opioid
 Use.; 2017. doi:10.17226/24781.

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                produced by morphine or heroin.110 Several prescription opioids, e.g., oxycodone,

                hydromorphone, morphine, and fentanyl, have abuse potential that is similar to that

                of heroin.111

            b. It has been reported that legitimate medical use of opioids for pain is a common

                precursor to misuse of those same drugs, thus providing the initial step in the

                transition from medical use of prescription opioids, to non-medical use, and for

                some, ultimately to heroin/FASH.112

            c. A number of studies strongly support my opinion that prescription opioid misuse

                has been a recent “gateway” for initiation of heroin use.113

            d. Estimates of the proportion of individuals reporting misuse of prescription opioids

                prior to initiating heroin range, in different US locations, from 39 to 86 percent.114


 110
       Comer SD, Sullivan MA, Whittington RA, Vosburg SK, Kowalczyk WJ. Abuse liability
 of prescription opioids compared to heroin in morphine-maintained heroin abusers.
 Neuropsychopharmacology 2008;33:1179-1191
 111
        Ternes JW, O’Brien CP. The opioids: abuse liability and treatments for dependence. Adv
 Alcohol Subst Abuse 1990;9:27-45 Comer SD, Sullivan MA, Whittington RA, Vosburg SK,
 Kowalczyk WJ. Abuse liability of prescription opioids compared to heroin in morphine-
 maintained heroin abusers. Neuropsychopharmacology 2008;33:1179-1191.
 112
        McCabe, et al., Pediatrics 2017; 139:1-9.
 113
         Cicero TJ, Ellis MS, Surratt HL, and Kurtz SP. 2014. The changing face of heroin use in
 the United States: A retrospective analysis of the past 50 years. JAMA Psychiatry 71(7); Compton
 et al, NEJM, 2016; Grau, L. E., Dasgupta, N., Harvey, A. P., Irwin, K., Givens, A., Kinzly, M. L.,
 & Heimer, R. (2007). Illicit use of opioids: Is OxyContin a "gateway drug"? The American Journal
 on Addictions, 16(3), 166–173. http://dx.doi.org/10.1080/10550490701375293; Mars, S.,
 Bourgois, P., Karandinos, G., Montero, F., & Ciccarone, D. (2014). "Every ‘never’ I ever said
 came true": Transitions from opioid pills to heroin injecting. International Journal of Drug Policy,
 25(2), 257–266. http://dx.doi.org/10.1016/j.drugpo.2013.10.004
 114
         Lankenau SE, Teti M, Silva K, Bloom JJ, Harocopos A, Treese M. Initiation into
 prescription opioid misuse amongst young injection drug users. Int J Drug Policy. 2012;23(1):37-
 44; Pollini RA, Banta-Green CJ, Cuevas-Mota J, Metzner M, Teshale E, Garfein RS. Problematic
 use of prescription-type opioids prior to heroin use among young heroin injectors. Subst Abuse
                                                 36
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                 Muhuri et al. in a national study found that 79.5% of persons who recently began

                 using heroin had used prescription opioids non-medically before initiating heroin

                 use.115 In a key retrospective analysis of almost 3,000 persons entering treatment

                 for heroin use disorder, Cicero and colleagues found that the sub-type of opioid

                 first use changed depending on when this use initiated. For current heroin users

                 reporting first use in the 1960s, 80% reported starting with heroin; in contrast, 75%

                 of those entering treatment for heroin use disorder in the 2000s reported that their

                 first regular opioid was a prescription opioid.116

        50.      Our team, using in-depth qualitative methods, has explored heroin initiation during

 the wave one to wave two overlap. Our paper, “Every ‘Never’ I Ever Said Came True”:

 Transitions from opioid pills to heroin injecting, led by HIT Co-Investigator Dr. Sarah Mars, has

 had a crucial impact on the field. Some important insights and observations from this paper:

              a. We interviewed a spectrum of current heroin users in two cities, locations

                 contrasting in demographics and heroin source supplies, between 2010 and 2012.

                 The purpose of the study was to deeply examine ways in which heroin use was




 Rehabil 2011;2:173-180; Peavy KM, Banta-Green CJ, Kingston S, Hanrahan M, Merrill JO,
 Coffin PO. “Hooked on” prescription-type opiates prior to using heroin: results from a survey of
 syringe exchange clients. J Psychoactive Drugs 2012;44:259-265.

 38.    Mateu-Gelabert P, Guarino H, Jessell L, Teper A. Injection and sexual HIV/HCV risk
 behaviors associated with nonmedical use of prescription opioids among young adults in New
 York City. J Subst Abuse Treat 2015;48:13-20.
 115
          Muhuri PK, Gfroerer JC, Davies C. Associations of nonmedical pain reliever use and
 initiation of heroin use in the United States. CBHSQ Data Review, 2013
 https://img3.reoveme.com/m/25e062e91894208c.pdf (accessed June 20, 2020).
 116
        Cicero TJ, Ellis MS, Surratt HL, and Kurtz SP. 2014. The changing face of heroin use in
 the United States: A retrospective analysis of the past 50 years. JAMA Psychiatry 71(7).

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             initiated. We found distinct differences between those who transitioned from pills

             to heroin (“pill initiates”) and those who started their opioid use with heroin

             (“heroin initiates”). Pill initiates were younger with fewer years of heroin use. In

             Philadelphia, 14 of the 22 participants were pill initiates with a mean age of 31 and

             7 mean years’ use. Among the eight heroin initiates, the mean age was 44 and their

             mean years’ use was 23. In San Francisco, 11 of the 19 heroin injectors were pill

             initiates, with a mean age of 29 and mean years’ use of 5.8. The eight heroin

             initiates had a mean age of 50 years and their mean years’ use was 20.

          b. Across both cities, younger heroin injectors (aged 20–29) had almost exclusively

             progressed to heroin from opioid pills while older heroin injectors (30 years and

             above) typically exemplified the heroin-first trajectory. The initiation of younger

             users into heroin through opioid pills coincided with the past decade and a half of

             high levels of opioid pill prescribing. Among younger pill initiates in both cities,

             the mean year of initiating opioid pill use was 2005 and the mean year of starting

             heroin use was 2008. (Note: this corresponds with the beginning of wave two of

             the triple wave epidemic.)

          c. Young and new (< 3 years) heroin users described transitioning to heroin from

             opioid pills as their growing dependence required larger and more consistent pill

             supplies than they could obtain either by prescription or on the street. The more

             ready availability of high purity, low cost heroin made the switch to heroin

             economically logical and difficult to resist.

          d. There were some notable differences in the sourcing of the opioid pills used. While

             almost all of the younger pill initiates described transitioning to heroin after



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             becoming dependent on (usually) diverted prescription opioids, most of the older

             pill initiates had either developed a dependence on opioids prescribed to them for

             injury/pain, or they had used opioid pills only occasionally prior to heroin without

             reporting dependence.

          e. Pill initiates’ introduction to opiates was facilitated by the lesser stigma and

             perceived lower risk of opioid pills and many stated that they would never have

             considered trying heroin had they not first become dependent on these pills.

             Despite the fact that many of the pill initiates were aware of the chemical similarity

             of opioids and heroin, they perceived pills to be more acceptable and safer than

             heroin.

          f. Pill initiates described how friends they had known for a long time had guided them

             along the same path, using opioids first and then heroin, leading them to new

             sources and modes of administration as they followed in their tracks.

          g. The title of the paper reflects the force of stigmatization in retarding the processes

             of pill-to-heroin transitions and especially the progression to drug injection. For

             most pill initiates, injecting any drug started with heroin and those who injected

             crushed pills did so only after they had started injecting heroin. Person after person

             told stories of crossing thresholds of stigmatized behavior at each stage, attributing

             each progression to their growing dependence, tolerance and craving – i.e.,

             addiction – the rising cost of their pill habit coupled with their need to avoid

             withdrawal symptoms and heroin’s comparatively, at times, easier availability and

             lower cost.




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          h. Street dealers quickly understood this intertwined opioid-to-heroin environment.

             Dealers, often “user-dealers”, kept a supply of heroin to offer clients in case pills

             were in short supply. One participant remarked, “That’s actually how I’ve gotten

             a lot of people accidentally hooked on heroin.” Many pill initiates reported that

             their usual dealers offered them heroin when they were unable to obtain opioid pills

             for street sale. Several described their initial reluctance to try heroin, requiring

             persuasion regarding the equivalence of opioids and heroin or reassurance that they

             would not have to inject. Others reported simply giving in to the frustration of

             trying to maintain or afford a regular pill supply.

          i. One quote from the paper sums up the opioid pill to heroin transition phenomenon

             for an individual. This respondent is a 51-year-old man who was originally

             prescribed “Percocet” (brand name for short-acting oxycodone) for a knee injury

             and despite initially resolving not to use heroin had done so 5–6 years prior to the

             interview: “I guess like a lot of people, you start on the pills, and then the doctor

             gives you some and some more … I took what he gave me, plus whatever – [buying

             more] on the street, and at some point in time, just the pills aren’t doin’ it, and

             they’re a little harder to find. … Every morning we would go to the one place and

             they had both things [heroin and pills] … they never were out of heroin, but once

             in a while – well, three times a week probably, they didn’t have the pills. So I’d

             have to scramble around, and then I finally had enough and said ‘Fuck. The hell

             with this, give me a bag [of heroin]!’ and was off to the races.”

          j. The “Every Never” paper was published in 2014. Since then we have completed

             ethnographic investigations on heroin use in numerous locations including West



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               Virginia, e.g., Charleston (2017), Huntington (2019), and surrounding towns. We

               have made similar observations (in papers drafted but not yet published) on the

               issue of opioid pill to heroin transitioning, now in a later part of the epidemic. For

               example, in Charleston in 2017, all 19 of our (heroin using) respondents had

               extensive experience using prescription opioid pills and most initiated with them

               while only one did so with heroin. While prescription opioids remained more

               available than in other HIT fieldwork locations, heroin/FASH has quickly captured

               a large share of the opioid-using market. One new person who injects heroin, in

               her thirties and injecting for only six months, thought that heroin had achieved

               primacy among her peers, stating: “Everybody is on heroin. Heroin, heroin,

               heroin.”117A 2017 DEA intelligence report on the drug situation in West Virginia

               states that illicit controlled prescription drug (CPD), especially opioids, use remains

               widespread; driven by industrial (injury-prone) jobs, high levels of unemployment

               (second highest in the US) and excessive opioid prescribing practices. However,

               heroin use and deaths have been rising since 2011: “Many CPD users who have

               developed an opioid addiction are seeking heroin, which is generally cheaper and

               sometimes easier to obtain, as their opiate of choice.”118




 117
        Ondocsin J, Mars S and Ciccarone D. “Just let them all overdose”: hostility, compassion
 and role reversal in West Virginia’s long opioid overdose emergency. Unpublished draft paper.
 118
       The West Virginia Drug Situation, DEA Intelligence report, DEA-WAS-DIR-024-17,
 May, 2017.

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        51.     Professors Nabarun Dasgupta, Leo Beletsky, and I wrote a commentary, published

 in 2018, exploring the “demand-”, as opposed to “supply-”, side of the opioid epidemic.119 It was

 meant as a stimulating theoretical essay. Entitled Opioid Crisis: No Easy Fix to Its Social and

 Economic Determinants, we claimed that decades of economic distress, declines in inter-

 generational working class opportunities and other social misfortunes may have contributed to the

 so-called “deaths of despair,”120 which include rising mortality, especially among middle-aged

 Whites without a college degree, due to drug overdose. We stated: “Contraindicating the singular

 blame on health care as the gateway to addiction, individuals entering drug treatment are now more

 likely to report having started opioid use with heroin, not a specific prescription analgesic” and

 “the unrealistic expectation that curtailing dispensing will automatically reduce overdose.”121 The

 first point comes from Cicero and colleagues, the same team that reported that 75% of recent heroin

 users entering treatment started their opioid use with prescription pills,122 who, looking at later

 data in their survey, report that heroin as the initiating opioid rose from 9% (2005) to 33% (2015)

 among their respondents.123 In retrospect, the first statement was accurate only to the extent that


 119
       Dasgupta N, Beletsky L, Ciccarone D. Opioid Crisis: No Easy Fix to Its Social and
 Economic Determinants. Am J Public Health. 2018 Feb; 108(2):182-186. PMID: 29267060.
 PMCID: PMC5846593.
 120
       Dasgupta N, Beletsky L, Ciccarone D. Opioid Crisis: No Easy Fix to Its Social and
 Economic Determinants. Am J Public Health. 2018 Feb; 108(2):182-186. PMID: 29267060.
 PMCID: PMC5846593.
 121
       Dasgupta N, Beletsky L, Ciccarone D. Opioid Crisis: No Easy Fix to Its Social and
 Economic Determinants. Am J Public Health. 2018 Feb; 108(2):182-186. PMID: 29267060.
 PMCID: PMC5846593.
 122
        Cicero TJ, Ellis MS, Surratt HL, and Kurtz SP. 2014. The changing face of heroin use in
 the United States: A retrospective analysis of the past 50 years. JAMA Psychiatry 71(7):821–826.
 123
        Cicero TY, Ellis MS, Kasper ZA. Increased use of heroin as an initiating opioid of abuse.
 Addictive Behaviors. 74 (2017) 63-66.

                                                 42
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 it compared heroin initiation with initiation by a “specific” prescription opioid; when all

 prescription opioids are considered cumulatively, as of 2015, initiation with those pills occurred

 in 2/3 of the cases, compared to 1/3 with heroin. The second point is in acknowledgement that

 while opioid prescribing declined 13% nationally between 2012 and 2015,124 the national overdose

 death rate from prescription opioids continued to rise 11% during those years.125 The reasons for

 this mismatch in trends may be misclassification of deaths, time lags and stockpiles of unused

 meds;126 as well as counterfeit prescription pills.127

            a. Although Dasgupta et al argues that social and structural forces, e.g., despair,

                isolation, economic distress and community fragmentation, may be operative to

                accelerate demand, a well done econometric study shows that supply forces have

                more explanatory power. In this analysis, measures of economic changes in

                economic conditions explain less than one-tenth of the observed increase in drug

                deaths.128 A very recent analysis supports the supply-side argument over the



 124
         US Food and Drug Administration. Utilization patterns of opioid analgesics in the pediatric
 population,        background         package           addendum.           Available           at:
 https://www.fda.gov/downloads/AdvisoryCommittees/CommitteesMeetingMaterials/Drugs/Anes
 theticAndAnalgesicDrugProductsAdvisoryCommittee/UCM519724.pdf.
 125
        Hedegaard H, Miniño AM, Warner M. Drug overdose deaths in the United States, 1999–
 2018. NCHS Data Brief, no 356. Hyattsville, MD: National Center for Health Statistics. 2020.
 126
       Dasgupta N, Beletsky L, Ciccarone D. Opioid Crisis: No Easy Fix to Its Social and
 Economic Determinants. Am J Public Health. 2018 Feb; 108(2):182-186. PMID: 29267060.
 PMCID: PMC5846593.
 127
         Counterfeit Prescription Pills Containing Fentanyls: A Global Threat. DEA Intelligence
 Brief,      DEA-DCT-DIB-021-16,           JULY       2016     https://www.dea.gov/sites/default/
 files/docs/Counterfeit%2520Prescription%2520Pills.pdf (accessed June 26, 2020).
 128
       Ruhm CJ. Deaths of Despair or Drug Problems? NBER Working Paper No. 24188, NBER
 Program(s):Health Care, Health Economics, Public Economics (2017).

                                                   43
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                demand-side argument.129 My current opinion is that opioid supply is the stronger

                of the two forces in driving use and consequences.

             b. I wrote the Triple Wave Epidemic paper to discuss the complexities of the supply

                and demand forces in the opioid epidemic, arguing that both were needed to drive

                this historically large phenomenon.130 And while both supply and demand forces

                are needed, they are intertwined and blossoming from the root cause: excessive

                opioid pill supply. In tying together my understanding of the “triple wave,” I state:

                “In summary, all three waves have impressive supply-side drivers including

                excessive prescribing of medication, a new form of highly refined Mexican-sourced

                heroin and a new illicit source of synthetic opioids adulterating heroin and

                counterfeit pills. Demand for opioid pills drove demand for heroin while demand

                for heroin unsuspectingly feeds demand for synthetics-as-substitute.” Bottom line:

                excessive opioid pill supply drove population demand for opioids through

                dependency and misuse, cueing up demand for heroin/FASH.

        C.      The Growth in Heroin Use and Overdose is Particularly Acute among
                Younger People
       52.      The number of heroin users, especially young heroin users, has been increasing

 since the mid-2000s.131 (See paragraph 48.b above.)



 129
        Thombs RP, Thombs DL, Jorgenson AK, Braswell TH. What Is Driving the Drug
 Overdose Epidemic in the United States? Journal of Health and Social Behavior. First Published
 July 16, 2020, https://doi.org/10.1177/0022146520939514/
 130
        Ciccarone D. Fentanyl in the US heroin supply: A rapidly changing risk environment. Int
 J Drug Policy. 2017 08; 46:107-111. PMID: 28735776. PMCID: PMC5742018.
 131
       Substance Abuse and Mental Health Services Administration. (2017). Key substance use
 and mental health indicators in the United States: Results from the 2016 National Survey on Drug
 Use and Health (HHS Publication No. SMA 17-5044, NSDUH Series H-52). Rockville, MD:
                                                 44
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        53.     Dr. Jay Unick, professor at the University of Maryland School of Social Work and

 co-investigator on the HIT study, studied the demographics of opioid overdose during the wave

 two heroin phenomenon just prior to the introduction of fentanyl. Examining the years 2012–

 2014, we found that the peak age group for heroin overdose admissions was 20 to 34 year-olds.

 In addition, this data provides evidence of population level transitions from opioid pills to heroin

 use as the rates for overdose among 20–34 year olds declined for opioid pills while, in the same

 time period, increased for heroin.132

        54.     In our Every ‘Never’ paper, we reported that young and new heroin users described

 transitioning to heroin from prescription opioids as their growing dependence required larger and

 more consistent pill supplies than they could obtain either by prescription or on the street. We

 conclude: “From the accounts of younger/recent heroin injectors in this study, it is evident that

 since the rise of the opioid pill epidemic, the barriers to heroin use and to injection have been

 reduced by the normalized pervasiveness of these pharmaceuticals.”133

        D.      The Role of “Abuse-Deterrent” Opioids

        55.     In 2010, OxyContin (i.e., brand named long-acting oxycodone formulation) was

 reformulated to be “abuse-deterrent.” Abuse-deterrent formulations of medications attempt to

 deter use other than though oral ingestion, e.g., by crushing and insufflating, or solubilizing and

 injecting. The preferred use of OxyContin for misuse or to “get high” fell significantly after


 Center for Behavioral Health Statistics and Quality, Substance Abuse and Mental Health Services
 Administration. Retrieved from https://www.samhsa.gov/data/ on June 26, 2020.
 132
        Unick and Ciccarone. US regional and demographic differences in prescription opioid and
 heroin-related overdose hospitalizations. IJDP 46 (2017) 112-119.
 133
       Mars S, Bourgois P, Karandinos G, Montero F, Ciccarone D. "Every 'Never' I Ever Said
 Came True": Transitions from opioid pills to heroin injecting. International Journal of Drug Policy.
 2014 Mar;25(2):257-66. PMID: 24238956.

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 reformulation, and use of heroin went up in a treatment seeking population.134 Thus, an unintended

 consequence of the reformulation was a proportion of the at-risk population being driven to

 heroin.135

        56.     The Every ‘Never’ paper documents a number of stories from folks who used

 OxyContin prior to heroin. For example, one 29-year-old heroin injector explained how the

 reformulation had prompted his switch to injecting: “I was big into OxyContin at first . . . and I

 still used heroin a little bit when OxyContin was crushable, but at that point I only sniffed, and I

 only did it when I had problems finding OxyContin. It wasn’t until the OxyContin switched from

 OC [original] to OP [abuse deterrent], and the non-tamper-proof versions [sic], that I really just

 went straight to heroin and immediately started shooting it, which I guess was a little over a year

 ago.”136

        57.     The DEA anticipated this, sending out warnings to various health care

 organizations at the time of the reformulation, stating that OxyContin users switching to heroin

 was a potential consequence.137

        58.     A recent econometric analysis examines the short- and long-term effects of

 OxyContin reformulation by comparing overdose trajectories in areas more exposed to


 134
       Cicero and Surratt, Effect of Abuse-Deterrent Formulation of OxyContin, 2012 N Engl J
 Med 2012; 367:187-189 DOI: 10.1056/NEJMc1204141.
 135
        Ciccarone D. The triple wave epidemic: Supply and demand drivers of the US opioid
 overdose crisis. Int J Drug Policy. 2019 Feb 01. PMID: 30718120.
 136
       Mars S, Bourgois P, Karandinos G, Montero F, Ciccarone D. "Every 'Never' I Ever Said
 Came True": Transitions from opioid pills to heroin injecting. International Journal of Drug Policy.
 2014 Mar;25(2):257-66. PMID: 24238956.
 137
       Mars S, Bourgois P, Karandinos G, Montero F, Ciccarone D. "Every 'Never' I Ever Said
 Came True": Transitions from opioid pills to heroin injecting. International Journal of Drug Policy.
 2014 Mar;25(2):257-66. PMID: 24238956.

                                                 46
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 reformulation to less exposed areas. The results support my opinion that reformulation continues

 to play a meaningful role in explaining the rise in both heroin and fentanyl overdoses as described

 by the triple wave, e.g., a state with a one standard deviation higher rate of OxyContin misuse

 (prior to reformulation) experienced an additional 4.6/100,000 synthetic opioid overdoses due to

 higher exposure to reformulation. The authors interpret their data in line with the supply and

 demand dynamics stated in my Triple Wave paper:138 “…heroin overdoses increased immediately

 after reformulation indicates an expansion in the illicit market in terms of the number of users,

 followed by an evolution in the substances. … One interpretation of this finding is that the

 OxyContin reformulation led some individuals to move from prescription opioids to illicitly-

 produced and -sold opioids, expanding demand in the illicit market.”139 It is important to recognize

 that the act of reformulation is a mid-stage event in a process that was already ongoing, i.e., the

 huge increase, in wave one, of persons developing dependency on, misuse of, addiction to,

 prescription opioids. (See paragraph 48 above.) It is also important to remember that just because

 a prescription opioid is reformulated, the drug still remains highly addictive and may still be abused

 or misused by, for example, swallowing the drug. Abuse-deterrent formulations do not prevent

 OUD or reduce the risk of opioid dependency.




 138
        Ciccarone D. The triple wave epidemic: Supply and demand drivers of the US opioid
 overdose crisis. Int J Drug Policy. 2019 Feb 01. PMID: 30718120.
 139
        The Evolving Consequences of OxyContin Reformulation of Drug Overdoses, David
 Powell & Rosalie Liccardo Pacula Working Paper 26988, http://www.nber.org/papers/w26988.

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        E.      Harms Related to Intravenous Drug Use

        59.     The opioid crisis currently affecting the United States has resulted in unprecedented

 overdose mortality with approximately 47,600 deaths involving opioids in 2017 alone.140 Annual

 deaths have increased with each wave of the triple wave opioid epidemic. (See paragraph 46

 above.) Driving wave two is an increasing population of heroin users driven by dependency on

 prescription opioids. (See paragraph 48 above.) Chronic heroin users have been estimated to have

 increased since 2006 from 1.6 to 2.3 million in 2016 although the number could be double.141

        60.     There are other medical consequences, in addition to overdose, that are growing in

 concern. The change from opioid pill misuse to heroin involved, for many, a change in route of

 administration from oral ingestion to intravenous injection.142 While heroin can be smoked or

 insufflated, it tends, in the US, to be injected.143 This raises concerns about the transmission of

 blood-borne viruses such as hepatitis C (HCV) and HIV. Heroin initiation has a faster path to

 injection and a higher rate of progression to injection compared with other potentially injectable

 drugs.144


 140
        Scholl L, Seth P, Kariisa M, Wilson N, Baldwin G. Drug and Opioid-Involved Overdose
 Deaths — United States, 2013–2017. MMWR Morb Mortal Wkly Rep. 2019 Jan
 4;67(5152):1419–27.
 141
        Gregory Midgette, Steven Davenport, Jonathan P. Caulkins, Beau Kilmer. What America’s
 Users Spend on Illegal Drugs, 2006–2016. RAND Corporation, Santa Monica, CA, 2019.
 142
       Mars S, Bourgois P, Karandinos G, Montero F, Ciccarone D. "Every 'Never' I Ever Said
 Came True": Transitions from opioid pills to heroin injecting. International Journal of Drug Policy.
 2014 Mar;25(2):257-66. PMID: 24238956.
 143
       Ciccarone, D. (2019). Heroin smoking is not common in the United States. JAMA
 Neurology. https://doi.org/10.1001/jamaneurol.2019.0183.
 144
        Bluthenthal RN, Wenger L, Chu D, Lorvick J, Quinn B, Thing JP, et al. Factors associated
 with being asked to initiate someone into injection drug use. Drug Alcohol Depend. 2015 Apr
 1;149:252–8.

                                                 48
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          61.      In the US from 2014 through
                                                  Figure 4: New HIV Diagnoses

 2018, the number of, and the percentage of

 total, new diagnoses of HIV infection

 attributed to injection drug use increased.145

 This is seen more vividly among White

 people who inject drugs (PWID) (Figure

 4146).   Recent outbreaks of HIV among

 PWID in several US states represent a

 warning of a wider resurgence of the virus

 in this population.

                a. Several non-urban HIV outbreaks and clusters in recent years have occurred in the

                   US. Between November 2014 and November 2015, 181 people in Scott County,

                   Indiana were diagnosed with HIV infection compared to 2004-2013 when that same

                   county only had 5 total cases. Of those with HIV, 159 persons (87.8%) reported

                   injection use of extended-release oxymorphone.147 Use of this oxymorphone

                   formulation was seen as risky for HIV transmission due to multiple injections per




 145
        Centers for Disease Control and Prevention. HIV Surveillance Report, 2018 (Updated);
 vol. 31. http://www.cdc.gov/hiv/library/reports/hiv-surveillance.html. Published May 2020
 (accessed June 27, 2020).
 146
          Source for Figure 4: https://gis.cdc.gov/grasp/nchhstpatlas/charts.html (accessed June 27,
 2020).
 147
         Peters PJ, Pontones P, Hoover KW, Patel MR, Galang RR, Shields J, et al. HIV infection
 linked to injection use of oxymorphone in Indiana, 2014–2015. New England Journal of Medicine.
 2016;375(3):229–239.

                                                   49
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                use episode as well as syringe/equipment sharing related to social factors such as

                drug pricing, availability, reciprocity and resource-pooling.148

            b. A 2017 HIV outbreak in West Virginia diagnosed 57 cases across 15 counties

                identified as among the US counties most vulnerable to rapid transmission of

                HIV/HCV due to injection drug use.149 These counties shared some characteristics

                with Scott County, including high numbers of overdose deaths, widespread

                availability of prescription opioids, unemployment and low syringe access.150 A

                localized cluster of injection-related HIV cases has been reported Cabell County,

                West Virginia, that has reached 90 cases by June 11, 2020.151

            c. Massachusetts has experienced an increase in HIV cases attributed to injection drug

                use, with 52 cases reported in 2017 in the northeast corner of the state152 where




 148
         Conrad C, Bradley HM, Broz D, Buddha S, Chapman EL, Galang RR, et al. Community
 Outbreak of HIV Infection Linked to Injection Drug Use of Oxymorphone–Indiana, 2015. MMWR
 Morbidity and mortality weekly report. 2015;64(16):443–444. Broz, D., et al., Multiple injections
 per injection episode: High-risk injection practice among people who injected pills during the 2015
 HIV outbreak in Indiana. Int J Drug Policy, 2018. 52: p. 97-101.
 149
        Evans ME, Labuda SM, Hogan V, Agnew-Brune C, Armstrong J, Karuppiah ABP, et al.
 Notes from the Field: HIV Infection Investigation in a Rural Area — West Virginia, 2017. MMWR
 Morb Mortal Wkly Rep. 2018;67:257–8; Van Handel MM, Rose CE, Hallisey EJ, Kolling JL,
 Zibbell JE, Lewis B, et al. County-Level Vulnerability Assessment for Rapid Dissemination of
 HIV or HCV Infections Among Persons Who Inject Drugs, United States: JAIDS Journal of
 Acquired Immune Deficiency Syndromes. 2016 Nov;73(3):323–31; Lurie, J., HIV Is Spreading in
 West Virginia. The Solution Is in Short Supply, in Mother Jones. 2019.
 150
        Evans ME, Labuda SM, Hogan V, Agnew-Brune C, Armstrong J, Karuppiah ABP, et al.
 Notes from the Field: HIV Infection Investigation in a Rural Area — West Virginia, 2017. MMWR
 Morb Mortal Wkly Rep. 2018;67:257–8.
 151
        https://oeps.wv.gov/hiv-aids/Pages/default.aspx (accessed June 27, 2020).
 152
      Felice J. Freyer, HIV is surging in Lawrence and Lowell. The CDC wants to know why,
 The Boston Globe (Apr. 5, 2018), https://www.bostonglobe.com/metro/2018/04/05/cdc-
                                                 50
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                 heroin/FASH is endemic.153 A 2018 investigation by the CDC, in collaboration

                 with the Massachusetts Department of Public Health, in Lawrence and Lowell,

                 found 129 persons diagnosed with HIV between 2015 and 2018 who met the case

                 definition for this outbreak. 86% of these cases were transmitted through injection

                 drug use and 90% had HCV co-infection.154

              d. The most recent US cluster, identified in 2018, occurred in Seattle, Washington

                 among people living homeless and was attributed to drug injecting and heterosexual

                 sex with and among PWID.155

        62.      It is estimated that 3.5 million people in the US are infected with HCV156 with

 prevalence estimates among PWID of up to 90%.157 HCV incidence among young people




 investigate-puzzling-surge-hiv-lawrence-lowell-among-injecting-drug-
 users/XHgt4NKAgdxVKgdzH8TZbI/story.html (accessed June 27, 2020).
 153
        Ciccarone D, Ondocsin J, Mars SG. Heroin uncertainties: Exploring users’ perceptions of
 fentanyl-adulterated and-substituted ‘heroin.’ International Journal of Drug Policy. 2017;46:146–
 155.
 154
        CDC, Epi-2: Preliminary Epi-Aid Report: Undetermined Risk Factors and Mode of
 Transmission for HIV Infection Among Persons Who Inject Drugs — Massachusetts, 2018.
 Atlanta, GA; 2018.
 155
        Golden MR, Lechtenberg R, Glick SN, Dombroshi J, Duchin J, Reuer JR, et al. Outbreak
 of Human Immunodeficiency Virus Infection Among Heterosexual Persons Who Are Living
 Homeless and Inject Drugs — Seattle, Washington, 2018. Morbidity and Mortality Weekly
 Report. 2019;68(15):344–9.
 156
        Centers for Disease Control and Prevention. Viral Hepatitis Surveillance - United States,
 2016. 2016;75.35; Edlin BR, Eckhardt BJ, Shu MA, Holmberg SD, Swan T. Toward a more
 accurate estimate of the prevalence of hepatitis C in the United States. Hepatology. 2015 Nov
 1;62(5):1353–63.
 157
   Hernandez MD, Sherman KE. HIV/HCV Coinfection Natural History and Disease Progression,
 A Review of The Most Recent Literature. Curr Opin HIV AIDS. 2011 Nov;6(6):478–82.

                                                 51
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 increased 2006-2012, with annual increases more than double in nonurban areas.158 These

 increases were highest in the eastern half of the US, most notably Appalachia, where opioid

 prescribing rates were among the highest in the nation.159 Prescription opioids can be crushed and

 injected and their use may also result in transitions to heroin injection.160 HCV incidence

 continued to rise year on year, during the third wave of the triple wave opioid epidemic, from

 2013-2017.161

        63.      In addition to viral disease transmission, injection drug use is associated with

 bacterial infections, including, e.g., skin and soft tissue infections (SSTI)162 and endocarditis.163




 158
        Suryaprasad AG, White JZ, Xu F, Eichler B-A, Hamilton J, Patel A, et al. Emerging
 epidemic of hepatitis C virus infections among young nonurban persons who inject drugs in the
 United States, 2006–2012. Clinical Infectious Diseases. 2014;59(10):1411–1419.
 159
         Suryaprasad AG, White JZ, Xu F, Eichler B-A, Hamilton J, Patel A, et al. Emerging
 epidemic of hepatitis C virus infections among young nonurban persons who inject drugs in the
 United States, 2006–2012. Clinical Infectious Diseases. 2014;59(10):1411–1419; McDonald DC,
 Carlson K, Izrael D. Geographic variation in opioid prescribing in the US. The journal of Pain.
 2012;13(10):988–996; Zibbell JE, Asher AK, Patel RC, Kupronis B, Iqbal K, Ward JW, et al.
 Increases in acute hepatitis C virus infection related to a growing opioid epidemic and associated
 injection drug use, United States, 2004 to 2014. American journal of public health.
 2018;108(2):175–181.
 160
       Mars S, Bourgois P, Karandinos G, Montero F, Ciccarone D. "Every 'Never' I Ever Said
 Came True": Transitions from opioid pills to heroin injecting. Int J Drug Policy. 2014
 Mar;25(2):257-66. doi: 10.1016/j.drugpo.2013.10.004. Epub 2013 Oct 19. [PMID: 24238956].
 161
        Centers for Disease Control and Prevention, Viral Hepatitis Surveillance United States,
 2017. 2019, Centers for Disease Control and Prevention.
 162
         Ciccarone, D., Bamberger, J., Kral, A., Hobart, C. J., Moon, A., Edlin, B. R., et al. (2001).
 Soft tissue infections among injection drug users – San Francisco, California, 1996–2000. Journal
 of the American Medical Association, 285(21), 2707–2709. Ebright, J. B. P. (2002). Skin and soft
 tissue infections in injection drug users. Infectious Disease Clinics of North America, 16(3), 697–
 712.
 163
        Frontera JA, Gradon JD. Right-sided endocarditis in injection drug users: review of
 proposed mechanisms of pathogenesis. Clin Infect Dis 2000; 30:374–9.

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 SSTI are highly prevalent in populations of PWID. Rates of SSTI have doubled during the time

 period from early in wave one to mid wave two of the opioid crisis and skewed towards younger

 populations.164

        F.         Potential Treatment Options

        64.        The triple wave opioid epidemic is a crisis; in its wake lay millions addicted to

 opioids, nearly half a million overdose deaths over 20 years,165 and rising rates of HCV, HIV and

 other infectious conditions. Action is needed to counter these harms by expanding substance use

 treatment services, overdose prevention technologies and services, and HCV/HIV prevention,

 surveillance and treatment services. We will need to think big in terms of abatement remedies as

 we recognize that millions have developed OUD during this era of excess supply of prescription

 opioids. (See paragraph 48 above.)

              a. Abatement of the opioid crisis and its consequences will require long-term

                   commitments. Policies to reduce excess opioid supply, e.g., through prescribing

                   guidelines and PDMPs, while successful in reducing opioid volumes, have had a

                   lagged effect on reduction of prescription opioid overdose. Expansion of services,

                   including workforce development, to meet the needs of an expanding population of




 164
         Ciccarone, D., et al., Nationwide increase in hospitalizations for heroin-related soft tissue
 infections: Associations with structural market conditions. Drug Alcohol Depend. (2016),
 http://dx.doi.org/10.1016/j.drugalcdep.2016.04.009.
 165
          This figure obtained by adding annual figures for deaths due to opioids from 1999 through
 2018 (Hedegaard H, Miniño AM, Warner M. Drug overdose deaths in the United States, 1999–
 2018. NCHS Data Brief, no 356. Hyattsville, MD: National Center for Health Statistics. 2020.)
 with      provisional     overdose     deaths     for    2019      through     November       2019
 (https://www.cdc.gov/nchs/nvss/vsrr/drug-overdose-data.htm (accessed June 29, 2020).

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               persons with OUD, or persons living with HIV/HCV will take time.166 OUD is a

               chronic relapsing condition that for some, requires lifelong care.167 HIV treatment

               is typically lifelong.168

           b. The funding needs for abatement of the opioid crisis will be quite large. I, along

               with Josh Katz of The New York Times, estimated that federal and state funding of

               the order of $100 billion is needed for a comprehensive approach to prevention and

               treatment nationwide.169 I worked with Mr. Katz to design the survey logistics and

               questionnaire for a survey of 30 national experts on the opioid epidemic on how

               this money could be allocated to address the consequences of the opioid crisis. This

               $100 billion figure and proportional allocation has been incorporated into national

               legislative and political campaign proposals.

           c. Moving beyond national perspectives, it is crucial that abatement approaches be

               tailored to local needs, politics and circumstances. Dr. Alexander in his report

               urges local comprehensive needs assessments and involvement of local




 166
       National Academies of Sciences, Engineering, and Medicine 2020. Opportunities to
 Improve Opioid Use Disorder and Infectious Disease Services: Integrating Responses to a Dual
 Epidemic. Washington, DC: The National Academies Press. https://doi.org/10.17226/25626.
 167
        Expert Report of Anna Lembke, M.D., Cabell County Commission and City of Huntington,
 West Virginia v. AmerisourceBergen Drug Corp., et al., No. 1:17-op-45053-SAP and No. 1:17-
 op-45054.
 168
        Tomas Cihlar and Marshall Fordyce. Current status and prospects of HIV treatment.
 Current Opinion in Virology 2016, 18:50–56
 169
         Josh Katz, How a Police Chief, a Governor and a Sociologist Would Spend $100 Billion
 to Solve the Opioid Crisis, The New York Times (Feb. 14, 2018),
 https://www.nytimes.com/interactive/2018/02/14/upshot/opioid-crisis-solutions.html.

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                 stakeholders.170 I was involved, as a consultant (based on the experience with the

                 NYT), in such a process for the Colorado Health Institute, in partnership with the

                 Colorado Consortium for Prescription Drug Abuse Prevention, on their Colorado

                 Opioid Crisis Response Blueprint: A Guide for Opioid Settlement Investments.171

                 As a consultant for this project, I helped design the survey methods and questions.

                 Colorado experts that were surveyed recommended a comprehensive plan of

                 treatment and prevention, including using the largest portion of the opioid

                 settlement money to expand treatment, particularly in rural areas.

        65.      OUD has a number of medical treatment options that have been shown to be

 medically effective and cost-effective. Dr. Lembke’s report is an excellent resource on the need

 to expand infrastructure for treating addiction, using evidenced based medications, and utilizing a

 chronic-care model along with team-based approaches and “centers of excellence” to treat OUD.172

              a. The US Food and Drug Administration has approved three medications, which have

                 strong medical evidence bases, for the treatment of OUD. These medication

                 assisted therapies (MAT) include buprenorphine, methadone and extended release

                 naltrexone. Use of these medications, especially buprenorphine and methadone,

                 which have the greatest evidence base, have been shown to improve


 170
         Expert Witness Report of G. Caleb Alexander, MD, MS, Cabell County Commission and
 City of Huntington, West Virginia v. AmerisourceBergen Drug Corp., et al., No. 1:17-op-45053-
 SAP and No. 1:17-op-45054.
 171
        Colorado Opioid Crisis Response Blueprint: A Guide for Opioid Settlement Investments.
 Colorado Health institute. Dec 2019. https://www.coloradohealthinstitute.org/research/colorado-
 opioid-crisis-response-blueprint (accessed June 29, 2020).
 172
        Expert Report of Anna Lembke, M.D., Cabell County Commission and City of Huntington,
 West Virginia v. AmerisourceBergen Drug Corp., et al., No. 1:17-op-45053-SAP and No. 1:17-
 op-45054.

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               neuroadaptation and physical and social functioning, increase retention in

               treatment, as well as reduce harms: decrease illicit opioid use, all-cause mortality,

               including overdose, HIV/HCV transmission, as well as reduce criminal activity.173

               Despite these benefits, and numerous endorsements, e.g., from American Society

               of Addiction Medicine, the US Substance Abuse and Mental Health Services

               Administration, and the World Health Organization, these medications are

               underutilized with only approximately 20% accessing this lifesaving care.174

            b. West Virginia is under-resourced for providing MAT. There are only nine opioid

               treatment programs in West Virginia, representing a mere 0.7% of the US total.175

               These nine clinics can serve approximately 5,400 patients. This is just a fraction

               of the need considering the state’s number one rank nationwide in opioid overdose.

               A reasonable estimate for persons living with OUD in the state would be 48,000;

               for Cabell County, the estimate would be 7,000.176 A recent state report calls for




 173
        Volkow ND, Frieden TR, Hyde PS, Cha SS. Medication-Assisted Therapies — Tackling
 the Opioid-Overdose Epidemic. N Engl J Med. 2014;370:2063-2066.
 174
        Saloner B, Karthikeyan S. Changes in substance abuse treatment use among individuals
 with opioid use disorders in the United States, 2004-2013. JAMA 2015; 314:1515-7. Smith SM,
 Huang B, Hasin DS. Nonmedical prescription opioid use and DSM-5 nonmedical prescription
 opioid use disorder in the United States. The Journal of clinical psychiatry. 2016;77:772-780.
 175
        2017 State Profile — West Virginia National Survey of Substance Abuse Treatment
 Services (N-SSATS) Available at: https://wwwdasis.samhsa.gov/ (accessed June 30, 2020).
 176
        Estimated number of persons with OUD in West Virginia: 1,830,000 (population of WV
 in 2016) x 0.8% (national estimate for proportion living with OUD; see paragraph 48.a above) =
 14,640; given the state’s opioid overdose rate is 3.3 times the national average (2016: US: 13.3,
 WV: 43.4/100,000 (Seth P, Scholl L, Rudd RA, Bacon S. Overdose Deaths Involving Opioids,
 Cocaine, and Psychostimulants — United States, 2015–2016. MMWR Morb Mortal Wkly Rep.
 2018 Mar 30;67(12):349–58): 14,640 x 3.3 = 48,312. Given that the national estimate is based on
 household survey data, the number could be much larger, even twice as large. For Cabell County,
                                                56
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               the expansion of screening for substance use disorders and availability of MAT; to

               expand points of access to substance use disorder treatment and timely and effective

               transitions from one treatment setting to another; expand mobile treatment options

               and integration of tele-medicine; and address stigma related to OUD treatment, e.g.,

               by educating legislators, community leaders, and providers on the evidence-base

               and need for on-demand treatment.177

           c. Addiction and drug use carry enormous societal stigma leading to marginalization

               of the affected population and creating barriers to effective screening, prevention

               and treatment. OUD is seen by medicine as a brain disease, yet the societal lens of

               stigma puts inordinate blame on the individual for poor choices or moral failing;

               the language we use causes internalized shame and poor self-regard and -care. In

               addition, treatment for substance use disorders is typically marginalized away from

               mainstream medicine. To counter this we need education for the public, policy

               makers and media on the need for nonjudgmental language to describe this

               disorder,178 the effectiveness of medical treatments (as opposed to a common but




 the following data for 2016 was used: population 95,681 x .008 x 9.3 (ratio of county to US OD
 death rates) = 7,119.
 177
         West Virginia 2020-2022 Substance Use Response Plan. Governor’s Council on Substance
 Abuse Prevention and Treatment. January 20, 2020. WV Department of Health and Human
 Resources.            Office           of           Drug           Control           Policy.
 https://www.wvlegislature.gov/legisdocs/reports/agency/H01_FY_2020_14683.pdf.
 178
      Changing the Language of Addiction Michael P. Botticelli, MEd; Howard K. Koh, MD,
 MPH JAMA. 2016;316(13):1361-1362. doi:10.1001/jama.2016.11874.

                                                57
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                 false notion of “substituting one opioid for another”); and the promotion of

                 comprehensive and integrated health services for treating OUD.179

              d. Given the overall low access to and uptake of treatment, an OUD care cascade has

                 been developed to help improve system level practice and treatment outcomes.180

                 Similar to the HIV treatment cascade and care continuum,181 the goal is to

                 understand gaps in each step of care, e.g., access, engagement, retention and clinical

                 improvement. Williams et al. identified severe gaps in the OUD care continuum

                 including low levels of engagement in care, uptake of MAT, retention past 6 months

                 and remission.182

        66.      There is a workforce crisis for behavioral health care in general and substance use

 treatment specifically.183   This crisis is both in numbers of care providers and inequitable

 distribution. For example, under 4 percent of physicians are authorized to provide buprenorphine




 179
      Olsen Y, Sharfstein JM. Confronting the stigma of opioid use disorder – and its treatment.
 JAMA. 2014:311:1393-1394.
 180
         Arthur Robin Williams, Edward V. Nunes, Adam Bisaga, Frances R. Levin, and Mark
 Olfson. Development of a Cascade of Care for responding to the opioid epidemic. The American
 Journal     of Drug and Alcohol           Abuse 2019,         Vol.    45,   No.    1, 1–10
 https://doi.org/10.1080/00952990.2018.1546862.
 181
         Kay, E.S., Batey, D.S. & Mugavero, M.J. The HIV treatment cascade and care continuum:
 updates, goals, and recommendations for the future. AIDS Res Ther 13, 35 (2016).
 https://doi.org/10.1186/s12981-016-0120-0.
 182
         Arthur Robin Williams, Edward V. Nunes, Adam Bisaga, Frances R. Levin, and Mark
 Olfson. Development of a Cascade of Care for responding to the opioid epidemic. The American
 Journal     of Drug and Alcohol           Abuse 2019,         Vol.    45,   No.    1, 1–10
 https://doi.org/10.1080/00952990.2018.1546862.
 183
         Beck AJ, Manderscheid MW, Buerhaus PI. The Behavioral Health Workforce: Planning,
 Practice and Preparation. American Journal of Preventive Medicine. 2018;54:S187-S296.

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 treatment184 and those who are authorized underutilize it.185 Additional barriers include training

 and education deficits, poor support from institutions, and a lack of coordination of care across

 service providers.186 Workforce expansion to improve access to OUD will require increased

 training across the medical doctor career span (i.e., students, residents, and physicians, e.g., with

 continuing medical education) and including allied medical professionals such as nurse

 practitioners and physician assistants.

            a. The shortage of providers who can address substance use disorder in rural areas is

                particularly acute.187 For example, 72 percent of rural counties do not have a Drug

                Addiction Treatment Act (DATA)-waivered physician, i.e., those authorized to

                prescribe buprenorphine, despite opioid overdose rates similar to those in urban

                areas.   Recommendations include incentivizing physicians and allied health

                professionals, e.g., through loan forgiveness, to work in rural health care and

                expanding the use of telemedicine for OUD.




 184
        Haffajee R., Bohnert AS, and Lagisetty PA. 2018. Policy pathways to address provider
 workforce barriers to buprenorphine treatment. American Journal of Preventive Medicine
 54(6):S230–S242.
 185
        Stein BD., Sorbero M, Dick AW, Pacula RL, Burns RM, and Gordon AJ. 2016. Physician
 capacity to treat opioid use disorder with buprenorphine-assisted treatment. Journal of the
 American Medical Association 316(11):1211–1212.
 186
        Haffajee R., Bohnert AS, and Lagisetty PA. Lagisetty. 2018. Policy pathways to address
 provider workforce barriers to buprenorphine treatment. American Journal of Preventive Medicine
 54(6):S230–S242.
 187
        National Academies of Sciences, Engineering, and Medicine. Opportunities to Improve
 Opioid Use Disorder and Infectious Disease Services: Integrating Responses to a Dual Epidemic.
 Washington, DC: The National Academies Press. https://doi.org/10.17226/25626.

                                                  59
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           b. There is a renewed and urgent need for better integration of care between medical

               and substance treatment providers and facilities.188 Expansion of the primary care

               workforce that can prescribe buprenorphine is a crucial and ongoing strategy.189

               Expansion of the hub and spoke model – in which intake for a large geographic

               catchment (hub) begins specialized treatment and then refers patients to primary

               care (spoke) for continuity care – is a key strategy.190

           c. Workforce development should begin at the student level.191 For the past two years,

               I have been a member of the Opioid Working Group at the University of California

               (UC) whose ongoing work is developing curricula on treating pain, including the

               appropriate use of opioids, and addressing substance use disorders to be used at all

               six UC medical schools. One specific goal of this group is to have all graduating

               UC medical students trained sufficiently on OUD and treatment to then acquire the

               DATA waiver to prescribe buprenorphine when waiver-eligible. This process has

               been achieved at a single medical school.192




 188
       National Academies of Sciences, Engineering, and Medicine 2020. Opportunities to
 Improve Opioid Use Disorder and Infectious Disease Services: Integrating Responses to a Dual
 Epidemic. Washington, DC: The National Academies Press. https://doi.org/10.17226/25626.
 189
       Wakeman SE and Barnett ml. 2018. Primary care and the opioid-overdose crisis—
 buprenorphine myths and realities. New England Journal of Medicine 379(1):1–4.
 190
       Williams AR and Bisaga A. 2016. From AIDS to opioids—how to combat an epidemic.
 New England Journal of Medicine 375(9):813–815.
 191
        National Academies of Sciences, Engineering, and Medicine. Opportunities to Improve
 Opioid Use Disorder and Infectious Disease Services: Integrating Responses to a Dual Epidemic.
 Washington, DC: The National Academies Press. https://doi.org/10.17226/25626.
 192
      Access to treatment for opioid use disorders: Medical student preparation, Elinore F.
 McCance‐Katz MD, PhD Paul George MD, MHPE Nicole Alexander Scott MD, MPH Richard
                                                 60
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        67.     Overdose prevention interventions to address the fentanyl-meets-heroin wave of the

 opioid epidemic need creative expansion.193 I have summed up the necessary interventions in two

 recent editorials.194 Promotion of community-based overdose prevention programs, including

 peer-distribution of naloxone, is ongoing.195 The US Surgeon General, Dr. Jerome Adams, has

 released a public health advisory – for the first time in more than a decade – addressing the crisis

 of opioid overdose deaths and citing the effectiveness of naloxone in reducing those deaths.196

 Community distribution of naloxone, including to law enforcement, has increased in West

 Virginia, but much more is needed.197




 Dollase EdD Allan R. Tunkel MD, PhD James McDonald MD, MPH, The American Journal on
 Addictions, 2017. https://doi.org/10.1111/ajad.12550.
 193
        Ciccarone D. Fentanyl in the US heroin supply: A rapidly changing risk environment. Int
 J Drug Policy. 2017 08; 46:107-111. PMID: 28735776. PMCID: PMC5742018.
 194
         Ciccarone D. Fentanyl in the US heroin supply: A rapidly changing risk environment. Int
 J Drug Policy. 2017 08; 46:107-111. PMID: 28735776. PMCID: PMC5742018; Ciccarone D. The
 triple wave epidemic: Supply and demand drivers of the US opioid overdose crisis. Int J Drug
 Policy. 2019 Feb 01. PMID: 30718120.
 195
         Fairbairn, N., Coffin, P.O., & Walley, A.Y. (2017). Naloxone for heroin, prescription
 opioid, and illicitly made fentanyl overdoses: Challenges and innovations responding to a dynamic
 epidemic.        International      Journal     of      Drug       Policy,     46,       172–179.
 http://dx.doi.org/10.1016/j.drugpo.2017.06.005.
 196
         Adams JM. Increasing Naloxone Awareness and Use: The Role of Health Care
 Practitioners. JAMA. 2018;319(20):2073–2074. doi:10.1001/jama.2018.4867 Office of the
 Surgeon General; US Department of Health and Human Services. Surgeon General’s Advisory on
 Naloxone and Opioid Overdose. http://www.surgeongeneral.gov (accessed June 30, 2020).
 197
         West Virginia 2020-2022 Substance Use Response Plan. Governor’s Council on Substance
 Abuse Prevention and Treatment. January 20, 2020. WV Department of Health and Human
 Resources.            Office           of           Drug           Control           Policy.
 https://www.wvlegislature.gov/legisdocs/reports/agency/H01_FY_2020_14683.pdf.

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            a. The challenges in the synthetic opioid era include erratic drug potency, magnified

                when potent opioids are combined in use, e.g., FASH.198 Toxicological surveillance

                of the evolving palette of synthetic opioids in the marketplace is challenging.

                Resources are needed to centralize medical examiner systems, promote

                standardized procedures regarding investigating deaths, and use of more advanced

                analytic testing.199

            b. Surveillance also includes understanding the vicissitudes in the drug stream and

                how they adversely affect the population at risk; my team has published such an

                analysis200 as a proof of concept for an “early warning system.” Analysis of drug

                samples and dissemination of the findings could be achieved in rapid cycles and

                enhance our understanding of the drugs in circulation and especially how rapidly

                heroin, FASH and fentanyl analogue mixtures are changing. Improved surveillance

                would benefit not only the interdiction and public safety side but also the public

                health side including first responders, emergency and hospital clinicians as well as

                those who work in community based programs serving the affected population.201




 198
        Ciccarone, D., Ondocsin, J., & Mars, S. G. (2017). Heroin uncertainties: Exploring users’
 perceptions of fentanyl-adulterated and -substituted ‘heroin’. International Journal of Drug Policy,
 46, 146–155. http://dx.doi.org/10.1016/j.drugpo.2017.06.004.
 199
         Lucyk, S.N. & Nelson, L.S. (2017). Toxicosurveillance in the US Opioid Epidemic.
 International Journal of Drug Policy, 46, 168–171. http://dx.doi.org/10.1016/j.drugpo.2017.05.057
 200
        Daniel Rosenblum, Jay Unick & Daniel Ciccarone, The Rapidly Changing US Illicit Drug
 Market and the Potential for an Improved Early Warning System: Evidence from Ohio Drug Crime
 Labs, Drug and Alcohol Dependence Volume 208, 1 March 2020, 107779
 201
        Ciccarone D. The triple wave epidemic: Supply and demand drivers of the US opioid
 overdose crisis. Int J Drug Policy. 2019 Feb 01. PMID: 30718120.

                                                 62
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                Point of use testing or “drug checking” is an intimate form of surveillance that is

                emergent in the US because of the FASH crisis.

            c. Harm reduction programs have long championed naloxone distribution.202 Newer

                creative interventions being implemented include point-of-use testing or “drug

                checking” to inform and engage persons who consume drugs as well as provide a

                potential surveillance platform.203 Rapid testing has a growing evidence base to

                support its effectiveness.204

            d. Supervised injection facilities have a strong international evidence base regarding

                reduction in harms and bridging to substance treatment and clinical services.205 The

                InSite program in Vancouver, Canada has been successful in reducing population

                level fatal overdose.206 Supervised injection facilities make sense in addressing the


 202
         Seal, Karen H. et al. 2005. Naloxone distribution and cardiopulmonary resuscitation
 training for injection drug users to prevent heroin overdose death: A pilot intervention study. J
 Urban Health 2005 Jun; 82(2): 303-311. PMCID: PMC2570543.
 203
         Hondebrink, L., Nugteren-van Lonkhuyzen, J.J., Van Der Gouwe, D., & Brunt, T.M.
 (2015). Monitoring new psychoactive substances (NPS) in The Netherlands: Data from the drug
 market and the Poisons Information Centre. Drug and Alcohol Dependence, 147, 109–115. Gilbert,
 M. K., & Dasgupta, N. (2017). Silicon to syringe: Cryptomarkets and disruptive innovation in
 opioid supply chains. International Journal of Drug Policy, 46, 160–167.
 http://dx.doi.org/10.1016/j.drugpo.2017.05.052.
 204
         Peiper, N.C., Clarke, S.D., Vincent, L.B., Ciccarone, D., Kral, A.H., & Zibbell, J.E. (2018).
 Fentanyl test strips as an opioid overdose prevention strategy: Findings from a syringe services
 program in the Southeastern United States. The International Journal of Drug Policy.
 https://doi.org/10.1016/j.drugpo.2018.08.007.
 205
        Potier, C., Laprévote, V., Dubois-Arber, F., Cottencin, O., & Rolland, B. (2014).
 Supervised injection services: What has been demonstrated? A systematic literature review. Drug
 and Alcohol Dependence, 145, 48–68.
 206
          Marshall, B.D., Milloy, M.J., Wood, E., Montaner, J.S., & Kerr, T. (2011). Reduction in
 overdose mortality after the opening of North America’s first medically supervised safer injecting
 facility: A retrospective population-based study. The Lancet, 377(9775), 1429–1437.

                                                  63
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                fentanyl overdose epidemic given that fentanyl overdose is a rapid event with a

                narrow therapeutic window.207 No facility exists yet in the United States, however

                the path has been legally cleared.208

        68.     The rise in HCV nationally, along with geographic clusters of HIV, among PWID

 (see sections 61 and 62 above) requires greater attention to the prevention, surveillance and

 treatment of these blood transmitted viruses. Prevention is fairly straightforward: sterile syringe

 provision must be greatly expanded to meet the increasing population at risk. The provision of

 sterile syringes is associated with reductions in risky behaviors,209 HIV210 and HCV.211 The CDC,

 as well as other governmental agencies, call syringe services programs safe and effective.212 US

 Health and Human Services Assistant Secretary for Health, Admiral Brett Giroir, in a commentary




 207
         Green, T.C., & Gilbert, M. (2016). Counterfeit medications and fentanyl. JAMA Internal
 Medicine, 176(10), 1555–1557. Somerville, N.J., O’Donnell, J., Gladden, R.M., Zibbell, J.E.,
 Green, T.C., Younkin, S., et al. (2017). Characteristics of fentanyl overdose—Massachusetts,
 2014–2016. MMWR Morbidity and Mortality Weekly Report, 66, 382–386.
 http://dx.doi.org/10.15585/mmwr.mm6614a2.
 208
         Eric Levenson and Lauren del Valle, Judge clears path for Philadelphia nonprofit to open
 safe-injection site to combat overdoses, CNN (updated 2:22 PM ET, Wed Feb. 26, 2020),
 https://www.cnn.com/2020/02/26/us/philadelphia-supervised-injection-site/index.html. (accessed
 June 30, 2020).
 209
        Bluthenthal RN, Kral AH, Gee L, Erringer EA, Edlin BR. The effect of syringe exchange
 use on high-risk injection drug users: a cohort study. AIDS 2000;14:605–611.
 210
       Des Jarlais DC, Marmor M, Paone D. HIV incidence among injecting drug users in New
 York City syringe exchange programs. Lancet. 1996;348:987–991.
 211
        Hagan H, Des Jarlais DC, Friedman SR, Purchase D, Amaro H. Reduced risk of hepatitis
 B and hepatitis C among injection drug users in the Tacoma syringe exchange program. Am J
 Public Health 1995;85:1531–1537.
 212
      Syringe Services Programs. US Centers for Disease Control and Prevention.
 https://www.cdc.gov/hiv/effective-interventions/respond/syringe-services-programs/index.html
 (accessed June 30, 2020).

                                                 64
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 addressing how to “end the HIV epidemic,” called syringe services programs a “proven prevention

 intervention.”213

            a. Risky syringe sharing behaviors are still common among PWID in West

                Virginia.214 While syringe services programs have been implemented over the past

                three years and have expanded statewide, the recent closure on a large program in

                Charleston, West Virginia has worrisome implications215 and goes against recent

                recommendations to promote harm reduction throughout the state.216

            b. Harm reduction programs can serve as a point of entry to comprehensive services

                including substance use treatment as well as clinical treatment for HCV/HIV. A

                recent consensus study report from NASEM, Opportunities to Improve Opioid Use

                Disorder and Infectious Disease Services: Integrating Responses to a Dual

                Epidemic, called for “Integration” and “Co-Location” of prevention and clinical

                treatment services for OUD and infectious diseases.217


 213
        Brett P. Giroir, 2020: The Time Is Now to End the HIV Epidemic American Journal of
 Public Health 110, 22_24, https://doi.org/10.2105/AJPH.2019.305380.
 214
        Allen, S.T., Grieb, S.M., O’Rourke, A. et al. Understanding the public health consequences
 of suspending a rural syringe services program: a qualitative study of the experiences of people
 who inject drugs. Harm Reduct J 16, 33 (2019). https://doi.org/10.1186/s12954-019-0305-7.
 215
        Allen, S.T., Grieb, S.M., O’Rourke, A. et al. Understanding the public health consequences
 of suspending a rural syringe services program: a qualitative study of the experiences of people
 who inject drugs. Harm Reduct J 16, 33 (2019). https://doi.org/10.1186/s12954-019-0305-7.
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         West Virginia 2020-2022 Substance Use Response Plan. Governor’s Council on Substance
 Abuse Prevention and Treatment. January 20, 2020. WV Department of Health and Human
 Resources.            Office           of           Drug           Control           Policy.
 https://www.wvlegislature.gov/legisdocs/reports/agency/H01_FY_2020_14683.pdf.
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        National Academies of Sciences, Engineering, and Medicine. Opportunities to Improve
 Opioid Use Disorder and Infectious Disease Services: Integrating Responses to a Dual Epidemic.
 Washington, DC: The National Academies Press. https://doi.org/10.17226/25626.

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            c. Combining scaled-up HCV treatment along with prevention (e.g., syringe services)

                and OUD treatment (e.g., medical assisted therapy) interventions was shown in a

                rural model to decrease the burden of HCV incidence and prevalence by 90% in a

                rural model.218

            d. The West Virginia 2020-2022 Substance Use Response Plan calls for increased

                screening and rapid access to treatment of infectious diseases associated with

                substance use disorders.219

            e. Pre-exposure prophylaxis (aka PreP) is considered a proven strategy for reducing

                HIV transmission220 and is recommended by the CDC for use in populations of

                PWID.221

 V.     CONCLUSION
        The State of West Virginia and the Cabell-Huntington community have suffered

 disproportionately severe impacts from the prescription opioid epidemic and the waves of heroin

 and illicit fentanyl that followed. Substantial effort and expense will be required to mitigate the

 harms from this triple wave epidemic.



 218
         Scaling‐up HCV prevention and treatment interventions in rural United States—model
 projections for tackling an increasing epidemic Hannah Fraser, Jon Zibbell, et al Addiction, First
 published: 22 July 2017 https://doi.org/10.1111/add.13948.
 219
         West Virginia 2020-2022 Substance Use Response Plan. Governor’s Council on Substance
 Abuse Prevention and Treatment. January 20, 2020. WV Department of Health and Human
 Resources.            Office           of           Drug           Control           Policy.
 https://www.wvlegislature.gov/legisdocs/reports/agency/H01_FY_2020_14683.pdf.
 220
        Brett P. Giroir, 2020: The Time Is Now to End the HIV Epidemic American Journal of
 Public Health 110, 22_24, https://doi.org/10.2105/AJPH.2019.305380.
 221
        https://www.cdc.gov/hiv/effective-interventions/prevent/prep/index.html (accessed June
 30, 2020).

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        Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

 and correct.




 Dated: August 3, 2020
                                                             Daniel Ciccarone, MD, MPH




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                Exhibit A
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                                                                         Prepared: August 3, 2020


                       University of California, San Francisco
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 EDUCATION
 1978 - 1983   State University of New York                     B.S.       Biology/Social
                                                                           Sciences
 1983 - 1987   State University of New York                     M.D.       Medicine
 1989 - 1992   Family Practice Residency Program,               Resident Family and
               University of California, San Francisco                   Community Medicine
 1997 - 1998   University of California, Berkeley               M.P.H.     Epidemiology
 1997 - 2000   UCSF/UCB Joint Residency Program in              Resident Preventive Medicine
               General Preventive Medicine and Public
               Health
 1997 - 2000   Center for AIDS Prevention Studies,              Fellow     HIV Prevention
               University of California, San Francisco
 1998 - 2000   Department of Family and Community               Fellow     Family Medicine
               Medicine, University of California, San                     Research
               Francisco

 LICENSES, CERTIFICATION
 1992          Medical Board of California; (G071090)
 1992          Board Certified, American Board of Family Practice
 1999          Board re-certification, American Board of Family Practice
 2003          Board Certified, American Board of Preventive Medicine



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                                                                      Prepared: August 3, 2020


 2006            Board re-certification, American Board of Family Practice
 2016            Board re-certification, American Board of Family Practice
 2018            Board Certified, American Board of Preventive Medicine, sub-Board Addiction
                 Medicine

 PRINCIPAL POSITIONS HELD
 1997 - 2000     University of California, San Francisco       Assistant Clinical
                 School of Medicine                            Professor, WOS
 2000 - 2006     University of California, San Francisco       Assistant
                 School of Medicine                            Professor
 2006 - 2012     University of California, San Francisco       Associate
                 School of Medicine                            Professor of
                                                               Clinical Family and
                                                               Community
                                                               Medicine
 2009 - 2016     University of California, San Francisco       Co-Director,
                 School of Medicine                            Foundations of
                                                               Patient Care
                                                               Course
 2009 - 2017     University of California, San Francisco       Director,
                 School of Medicine                            Transitional
                                                               Clerkship
 2012 - present University of California, San Francisco        Professor of
                School of Medicine                             Clinical Family and
                                                               Community
                                                               Medicine

 OTHER POSITIONS HELD CONCURRENTLY
 1992 - 1995     Family Medical Clinics of the Peninsula        Physician
 1992 - 1995     Industrial Medical Services                    Physician
 1994 - 1995     Univ. Health Service at UC Berkeley            Physician
 1995 - 1996     St. Anthony Clinic                             Physician
 1995 - 1998     South of Market Health Center                  Physician
 1997 - 1998     Berkeley Women's Clinic                        Physician
 1999 - 2000     Tom Waddell Clinic                             Physician
 2001 - 2011     West Berkeley Family Medicine Clinic           Physician
 2011 - 2012     UCSF Family Medicine Center at Lakeshore       Physician
 2012 - 2015     One Medical Group                              Physician



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 2018 -       Recovery Without Walls                        Physician

 HONORS AND AWARDS
 1996         Best Small Group Facilitator,           University of California, San Francisco
              Nomination                              School of Medicine
 1997         Physician's Recognition Award           American Medical Association
 2000         Physician's Recognition Award           American Medical Association
 2002         Best Small Group Facilitator,           University of California, San Francisco
              Nomination                              School of Medicine
 2003         UCSF Academic Senate Distinction in     University of California, San Francisco
              Teaching Award, Nomination              School of Medicine
 2003         Outstanding Lecture Series (John        University of California, San Francisco
              Danovic Case, organized by Dr. Alan     School of Medicine
              Gelb), Nomination
 2003         Physician's Recognition Award           American Medical Association
 2004         Innovations grant from UCSF Academy University of California, San Francisco
              of Medical Educators                School of Medicine
 2004         Outstanding Lecture Series (John        University of California, San Francisco
              Danovic Case, organized by Dr. Alan     School of Medicine
              Gelb), Nomination
 2004         Excellence in Small Group Teaching,     University of California, San Francisco
              Nomination                              School of Medicine
 2004         George S. Sarlo Award for Teaching      University of California, San Francisco
              Excellence (HIV/AIDS), Nomination       School of Medicine
 2005         Member, UCSF Academy of Medical         University of California, San Francisco
              Educators                               School of Medicine
 2006         Physician's Recognition Award with      American Medical Association
              Commendation
 2006         Essential Core Teaching AWARD,          University of California, San Francisco
              Outstanding FPC Facilitator             School of Medicine
 2006         Essential Core Teaching Award,          University of California, San Francisco
              Inspirational Teacher (class of '09),   School of Medicine
              Nomination
 2006         Kaiser Award for Excellence in          University of California, San Francisco
              Teaching, Nomination                    School of Medicine
 2006         Essential Core Teaching Award,         University of California, San Francisco
              Commitment to Teaching (class of '08), School of Medicine
              Nomination



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 2006         Essential Core Teaching Award,           University of California, San Francisco
              Inspirational Teacher (class of '08),    School of Medicine
              Nomination
 2006         Essential Core Teaching Award,           University of California, San Francisco
              Innovative Teaching, Nomination          School of Medicine
 2006         Essential Core Teaching Award,         University of California, San Francisco
              Commitment to Teaching (class of '09), School of Medicine
              Nomination
 2006         Essential Core Teaching Award,           University of California, San Francisco
              Excellence in Small Group Instruction,   School of Medicine
              Nomination
 2007         Fellow Elect                             The Society for Applied Anthropology
 2007         Essential Core Teaching Award,           University of California, San Francisco
              Inspirational Teacher, Nomination        School of Medicine
 2007         Essential Core Teaching Award,           University of California, San Francisco
              Outstanding FPC Preceptor,               School of Medicine
              Nomination
 2007         Essential Core Teaching Award,           University of California, San Francisco
              Excellence in Small Group Instruction,   School of Medicine
              Nomination
 2007         Essential Core Teaching Award,           University of California, San Francisco
              Commitment to Teaching, Nomination       School of Medicine
 2008         Essential Core Teaching Award,          University of California, San Francisco
              Outstanding Contribution to an Elective School of Medicine
              (Class of 2010), Nomination
 2008         Kaiser Award for Excellence in           University of California, San Francisco
              Teaching, Nomination                     School of Medicine
 2009         Essential Core Teaching AWARD,           University of California, San Francisco
              Outstanding Lecture (class of 2011)      School of Medicine
 2010         Kaiser Award for Excellence in           University of California, San Francisco
              Teaching, classroom setting,             School of Medicine
              Nomination
 2012         Finalist for BEST ABSTRACT:              AMERSA 36th National Conference,
              "National Demographic Trends in          Bethesda, MD
              Hospitalizations for Heroin- and Opioid-
              Related Overdoses, 1993-2009,"
 2012         Essential Core Teaching Award:           University of California, San Francisco
              Inspirational Teacher, Nomination        School of Medicine
 2013         Associate Editor                         International Journal of Drug Policy



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 2014            UCSF Chancellor's Advisory                University of California, San Francisco
                 Committee on Sustainability: Annual
                 Sustainability Faculty AWARD
 2014            Essential Core Teaching Award:            University of California, San Francisco
                 Inspirational Teacher, Nomination         School of Medicine
 2014            Kaiser Award for Excellence in            University of California, San Francisco
                 Teaching, classroom setting,              School of Medicine
                 Nomination
 2015            Outstanding Reviewer Award                International Journal of Drug Policy
 2016            Innovations grant from UCSF Academy University of California, San Francisco
                 of Medical Educators                School of Medicine
 2018            Outstanding Reviewer Award                International Journal of Drug Policy
 2018            Outstanding Reviewer Award                Drug and Alcohol Dependence
 2019            UCSF Chancellor’s AWARD for Public        University of California, San Francisco
                 Service

 KEYWORDS/AREAS OF INTEREST
 Substance-Related Disorders: [and Drug Policy, Economics, Anthropology, Ethnography,
 Epidemiology, History, Qualitative Research, Mixed-Methods Research, Addiction,
 Dependence], HIV, Medical Consequences, Soft Tissue Infections, Abscess, Heroin, Black-tar
 Heroin, Opiates, Opioids, Methamphetamine, Overdose, Public Health, Primary Prevention,
 Secondary Prevention, Clinic-based Interventions, Community-based Interventions, Homeless
 Youth, Illicit Drug Markets, Disclosure, Medication Adherence

 CLINICAL ACTIVITIES
 CLINICAL ACTIVITIES SUMMARY
 Since joining the academic faculty in 2000, I have worked .20-.40 FTE in Family Medicine
 clinical services through independent service agreements with non-UCSF outpatient clinics
 (except for one academic year at the Family Medicine Center at Lakeshore). In the summer of
 2016, I made the decision to transition my clinical efforts from FM/urgent care to Addiction
 Medicine. In 2016, after re-boarding in FM, I began researching clinical work options in
 Addiction Medicine. In the fall of 2017, I took the Addiction Medicine Board exam as part of the
 first wave of AM applicants to the new formal sub-specialty within the American Board of
 Preventive Medicine. As of 2018, I am board certified in Addiction Medicine and have started
 clinical work in Addiction Medicine at 0.2 FTE.

 CLINICAL SERVICES
 1992 - 1995     Family Medical Clinics of the Peninsula                        part time
 1992 - 1995     Industrial Medical Services                                    part time
 1994 - 1995     Univ. Health Service at UC Berkeley                            full time
 1995 - 1996     St. Anthony Clinic                                             full time




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 1995 - 1998     South of Market Health Center                               part to full time
 1997 - 1998     Berkeley Women's Clinic                                     part time
 1999 - 2000     Tom Waddell Clinic                                          full time
 2000 - 2011     West Berkeley Family Medicine Clinic                        .20-.40 FTE
 2011 - 2012     UCSF Family Medicine Center at Lakeshore                    .20 FTE
 2012 - 2015     One Medical Group                                           .20 FTE
 2018 -          Recovery Without Walls                                      .20 FTE

 PROFESSIONAL ACTIVITIES
 SERVICE TO PROFESSIONAL ORGANIZATIONS
 1998 - 2010     American Public Health Association                         Member
 2002 - 2010     American Anthropological Association                       Member
 2006 - 2016     Society for Applied Anthropology                           Member
 2007 - 2016     Society for Applied Anthropology                           Fellow
 2009 - present International Doctors for Healthy Drug Policies             Founding Member
 2013 - present International Society for the Study of Drug Policy          Member
 2014 - present Association for Medical Education and Research in           Full Member
                Substance Abuse (AMERSA)
 2018 -          California Society of Addiction Medicine                   Member
 2018 -          American Society of Addiction Medicine                     Member

 SERVICE TO PROFESSIONAL PUBLICATIONS
 2002 - 2002     The American Journal of Medicine
 2004 - 2006     UCSF CAPS/ARI HIV Prevention Fact Sheet, 2 fact sheets
 2004 - 2004     Journal of AIDS
 2004 - present International Journal of Drug Policy; Many papers; "Outstanding reviewer –
                2015, 2018"
 2005 - 2005     Perspectives on Sexual and Reproductive Health
 2006 - 2006     Medical Anthropology Quarterly
 2008 - 2008     Journal of Studies on Alcohol and Drugs
 2008 - present Journal of Health Care for the Poor and Underserved, 7 papers
 2008 - 2010     International AIDS Society; 48 Abstracts- 2008 International AIDS Conference;
                 40 abstracts in 2010
 2008 - present AIDS and Behavior, four papers


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 2008 - present Drug and Alcohol Dependence, five papers; outstanding reviewer award 2018
 2009 - 2009     Social Science and Medicine
 2009 - 2009     Medical Teacher
 2009 - 2009     BMC Public Health
 2009 - 2009     Women and Health
 2010 - 2010     Journal of Addiction Medicine; Two papers
 2010 - 2010     Patient Education and Counseling
 2011 - 2011     JAIDS; Six papers for a special issue on HIV/AIDS in Brazil
 2011 - 2011     Culture, Medicine and Psychiatry
 2011 - 2012     International AIDS Society; Abstract reviewer for the 6th IAS Conference on
                 HIV Pathogenesis, Treatment and Prevention (IAS 2011, 2012)
 2011 - 2011     Contemporary Drug Problems
 2012 - present International Journal of Drug Policy: Editorial Board Member; 50+ papers;
                Outstanding Reviewer award 2018
 2012 - 2012     Artificial Intelligence in Medicine
 2012 - 2012     Substance Abuse
 2013 - 2013     The American Journal on Addictions
 2013 - 2013     Journal of Psychoactive Drugs
 2013 - 2013     Journal of Medical Internet Research
 2013 - present International Journal of Drug Policy: Associate Editor: Drug Policy and
                Economics
 2014 - present New England Journal of Medicine; eight papers: 2014, 2015, 2016, 2017, 2018,
                2019
 2015 - present American Journal of Preventive Medicine: 2015, 2019
 2016 - 2016     AMERSA National Conference: abstract reviewer
 2017 - present American Journal of Public Health
 2018 -          Journal of Pharmacoepidemiology and Drug Safety
 2018 -          Addiction
 2018 -          Open Forum Infectious Diseases, the open access journal for the Infectious
                 Disease Society of America (IDSA)
 2018 -          American Family Physician
 2018            Book review: The coming cannabis revolution? Regulatory models for cannabis
                 markets: experiences, scenarios and debates, Routledge Publishers.
 2019            Journal of Substance Abuse Treatment


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 2019         The Lancet



 INVITED PRESENTATIONS - INTERNATIONAL
 2000         Panel Moderator, "Working with Challenging Populations",
              Fourth International Hepatitis C Virus Conference, San
              Francisco, CA
 2001         Invited Presentation, "Demystifying the Notion of the
              'Difficult-to-Treat Patient'", Fifth International Hepatitis C
              Virus Conference, San Francisco, CA
 2004         Invited Plenary Presentation with Philippe Bourgois,
              "Water Works? Implications for Low Threshold HIV
              Prevention", National Centre in HIV Social Research,
              Annual Conference, Sydney, Australia
 2009         Invited presentation for a Major Session, Risk
              Environments and Drug Harms at The International Harm
              Reduction Conference, Bangkok, Thailand, 20-23 April
              2009. My presentation: "Heroin in Brown, Black and White:
              Geographic Risk Environments in the US Heroin Market."
 2011         Invited presentation: International Panel: "'How does
              National Drug Policy Affect Drug Treatment?' The SF
              perspective." The International Harm Reduction
              Association 22nd International Conference, Beirut,
              Lebanon, April 3-7, 2011.
 2015         Harm Reduction panel, Ninth Annual Conference of the             Chair and
              International Society for the Study of Drug Policy, Ghent,       Discussant
              Belgium, May 20-2, 2015
 2016         National Drug Early Warning System, 2nd monthly           Plenary presenter
              webinar: Understanding the Relationship Between
              Prescription Opioid Misuse and Heroin Abuse. Presenters:
              Daniel Ciccarone, M.D., MPH, University of California San
              Francisco. Co-presenting with Wilson M. Compton, M.D.,
              M.P.E., Deputy Director of the National Institute on Drug
              Abuse (NIDA) of the National Institutes of Health.
              International audience: ~850
 2017         Invited panel: Harris M, Ciccarone D, Hope V. Drawing       Presenter
              attention to neglected injecting-related harms: the case of
              AA amyloidosis. International Harm Reduction Conference,
              Montreal May, 2017




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 2017         Invited talk: Mars S, Ondocsin J, Ciccarone D. Experiences
              of fentanyl in the United States: A premonition of the future
              or a geographically specific case study? National Addiction
              Centre, King’s College, London. July 5, 2017
 2017         Invited panel presentation: Drug War Déjà Vu: How Can           Presenter
              Harm Reductionists Push Back against Drug Induced
              Homicide, Harsh Fentanyl Penalties, and the Further
              Demonization of Drug Users? International Drug Policy
              Reform Conference 2017. Atlanta, GA. Oct 12, 2017.
 2017         International news media mentions: • The Guardian UK •  Interviewed expert
              World Weekly (London) • Several Latin American papers ;
              Aftenposten (Norway)
 2018         Invited panel presentation: Heroin in Transition:          Organizer, Chair
              multidisciplinary perspectives on the US heroin crisis.    and Discussant
              Twelfth Annual Conference of the International Society for
              the Study of Drug Policy, Vancouver, Canada, May, 2018
 2018         International media: Aftenposten (Norway), twice in 2018;       Interviewed expert
              The Star Vancouver; Vancouver Sun; BBC (background)
 2018         International Doctors for Healthy Drug Policies: quarterly   Interviewed expert
              newsletter highlighting The Heroin in Transition project and
              the opioid crisis in America
 2019         Invited panel presentation: Exploring Changes in the US    Organizer, Chair
              'Heroin' Risk Environment: HIV, Drug Supply,               and Discussant
              Polysubstance Use and Overdose. 13th Annual Conference
              of the International Society for the Study of Drug Policy,
              Paris, France, May, 2019
 2019         International news media mentions: Canadian PBS;                Interviewed expert
              Xinhua News Agency (Chinese); Global Vicenews; Globe
              post UK, Australian TV; CBC radio; Ottawa Citizen;



 INVITED PRESENTATIONS - NATIONAL
 2003              Invited Presentation, "Soft Tissue Infections among
                   Users of Black Tar Heroin: A Cross-Methodological
                   Examination", Community Epidemiology Working
                   Group, National Institutes of Drug Abuse, San
                   Francisco, CA
 2003              Invited Lecture, "Soft tissue Infections among
                   Injection Drug Users: Community Strategies for
                   Treatment and Prevention", Demand Treatment!
                   Partners Institute, National Meeting, San Francisco,
                   CA



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 2003              Session Chair, ""Heroin in Black and White:
                   Explaining the Unequal Diffusion of HIV among
                   Injection Drug Users in the United States", Annual
                   Meeting of the American Anthropological Association,
                   Chicago, IL
 2004              Panel Presentation in Doctor Involvement in the
                   Grassroots Development of Harm Reduction,
                   "Improving Care for Persons with Soft Tissue
                   Infections", Fifth Annual Harm Reduction Conference,
                   New Orleans, LA
 2006              Invited Presentation, "Heroin in Brown, Black and
                   White: Structural Factors and Medical
                   Consequences", National Development and
                   Research Institutes, New York City, NY
 2006              Panel Moderator, "Clinical Interventions", Sixth
                   Annual Harm Reduction Conference, Oakland, CA
 2007              Panel Moderator, "Medical Consequences of
                   Methamphetamine Use", Second National
                   Conference on Methamphetamine, HIV, and
                   Hepatitis: Science and Response 2007, Salt Lake
                   City, Utah
 2010              Panel Moderator, 8th National Harm Reduction
                   Conference, Austin, TX
 2012              Panel Moderator, 9th National Harm Reduction
                   Conference, Portland, OR
 2014              "Intertwined Epidemics: Opioids and Heroin", 38th      Plenary Speaker
                   Annual AMERSA National Conference, San
                   Francisco, CA, November 6-8, 2014.
 2015              "The Changing Landscape of Prescription Opioid    Plenary Speaker
                   Abuse: Intertwined Epidemics," RADARS System, 9th
                   Annual Scientific Meeting:Bending the Curve of
                   Prescription Drug Abuse, Washington, DC, May 6,
                   2015
 2015              9th Annual AMERSA National Conference,                 Panel Moderator
                   Washington, DC, November 5-6, 2015.
 2016              Society for Applied Anthropology Annual Meeting,       Session Chair
                   Vancouver, BC, Canada, March 29 - April 2, 2016
 2016              Invited presenter to the National Academies of
                   Science, Medicine and Engineering: Intertwined
                   epidemics: heroin and opioid overdoses. Sept. 22,
                   2016



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 2016              A More Dangerous "Heroin": emerging patterns in the Panel organizer
                   heroin overdose epidemic, 11th National Harm        and moderator
                   Reduction Conference, San Diego, CA, Nov 3-6,
                   2016.
 2016              Panel presentations (Major Session): "Illicitly      Organizer and lead
                   Manufactured Fentanyl in the United States:          presenter
                   Implications for Overdose Prevention and Public
                   Health." Lead presenter; 3/5 of the presentations in
                   this panel stem from the Heroin in Transition
                   research. 11th National Harm Reduction Conference,
                   San Diego, CA, Nov 3-6, 2016.
 2017              Invited Presentations organized by the American        Keynote or
                   Association for the Advancement of Science (AAAS): featured speaker
                   • Intertwined Epidemics: Heroin and Opioids. At the
                   Science and Technology Policy Forum, AAAS, March
                   27, 2017. Alongside Wilson Compton, Deputy
                   Director NIDA • Intertwined Opioid Epidemics:
                   Prescription Pills, Heroin and Fentanyl. May 10, 2017.
                   Presented to: o The Congressional Neuroscience
                   Caucus Luncheon, 2456 Rayburn House Office
                   Building o The Neuroscience and Society meeting.
                   Alongside Nora Volkow, Director of NIDA, and Karen
                   Drexler, VAMC. Sponsored by AAAS and the Dana
                   Foundation • Judicial Seminar on Emerging Issues in
                   Neuroscience. Sponsored by the American
                   Association for the Advancement of Science, the
                   Federal Judicial Center, the National Center for State
                   Courts, the American Bar Association Judicial
                   Division, and the Dana Foundation. Hosted by the
                   University of Arizona College of Law, November 2-3,
                   2017
 2017              Invited panel: Ciccarone D, Mars S, Unick J,           Organizer, lead
                   Ondoscin J. Heroin in Transition (Part 1): US regional presenter
                   differences in the opioid pill and “heroin” overdose
                   epidemics; and Heroin in Transition (Part 2): User
                   Experience with and Perceptions of Novel Forms of
                   Heroin in Three Eastern US States. National Opioid
                   and Heroin Summit, Atlanta, GA, April 18-19, 2017.
                   Note: This was the lead panel in the Heroin Track.
                   Note: Press release with at least a dozen media
                   mentions stemming from these.




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 2017              Invited presentation: Mars S G., Ondocsin, J. and
                   Ciccarone, D. “A more dangerous heroin: emerging
                   patterns, adulteration and users’ perceptions.”, Maine
                   5th Harm Reduction Conference, Belfast, Maine, May
                   10th 2017
 2017              Invited webinar: Heroin In Transition: Supply            Presenter
                   Changes, Adulteration and Consequences. To the
                   AIDS Institute, NYS Department of Health. May 31,
                   2017
 2017              Invited Grand Rounds: Psychiatry Grand Rounds            Grand Rounds
                   series at Rush University Medical Center: “A More        presenter
                   Dangerous ‘Heroin’: Supply Changes, Adulteration
                   and Users’ Perceptions.” Oct 5, 2017, Chicago, IL
 2017              Invited Plenary Presentation: The Triple Wave         High profile
                   Epidemic: Opioids, Heroin and Fentanyl as part of the presentation;
                   panel: Understanding and Responding to Today’s        presenter
                   Drug Market. In: Heroin Response Strategy
                   Symposium organized by eight High Intensity Drug
                   Trafficking Areas (HITDAs) and sponsored by the US
                   Office of National Drug Control Policy (ONDCP) and
                   the US Centers for Disease Control and Prevention,
                   Injury Branch. Nov 7, 2017, Atlanta, GA
 2017              National media mentions: • New York Times; 5           interviewed expert
                   articles, 3 front page • Buzzfeed; 3 articles • New
                   Yorker; 2 articles • Science (American Association for
                   the Advancement of Science); 2 articles • 538.org; 2
                   articles • STAT News; 2 articles • Chicago Tribune; 2
                   articles • Mother Jones; 2 articles • Nature •
                   Washington Post • Glamour magazine • ABC
                   Nightline (online) • Bloomberg • American Libraries •
                   Insight Crime • The Reason • Pacific Standard • Slate
                   • The Cut • Record Searchlight • The Daily Times and
                   Delmarvanow.com • The Washington Post • San
                   Francisco Magazine • Los Angeles Times • Others
                   which spun off of above articles
 2018              Bloomberg Philanthropies: expert convening on the        Speaker and
                   opioid epidemic                                          Discussant at this
                                                                            high-level expert
                                                                            meeting
 2018              American College of Toxicology, annual meeting           Plenary speaker




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 2018              Invited Presentations organized by the American     Featured speaker
                   Association for the Advancement of Science (AAAS):
                   Judicial Seminar on Emerging Issues in
                   Neuroscience. (Similar to events in 2017). Seminars
                   in Pittsburg PA and San Diego, CA.
 2018              Aspen Institute sponsored event: Discussion on the      Featured speaker
                   opioid crisis alongside author Ryan Hampton
 2018              National media mentions: • California Healthline/        Interviewed expert
                   Kaiser Health News • Audrey M Provenzano MD,
                   MPH | Review of Systems Podcast • Vice news x 3 •
                   Mother Jones x 4 • Chicago Tribune • Newsweek x 2 •
                   Nature (and audio podcast) • Time • NYT x 4 (one
                   piece was initiated by me; another was front page) •
                   Sentinel (PA) x 2 • Buzzfeed x 2 • Washington Post x
                   2 • 538.org x 2 • Stat news x 3• HuffPost •
                   Washington Times • Vox • LA Times x 2• Philly NPR
                   affiliate • Rolling Stone x 2 • Clinical Psychiatry News
                   • Daily Beast • WWL (radio; New Orleans) • Healthline
                   Media; Buzzfeed; Alcoholism & Drug Abuse Weekly;
                   WV NPR; multiple for Congressional hearing (see
                   Mendeley); The Atlantic; CNN; Bloomberg; Vice; Pew
                   Charitable Trust; NYC Daily Mail
 2018              Iowa Harm Reduction Conference. Keynote                 Keynote speaker
                   presentations at 2 events including main conference
 2018              Grand Rounds at University of Iowa Medical School       Featured speaker
 2019              Invited Presentations organized by the American       Featured speaker
                   Association for the Advancement of Science (AAAS):
                   Judicial Seminar on Emerging Issues in
                   Neuroscience; Miami, FL. (Similar to events in 2017).
                   “The Opioid Crisis”, Sponsored by The American
                   Association for the Advancement of Science and The
                   Montana Supreme Court Judicial Education
                   Committee; Whitefish, MT.
 2019              CATO Institute: “Harm Reduction: Shifting from a        Featured speaker
                   War on Drugs to a War on Drug-Related Deaths”
 2019              “The Triple Wave Epidemic,” to the A4A’s (airline       Featured speaker
                   industry group) Drug & Alcohol Program Managers
                   Working Group




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 2019              National media mentions: PBS special on inequality;      Interviewed expert
                   US NEWS and World Report, in three parts of a 5
                   piece series; VICE news x 2; Buzzfeed x 2; New
                   Yorker; NBC; Medium; New York Times; Josh Katz
                   and Margot Singer-Katz, NYT (consulting for future
                   pieces); The Fix; The Ringer; LA Times; Washington
                   Post; Vice x 2; CNN; Associated Press; Rough
                   Translation; Morning Edition, NPR; Radiolab; Pacific
                   Standard; Science news on AAAS Judicial Seminars

 INVITED PRESENTATIONS - REGIONAL AND OTHER INVITED PRESENTATIONS

 2001              Invited Presentation, "Reducing the Risk of Skin and
                   Soft Tissue Infections", Medical Consequences of
                   Illicit Drug Use: Prevention and Clinical Management,
                   Community Dissemination Conference, San Francisco
                   Treatment Research Center, San Francisco, CA
 2001              Grand Rounds, "Biological and Behavioral Predictors      Grand Rounds
                   of Soft Tissue Infections in Injection Drug Users",
                   Family Medicine, San Francisco General Hospital,
                   San Francisco, CA
 2001              Grand Rounds (with D. Young, MD and H. Harris,           Grand Rounds
                   MD), "Soft Tissue Infections and Injection Drug Use",
                   Surgery, University of California, San Francisco, San
                   Francisco, CA
 2002              Grand Rounds (with K. Cho, MD), "Amyloidosis and         Grand Rounds
                   Abscess among Heroin Users at SFGH", Medicine,
                   San Francisco General Hospital, San Francisco, CA
 2003              Invited Presentation, "Culture and Infection:
                   Understanding Risk-taking among Heroin Users in
                   San Francisco", California Society of Addiction
                   Medicine Annual Meeting, San Francisco, CA
 2004              Invited Presentation, "Explaining the Geographical
                   Variation of HIV among Injection Drug Users in the
                   United States", Practice Improvement Collaborative,
                   Community Behavioral Health Services, San
                   Francisco Department of Public Health, San
                   Francisco, CA
 2004              Training, "The Medical Complications of Injection Drug
                   Use", HIV Prevention Project, San Francisco AIDS
                   Foundation, San Francisco, CA




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 2004              Invited Presentation in Understanding and
                   Interviewing Around Mental Illness and Substance
                   Abuse, "Understanding the Effects of Substance
                   Abuse", Habeas Corpus Resource Center, San
                   Francisco, CA
 2005              Invited Presentation, "Understanding HIV-related Risk
                   and Risk-taking among Injection Drug Users", UCSF
                   Student AIDS Forum, San Francisco, CA
 2005              Grand Rounds (with Philippe Bourgois, PhD), "'Water Grand Rounds
                   Works:' Anthropological Perspectives on HIV
                   Prevention", General Internal Medicine, San Francisco
                   General Hospital, San Francisco, CA
 2006              Invited Presentation, "Dope at Discount: Heroin Price
                   and Purity in the U.S.", Disability Evaluation and
                   Consultation Unit, City and County of San Francisco
                   Human Services Agency, San Francisco, CA
 2008              Invited Lecture, "'Video Doctor' Intervention Reduces
                   Sex and Drug Risk, including Methamphetamine use,
                   among HIV-Positive Clinic Patients," Drug User
                   Research Group (DURG), San Francisco General
                   Hospital, San Francisco, CA
 2009              Grand Rounds, "Heroin in Brown, Black and White:        Grand Rounds
                   Market Trends and Medical Consequences," General
                   Internal Medicine, San Francisco General Hospital,
                   San Francisco, CA
 2010              Invited Presentation, "Working at The Margins: 10
                   Years of Social Research in HIV Prevention," in
                   Pathways to Careers in Clinical and Translational
                   Research Seminar Series, sponsored by the UCSF
                   Clinical and Translational Research Institute. San
                   Francisco, CA
 2013              Invited Lecture, "Fire in the Vein: Preliminary
                   Observations on Heroin Acidity," Drug User Research
                   Group (DURG), San Francisco General Hospital, San
                   Francisco, CA
 2014              Radio interview: KALW: City Visions, "Heroin and
                   Harm Reduction." Panel discussion on new heroin
                   threats and clinical, public health and policy
                   responses. Live, 2.24.14
 2016              Presenter: “Counterfeit opioid pills containing         Presenter
                   fentanyls.” Marin Addiction Medicine Journal Club.
                   Oct., 6, 2016



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 2016              Invited Lecture (with Sarah Mars), “’It’s not heroin    Presenter
                   anymore:’ Supply changes, adulteration and users’
                   perceptions.” Drug User Research Group (DURG),
                   San Francisco General Hospital, San Francisco, CA.
                   Oct 20, 2016
 2016              Invited presentation, “’It’s not heroin anymore:’ Supply Presenter
                   changes, adulteration and users’ perceptions.”
                   Scientific Working Group, San Francisco Dept. of
                   Public Health, San Francisco, CA. Dec., 6, 2016
 2017              Invited presentation: “A More Dangerous “Heroin”:       Presenter
                   Emerging Patterns In The Heroin Overdose
                   Epidemic.” SF Veteran’s Administration Medical
                   Center Addiction Medicine Fellowship. Jan 25, 2017
 2017              Speaker on the opioid epidemic as part of Leadership Presenter
                   San Francisco, class of 2017. April 20, 2017
 2017              Invited presentation: “Understanding Changes in the     Presenter
                   US ‘Heroin’ Market: Notes from the Field,” Drug User
                   Research Group (DURG), San Francisco General
                   Hospital, San Francisco, CA. Dec. 14, 2017
 2017              Radio interviews: • KDKA, Pittsburg 6/6/17 • KCBS, interviewed expert
                   SF 6/7/17 • KPFA, Berkeley, 6/12/17 • KVMR, Nevada
                   City 6.20
 2018              UC CENTER SACRAMENTO CAPITOL INSIGHTS                   Speaker
                   PANEL: ADDRESSING THE OPIOID CRISIS IN
                   CALIFORNIA
 2018              Regional media mentions: • KQED California report x2 Interviewed expert
                   (one with audio podcast) • KQED Forum; KQED online
                   • KQED (background) • KQED news • UCSF
                   Magazine; UCSF in The News; Medium (online
                   version of the magazine article plus video) • KCBS •
                   KTVU
 2018              Community forum, Keynote Speaker: The Changing
                   Face of the Opioid Epidemic. Sponsored by Marin
                   Health and Human Services, Dominican University
                   and Rx Safe Marin
 2019              Local media: KQED; KPIX TV, KTVU TV, April       Interviewed expert
                   Dembrowsky, NPR x 2; City on a Hill Press at UC
                   Santa Cruz; KQED Forum; Vivian Woo (UCB student)
 2019              DFCM Journal club presentation                          Featured speaker
 2019              Grand Rounds, Veterans Administration Medical           Featured speaker
                   Center, SF



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 GOVERNMENT AND OTHER PROFESSIONAL SERVICE
 1999 - 2001     San Francisco Department of Public Health                  Member, Wound
                                                                            Triage and Care
                                                                            Subcommittee, San
                                                                            Francisco General
                                                                            Hospital
 1999 - 2001     San Francisco Department of Public Health                  Member, Task
                                                                            Force on
                                                                            Management of
                                                                            Patients with
                                                                            Abscesses and
                                                                            Injection Drug Use
 1999 - 2002     San Francisco Department of Public Health                  Member,
                                                                            Community
                                                                            Advisory Board,
                                                                            Action Point
                                                                            Adherence Project
 2000 - 2000     San Francisco Board of Supervisors and Health              Public Testimony
                 Commission
 2007 - 2007     Medical Research Council (UK equivalent of NIH)            Grant reviewer
 2014 - 2014     NIH, National Institute on Drug Abuse (NIDA)'s National    Co-Chair; Grant
                 Early Warning System (NEWS): RO1 Special Emphasis          reviewer
                 Panel
 2014 - 2014     NIH, National Cancer Institute: Using Social Media to      Grant reviewer
                 Understand and Address Substance Use and Addiction;
                 RO1 Special Emphasis Panel
 2014 - 2019     NIH/NIDA and University of Maryland: National Drug Early Member
                 Warning System (NDEWS) - Scientific Advisory Group
 2016 - 2016     CDC National Center for Injury Prevention and Control      Review Committee
                 Extramural Research Program Office. Special Emphasis       member
                 Panel: Research on Prescription Opioid Use, Opioid
                 Prescribing and Associated Heroin Risk.
 2016 - 2016     Consultation on Opioid-related Morbidity and Mortality     Invited expert
                 Surveillance, National Center for Injury Prevention and
                 Control (NCIPC) at the Centers for Disease Control and
                 Prevention (CDC)
 2016 - present Board of Scientific Counselors at the National Center for   Nominee. Appointed
                Injury Prevention and Control (NCIPC) at the Centers for    by the Secretary of
                Disease Control and Prevention (CDC).                       the U.S.
                                                                            Department of
                                                                            Health and Human
                                                                            Services (DHHS).



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 2016 - 2017    Drug Policy Alliance. Reviewed legislation: heroin-       Consultant
                assisted treatment (HAT) bill for Nevada (2016), Maryland
                (2016) and re-introduced in Nevada (2017)
 2016 -         Consultation on Naloxone App Competition; with Dr. Peter Consultant
                Lurie, FDA Associate Commissioner for Public Health
                Strategy and Analysis
 2016 -         National Institute on Drug Abuse, NIH, Special Emphasis     Grant reviewer
                Panel: “Mechanism for Time-Sensitive Drug Abuse
                Research (R21)”.
 2017 - present Food and Drug Administration (FDA) Center for Drug          Advisory Committee
                Evaluation and Research; Drug Safety and Risk               Member/ Special
                Management Advisory Committee (DSaRM) • Four                Government
                meetings in 2017; Three in 2018 • Meeting on “Opana”        Employee
                (brand named long-acting hydromorphone) led to
                successful FDA action and its withdrawal from the market;
                other meeting topics: abuse deterrent formulations, post
                marketing surveillance, opioid packaging (including short
                term, internet enabled and abuse deterrent), naloxone
                (formulations and increasing distribution)
 2017 -         US Governmental Accountability Office                       Interviewed for
                                                                            congressional report
 2017 -         NYS Governor’s Office                                       Consultant
 2017 -         NYS Health Department                                       Consultant
 2017 -         Colorado Department of Public Health and Environment        Consultant
 2017 -         Facing Addiction In America: The Surgeon General’s          Citation of some of
                Report on Alcohol, Drugs, and Health                        our work
 2017 -         Senator Kamala Harris’ letter to Alkermes                   Direct quote of mine
                                                                            in her letter to a
                                                                            pharmaceutical
                                                                            company
 2017 -         Report: The President’s Commission on Battling Drug         Citation of some of
                Addiction and The Opioid Crisis                             our work
 2017 -         Office of National Drug Control Policy                      Sharing of data
                                                                            upon request with
                                                                            Acting Director
                                                                            Richard Baum
 2017 -         MacArthur Fellows Program, John D. and Catherine T.         Invited confidential
                MacArthur Foundation                                        nominator
 2018 -         Drug Policy Alliance convening on U.S. Sentencing           Expert consultant
                Commission March 14, 2018 Public Hearing on fentanyl;
                letter to ACLU


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 2018 -         West Virginia consultations: Charleston, WV City Council; Consultant
                WV State Health Office; Charleston syringe exchange
                task force;
 2018 -         Behavioral Health System Baltimore; Public Health           Consultant
                Strategic Initiatives, fentanyl campaign
 2018 -         Julia Vieweg, Senior Analyst, Homeland Security &           Consultant
                Justice Division, US Government Accountability Office
 2018           Jennifer J. Marks, intelligence Analyst – Narcotics and Consultant
                Contraband Branch, U.S. Customs and Border Protection;
 2018 -         Centers for Disease Control and Prevention; HIV/viral       Consultant
                hepatitis division: Epi-Aid HIV outbreak investigation by
                request of Massachusetts Dept. of Public Health.
 2018 -         Consultation with staff in the office of Congressperson     Consultant
                Ted Budd (NC-13) regarding pending legislation
 2018           Marin County District Attorney candidate Anna Pletcher      Consultant
 2018 -         CONGRESSIONAL TESTIMONY: Before the Committee               Invited expert
                on Foreign Affairs, Subcommittee on Africa, Global
                Health, Global Human Rights, and International
                Organizations, United Sates House of Representatives.
                Hearing: Tackling Fentanyl: The China Connection,
                September 6, 2018.
 2018           National Institute of Justice, a division of the DOJ:       Invited expert
                invitation only meeting to discuss the state of America’s
                opioid crisis; to learn promising practices, and inform a
                research agenda moving forward. Sponsored by NIJ and
                RAND
 2019           DPA research incubator                                      Consultant
 2019           UCLA CFAR-Sponsored "Slowing the Emerging Opioid            Invited expert
                Epidemic in California" Meeting; L.A., CA
 2019 - present University of Pittsburg Substance Use Natural History       Member, Scientific
                Expert Stakeholder Panel                                    Advisory Board
 2019           NIDA Great Lakes Clinical Trials Network; Niranjan S.       Member, External
                Karnik, MD, PhD, Principal Investigator                     Advisory Board
 2019           Vera Project: Transforming the Justice System’s             Interviewed expert
                Response to Drugs




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 2019             Pew Charitable Trusts: report on medication assisted        Interviewed for
                  treatment for opioid use disorder; specifically on the need Congressional
                  to amend the DATA 2000 law on buprenorphine waiver          report
                  training. This report has been incorporated into introduced
                  legislation: Mainstreaming Addiction Treatment (MAT) Act
                  – H.R. 2482; Lead Sponsors: Tonko (D-NY), Delgado (D-
                  NY), Lujan (D-NM), Budd (R-NC), Stefanik (R-NY), Turner
                  (R-OH)
 2019             Educational panel for congressional staff on reforming the Invited panel expert
                  buprenorphine x waiver. Part of the educational campaign
                  for the Mainstreaming Addiction Treatment (MAT) Act –
                  H.R. 2482 (see above); Sponsored by Pew Charitable
                  Trust. Canon Building, Washington, DC

 UNIVERSITY AND PUBLIC SERVICE
 SERVICE ACTIVITIES SUMMARY
 I have always strongly believed in giving back. My service activities while on the faculty at
 UCSF have involved giving back to the communities I have engaged as part of my research.
 For example, I have helped developed clinics at several harm reduction service providers,
 engaging clients at a very early step in their clinical care in a trusting environment. I have been
 on the Board of Directors for a youth oriented harm reduction service provider. At UCSF, I
 have provided service at the medical student, FCM departmental and School of Medicine wide
 levels.

 At the UC system wide level, I served, for six years, as the UCSF representative to the Pacific
 Rim Research Program Executive Committee. This committee implements a $500-750k annual
 granting program through the UCOP. The executive committee determines eligibility and
 awards for a diverse array of faculty and graduate student projects involving research in the
 culturally, politically and economically important Pacific Rim region.

 I currently serve on the UC-wide opioid curriculum task force. At UCSF, I served from 2017-19
 at the request of the Vice Provost, Academic Affairs office, on two committees reviewing
 faculty misconduct and sexual violence cases.

 In 2019, I received the UCSF Chancellor’s Award for Public Service. This award stems
 from my continuing advocacy for rational evidence-based drug policies esp. in light of the
 prolonged opioid crisis. My public service includes both extensive media involvement (see
 invited “presentations” above) as well as government service. My government service is
 expanding with consultations at the behest of the US Centers for Disease Control and
 Prevention, US Food and Drug Administration and nomination to the Board of Scientific
 Counselors at the National Center for Injury Prevention and Control. I have served in a variety
 of situations, as an expert and consultant, in many governmental and NGO inquiries.

 My contributions to diversity are stated below.




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 UNIVERSITY SERVICE
 UC SYSTEM AND MULTI-CAMPUS SERVICE
 2008 - 2014   Pacific Rim Research Program, Executive Committee            UCSF
                                                                            Representative
 2017 - present UC system-wide Opioid Curriculum Workgroup                  UCSF
                                                                            Representative

 UCSF CAMPUSWIDE
 2005 - present Academy of Medical Educators                                  Member
 2006 - 2008   Pacific Rim Research Program, UCSF Selection Committee Member
 2007 - present Center for AIDS Research                                      Member
 2007 - 2010   Academy of Medical Educators, Faculty Development              Member
               Working Group
 2010 - 2014   Academy of Medical Educators, Scholarship Working              Member
               Group
 2015 - 2015   Academy of Medical Educators, Academy Growth and               Ad hoc member
               Membership Working Group
 2016 - 2019   Standing Panel for Faculty Misconduct Investigations.          Member
               UCSF Vice Provost Academic Affairs Office
 2017 - 2019   Peer Review Committee for Sexual Violence Cases. UCSF Member
               Vice Provost Academic Affairs Office

 SCHOOL OF MEDICINE
 1995 - 1995   UCSF Medical Student Homeless Clinic. UCSF School of            Preceptor
               Medicine website headliner story, written by MS1 Jeffrey
               Chen, highlights this clinic and some of my teaching (posted
               2.14.14): "http://medschool.ucsf.edu/features/night-ucsf-
               homeless-clinic" http://medschool.ucsf.edu/features/night-
               ucsf-homeless-clinic
 1997 - 1999   UCSF Children's Health Hut                                      Preceptor
 2000 - 2006   Culture and Behavior (CAB) in the Curriculum Committee          Member
 2003 - 2004   International Program Committee, Subcommittee Global            Member
               Health Curriculum
 2004 - 2004   Family Medicine Interest Group                                  Panel Member
 2004 - 2006   Medical Scientist Training Program Council                      Ad-Hoc Member
 2004 - 2006   UCSF Multicultural Linkage of Education, Action and             Member
               Research Networks (LEARN) Program
 2004 - 2006   Health Disparities Curriculum Working Group                     Member



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 2004 - 2008   American Medical Students Association, UCSF Chapter          Faculty Advisor
 2006 - 2008   UCSF Student AIDS Forum                                      Faculty Advisor
 2006 - 2008   Social and Behavioral Science Curriculum committee           Member
 2009 - 2016   Foundations of Patient Care Course                           Co-Director
 2009 - 2016   Mini-Clinical Performance Examination                        Preceptor
 2009 - 2016   Observed Structured Clinical Examination (OSCE)              Preceptor
 2010 - 2010   Essential Core Compass Committee                             Member
 2009 - 2011   Velo-Med, UCSF biking club                                   Faculty Advisor
 2012 - 2015   UCSF School of Medicine "Flu Crew" - delivering influenza    Preceptor
               vaccines to homeless populations
 2011 - present Drug User Research Group (DURG) Seminar                     Co-Director
 2012 - 2016   Clinical Courses Operations Committee (CCOC)                 Member
 2014 - 2016   School of Medicine Bridges curriculum; Clinical Microsystems Lead or Co-Lead
               Clerkship / Foundations of Patient Care; Documentation and
               Presentations WG; Clinical Reasoning WG

 DEPARTMENTAL SERVICE
 2000 - 2005   Culture in the Curriculum Committee, DAHSM                  Member
 2001 - 2001   Expert Panel, Baymen/SUMIT Study, DOM                       Member
 2001 - 2003   Community Advisory Board, VOICE Study, DOM                  Member
 2006 - 2007   Advisory Group for Social Medicine Graduate Degree          Member
               Program, DAHSM
 2006 - 2011   DFCM Family Medicine Research Seminar                       Co-Director
 2007 - 2011   DFCM Mentoring Oversight Committee                          Member
 2010 - present DFCM ad hoc faculty review committee                       Member
 2011 - 2012   Center for AIDS Prevention Studies (CAPS) International     Peer-reviewer
               Visiting Scholars Program, DOM
 2012 - 2015   DFCM promotions committee                                   Member
 2013 - 2015   DFCM Education Advisory Group                               Member
 2013 - present DFCM Scientific Review Committee                           Member
 2014 - present DFCM Educational Leadership Committee                      Member
 2019          DFCM faculty search committee                               Member




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 COMMUNITY AND PUBLIC SERVICE
 1999 - 2009     Homeless Youth Alliance                                         Volunteer
                                                                                 Physician
 2000 - 2002     Homeless Youth Alliance                                         Medical Director
 2002 - 2002     Clarendon Elementary School, San Francisco, CA                  Guest Lecturer to
                                                                                 5th Graders
 2003 - 2004     Haight-Ashbury Free Medical Clinic                              Volunteer
                                                                                 Physician
 2004 - 2014     Homeless Youth Alliance                                         Member,
                                                                                 Community
                                                                                 Advisory Board
 2004 - 2004     HIV Prevention Project, San Francisco AIDS Foundation           Guest Trainer
 2010 - 2014     Tenderloin Health                                               Member,
                                                                                 Community
                                                                                 Advisory Board
 2012 - 2012     Berkeley NEED (Needle Exchange Emergency                        Physician support
                 Distribution)                                                   and advisor
 2018-2019       Worked with several community students on school                Interviewed expert
                 projects (print, film and social media) related to the opioid
                 crisis; both locally eg Tam High School (Lauren Walk and
                 Milo Levine) and nationally eg Pennsylvania (Amanda
                 Stapf), among others

 CONTRIBUTIONS TO DIVERSITY
 CONTRIBUTIONS TO DIVERSITY
 My career is dedicated to providing service to urban underserved, marginalized and
 stigmatized persons and communities. My research, teaching and clinical activities center on
 HIV/AIDS, substance use, poverty, stigma and sexual diversity. Understanding the persons
 living and struggling with these issues is a key aspect of what I study and teach.

 TEACHING AND MENTORING
 TEACHING SUMMARY
 In my activities as a medical educator, I have largely worked towards improving the social,
 behavioral and prevention science content within the undergraduate medical school
 curriculum. This has entailed developing and delivering new lectures, small group discussions,
 and independent learning modules, as well as evaluation of this material through student
 examination, student feedback and external review. In my first 10 years as an educator, I
 worked on several curriculum committees, served as Co-Director of Social Science Curriculum
 Integration (one year) and Block Coordinator for social science integration for the Infections,
 Immunity and Inflammation Block. In this latter capacity, I have focused on improving the HIV,
 sexuality and prevention content of the core curriculum.




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 In 2009, I became Co-Director for the Foundations of Patient Care (FPC) course. In this role, I
 designed and administrated FPC during the Organs Block of the Essential Core course. During
 the eight years I was Co-Director, FPC expanded in content and was increasingly well received
 and evaluated by the students. I was also Director of the Transitional Clerkship (TC), a two-
 week immersion and preparation course for medical students transitioning to their clinical
 training years. Under my leadership, Transitional Clerkship became a highly evaluated and
 well regarded course. Vice Dean (at the time) Helen Loeser remarked at a curricular leadership
 meeting that she had never seen a course improve so rapidly and dramatically. In both of
 these roles, I was responsible for designing extensive curricula, editing syllabi (see Creative
 Activities, Teaching - below), recruiting faculty, hosting sessions and direct teaching, as well
 as, designing and leading assessment activities. It is a rewarding job done in full collaboration
 with the FPC Director, Co-Directors and staff.

 I have contributed in many ways to the current Bridges Curriculum; leading working groups in
 medical documentation and clinical reasoning as well as proposing a longitudinal curriculum for
 essential TC components. My FPC post ended with the start of Bridges. I have taught in the
 Inquiry curriculum since.

 In addition to teaching within the formal curriculum, I have had broad participation in the
 elective and informal educational sphere within the School of medicine. In this arena, students
 with the most interest in community medicine developed electives in which they and their
 colleagues received more advanced teachings. I contributed to these fascinating electives:
 Pathways to Discovery; Caring for The Underserved; Public Health, Law and Homelessness;
 Poverty Medicine Elective and Improv and Medicine. I also have developed an elective in
 substance use, entitled, "Understanding the Complexities of Substance Use 'in The Real
 World.'" The course is well-received and has been described in a brief publication in Medical
 Education.

 I have also had the opportunity and pleasure of working closely with several medical students
 involved in curricular development and revision. In the Infections, Immunity and Inflammation
 Block I have worked with former students Phillip Coffin and Genevieve Preer on revising the
 HIV/STD and sexuality content; work that had satisfying and lasting results and which resulted
 in a "Really Good Stuff" publication in Medical Education. Working with students Brynn Utley
 and Ari Hoffman, I have consulted on their Improv and Medicine elective, leading to another
 descriptive piece in Medical Education.

 Beginning in 2018 and continuing to the present, I have focused my efforts on curriculum
 development and advising related to addiction medicine. I am a key participant in the UC
 system-wide Opioid Curriculum Workgroup helping develop competencies for student
 education in pain management and substance use disorders treatment. I am supervising or
 mentoring several students and post-docs in their addiction related educational or research
 efforts. In addition, I am faculty advisor for the student run harm reduction and addiction
 medicine student interest group (and their fall elective) and am affiliated faculty for the UCSF
 Primary Care Addiction Medicine Fellowship. In 2019, I lectured in the UCSF Mini-Medical
 School (for the public) on addiction.




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 FORMAL TEACHING (past five years)
        Academic Yr     Course No. & Title       Teaching Contribution        School         Class
                                                                                             Size

       2015 - 2016    FCM 131,             Small Group Facilitator       Medicine        8
                      Foundations of
                      Patient Care,
                      Department of Family
                      and Community
                      Medicine

       2015 - 2016    FCM 131,             Co-Director                   Medicine        140
                      Foundations of
                      Patient Care,
                      Department of Family
                      and Community
                      Medicine

       2015 - 2016    Inflammation,           Lecturer                   Medicine        140
                      Immunity and
                      Infection Block:
                      "Culture and Infection:
                      Understanding HIV
                      and Abscesses"

       2015 - 2016    Organs Block/FPC:      Co-Lecturer                 Medicine        140
                      "Clinical Reasoning"
                      lecture

       2015 - 2016    Organs Block/FPC       Co-Director for FPC         Medicine        140

       2015 - 2016    Clinical Interlude     Director                    Medicine        140

       2015 - 2016    Master Clinician's     Lecturer                    Medicine        140
                      Corner for Clinical
                      Reasoning (MC3R)

       2015 - 2016    Transitional Clerkship Director, lecturer          Medicine        170

       2016 - 2017    Inflammation,           Lecturer                   Medicine        140
                      Immunity and
                      Infection Block:
                      "Culture and Infection:
                      Understanding HIV
                      and Abscesses"

       2016 - 2017    Public Health and      Lecturer                    UC Hastings     15
                      Homelessness:
                      Intersections of Law
                      and Health Care

       2016 - 2017    Transitional Clerkship Director, Lecturer          Medicine        170




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        Academic Yr    Course No. & Title       Teaching Contribution        School      Class
                                                                                         Size

        2016 - 2017   CODA                   Guest Lecturer             Medicine        140

        2017 - 2018   Core Inquiry        Small group discussion                        8
                      Curriculum; BRIDGES leader for several blocks:                    students
                                          Ground School; ABC; Health                    x7
                                          & Individual; Renal,                          blocks
                                          Endocrine, GI, Nutrition;
                                          Health & Society; Pathogens
                                          & Host Defense

        2017 - 2018   Public Health and      Lecturer                   UC Hastings     15
                      Homelessness:
                      Intersections of Law
                      and Health Care

        2018 - 2019   Public Health and      Lecturer                   UC Hastings     15
                      Homelessness:
                      Intersections of Law
                      and Health Care

        2019          UCSF Mini-Medical      Lecturer                   Medicine        25
                      School

 INFORMAL TEACHING
 2003 - present Preceptor and Guest Lecturer, UCSF Medical Student Homeless Clinic Elective
                (4 times/year), UCSF School of Medicine
 2004 - 2005    Contributor, Critical Social Science Clinical Case Conference (This seminar
                series, led by Vincanne Adams and Niranjan Karnik, is intended for MD/PhD
                students in the Anthropology, History and), UCSF Department of Anthropology,
                History, and Social Medicine
 2004 - 2010    Faculty Advisor, American Medical Students Association, UCSF Chapter
                (monthly), UCSF School of Medicine
 2005 - 2008    Co-Developer and Leader, QUIDUS: Qualitative Inquiry into Drug Use Seminar
                (This seminar series, co-developed with Sarah Mars and Philippe Bourgois, is
                intended for researchers interested in qualitative), UCSF Department of
                Anthropology, History, and Social Medicine
 2005 - 2005    Small Group Facilitator, FCM Workshop on Teaching and Working with
                Underserved Populations (Workshop for community physicians to discuss the
                challenges and opportunities in providing service to underserved populations.),
                UCSF Department of Family and Community Medicine
 2006 - 2007    Lecturer, Pathways to Discovery (Medical student organized seminar series on
                medical academic careers.), UCSF School of Medicine




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 2006 - 2007    Participant, Improv and Medicine (Medical student elective on improving
                communication skills and team work using improvisation drama techniques.),
                UCSF School of Medicine
 2007 - 2015    Facilitator, Educator's Portfolio Workshop, Leader: Jessica Muller, PhD, UCSF
                Academy of Medical Educators
 2010 - 2015    Tutor, The 20th Annual Writing for Medical Journals Workshop: A Workshop to
                Prepare Family Medicine Faculty as Writers, Green Gulch, CA, March 8-10,
                2010
 2011 - 2012    Presenter, The 21st Annual Writing for Medical Journals Workshop: A
                Workshop to Prepare Family Medicine Faculty as Writers, Green Gulch, CA,
                March 7-9, 2011; again March 12-14, 2012
 2014 - 2014    Invited Panelist, Faculty Development Workshop: "Active Approaches to
                Learning" at Samuel Merritt University, August 26th, 2014
 2016 - 2016    Invited Panelist, "The opiate misuse epidemic: What can we learn from it?" Full
                campus student organized event co-sponsored by FMIG, AMSA and other
                student groups
 2017 - 2018    UCSF Primary Care Addiction Medicine Fellowship; Affiliated Faculty
 2018 - 2019    Faculty Advisor: Harm reduction and addiction medicine student interest group
 2019 - 2020    Faculty Advisor: Harm Reduction and Addiction Medicine Elective

 PREDOCTORAL STUDENTS SUPERVISED OR MENTORED
     Dates         Name         Program or     Mentor Type            Role            Current
                                  School                                              Position

 2000 - 2012   Seth Holmes,    UCSF          Career Mentor   MD, PhD, RWJ Fellow   Assistant
               MD/PhD          Department                                          Professor,
               candidate       of                                                  School of
                               Anthropology,                                       Public Health,
                               History and                                         UCB;
                               Social                                              Assistant
                               Medicine                                            Professor in
                                                                                   Residence,
                                                                                   DAHSM,
                                                                                   UCSF

 2004 - 2005   Micaela        UCSF School Project Mentor     Resident; Family
               Godzich, MS-II of Medicine                    Medicine, UCSF,
                                                             Martinez

 2004 - 2005   Christina       UCSF School Mentor, career    Resident; Family
               Milano, MS-IV   of Medicine advising          Medicine




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     Dates          Name          Program or       Mentor Type             Role              Current
                                    School                                                   Position

 2004 - 2005   Ippy Kalofonos, UCSF          Project Mentor       MS-III; PhD Completed
               MD/PhD          Department
               Candidate       of
                               Anthropology,
                               History, and
                               Social
                               Medicine

 2004 - 2005   Ben Peacock, UCSF           Project Mentor         Graduated: PhD
               PhD Candidate Department
                             of
                             Anthropology,
                             History, and
                             Social
                             Medicine

 2004 - 2005   Brian Laing,      University of   Mentor (Health   Resident: UCSF Family
               MS-II             California,     Disparities      Medicine
                                 San             Curriculum
                                 Francisco       Development)

 2004 - 2005   Jennifer          UCSF School Preceptor,           Resident; UCD
               Singler, MS-III   of Medicine Clinician exam       Pediatrics
                                             skills (CPX)

 2004 - 2006   Zadok Sacks,      UCSF School Informal Mentor, Resident: Harvard
               MS-II             of Medicine student          Medicine/Pediatrics
                                             interested in
                                             medical
                                             Anthropology

 2004 - 2006   Shana Harris, UCSF          Co-                    PhD Candidate; Field    Faculty, U. of
               PhD Candidate Department Mentor/Clinical           Work in Argentina       Arizona
                             of            Mentor
                             Anthropology,
                             History, and
                             Social
                             Medicine

 2004 - 2012   Phillip Coffin,   UCSF School Project Mentor,      Student, Resident,      SFDPH,
               MS-IV             of Medicine Career Mentor        Fellow                  Director of
                                                                                          HIV
                                                                                          Prevention

 2004 - 2011   Nathan            UCSF School Mentor,              Matriculated
               Sackett, RN       of Nursing  premedical           UCB/UCSF Joint
                                             advising             Medical Program, Fall
                                                                  2010



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     Dates         Name         Program or       Mentor Type            Role            Current
                                  School                                                Position

 2005 - 2007   Alex Greninger, UCSF School Informal Mentor, MD, PhD Candidate
               MS-I            of Medicine career advising

 2006 - 2007   Brian           UCSF School Faculty Sponsor, Post-doc Fellow,
               Mohlenhoff,     of Medicine UCSF Student     UCSF/VA Dept. of
               MS-I                        Research         Psychiatry
                                           Summer
                                           Fellowship,
                                           Informal Mentor

 2006 - 2009   Heather         University of   Informal Mentor, UCSF School of
               Logghe          California,     Pre-Medical      Medicine, MS-IV
                               San             Advising
                               Francisco
                               School of
                               Medicine

 2006 - 2008   Reshma          UCSF School Informal career     Resident, Internal
               Gupta, MS-II    of Medicine advising            Medicine, U. of
                                                               Washington

 2007 - 2008   Paloma Sales    UCSF          Third Exam        PhD Candidate;
                               Department Committee            advanced to candidacy
                               of Social and Member
                               Behavioral
                               Sciences

 2007 - 2008   Robin Higashi   UC Berkeley Dissertation        PhD completed;
                               Department Committee            Research Associate,
                               of           Member             Border Health
                               Anthropology                    Foundation, Tucson, AZ

 2007 - 2010   Scott           UCSF          Preceptor,        Resident, Internal
               Stonington,     Department Informal Mentor,     Medicine, Brigham and
               MD/PhD          of            Career Advisor    Women's Hospital;
               candidate       Anthropology,                   Fellow, Global Health
                               History and                     and Social Medicine,
                               Social                          Harvard
                               Medicine

 2007 - 2010   Timoteo         UC Berkeley Orals Committee PhD Candidate
               Rodriguez       Department Member
                               of
                               Anthropology




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      Dates         Name        Program or       Mentor Type              Role              Current
                                  School                                                    Position

  2007 - 2009   Ari Hoffman    University of   Project Mentor   Student                   Faculty,
                               California,                                                Internal
                               San                                                        Medicine,
                               Francisco                                                  UCSF
                               School of
                               Medicine

  2008 - 2009   Emi Yoshida                    Pre-med informal Matriculated into Med
                                               advisor          school

  2009 - 2010   Serena Roth    University of Informal advisor; R2; Medicine
                               Pennsylvania research
                                             methods

  2010 - 2010   Paul Gilbert   UNC Chapel Project Mentor,       Doctoral Student,
                               Hill School of Co-               Kenan Fellow, NIH
                               Public Health Mentor/Clinical    National Research
                                              Mentor            Service Award recipient

  2010 - 2010   Jordan Cloyd   University of   Preceptor, FCM   Resident, Surgery,
                               California,     198              Stanford University
                               San
                               Francisco
                               School of
                               Medicine

  2011 - 2011   Vona Britz-    University of   Preceptor,       Resident, Family
                Diener         California,     Physiology 198   Medicine, UC Davis
                               San
                               Francisco
                               School of
                               Medicine

  2011 - 2012   Wendy Tseng    University of   Research/Schola Resident, IM, OHSU
                               California,     rly Mentor,
                               San             Project Mentor
                               Francisco
                               School of
                               Medicine

  2011 - 2012   Tina Yu        University of   Project Mentor   UCSF, MSIV
                               California,
                               San
                               Francisco
                               School of
                               Medicine




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      Dates          Name       Program or       Mentor Type             Role               Current
                                  School                                                    Position

  2011 - 2012   Jenny Cohen    University of   Research/Schola Resident, IM, UCSF         Faculty
                               California,     rly
                               San             Mentor,Career
                               Francisco       Mentor
                               School of
                               Medicine

  2011 - 2012   Edward Durant University of    Project Mentor   Stanford resident
                              California,
                              San
                              Francisco
                              School of
                              Medicine

  2011 - 2012   Tiffany Liu    University of   Project Mentor   Harvard resident
                               California,
                               San
                               Francisco
                               School of
                               Medicine

  2011 - 2012   Nadia Graber   University of                    UCSF, MS-3 MSTP
                               California,                      student in Medicine and
                               San                              Anthropology
                               Francisco
                               School of
                               Medicine

  2012 - 2013   Tanya          University of   Preceptor, Public UCSF/SFGH Family
                Lagrimas       California,     Health Elective Medicine Resident
                               San             (Epi 140.70)
                               Francisco
                               School of
                               Medicine

  2012 - 2013   Hugo Torres    University of   Preceptor,       UCSF, MSIV
                               California,     Medical Ed.
                               San             Elective (IDS
                               Francisco       114)
                               School of
                               Medicine




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      Dates         Name        Program or       Mentor Type              Role           Current
                                  School                                                 Position

  2012 - 2013   Cynthia So     University of   Preceptor,        Harvard resident
                               California,     International
                               San             Health Elective
                               Francisco
                               School of
                               Medicine

  2012 - 2013   Polina         University of   Informal mentor   UCSF, NSII
                Pulyanina      California,
                               San
                               Francisco
                               School of
                               Nursing

  2013 - 2014   Hannan Braun University of     Informal mentor   MD Candidate UCSF
                             California,                         School of Medicine,
                             San                                 Class of 2017
                             Francisco
                             School of
                             Medicine

  2013 - 2014   Hannah         University of   Informal mentor   MD Candidate UCSF
                Retallack      California,                       School of Medicine,
                               San                               Class of 2017
                               Francisco
                               School of
                               Medicine

  2014 - 2015   Dexter Louie   University of   Project           MD Candidate UCSF     Resident,
                               California,     Mentor,Co-        School of Medicine,   UCSF
                               San             Mentor/Clinical   Class of 2017
                               Francisco       Mentor
                               School of
                               Medicine

  2014 - 2015   Catherine      University of   Informal mentor   MD Candidate UCSF
                Burke          California,                       School of Medicine,
                               San                               Class of 2017
                               Francisco
                               School of
                               Medicine




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      Dates         Name         Program or        Mentor Type               Role                Current
                                   School                                                        Position

  2015 - 2016   Elizabeth       University of    Informal Mentor    MD Candidate UCSF
                Ginelli         California,                         School of Medicine,
                                San                                 Class of
                                Francisco                           2019Fellowship at
                                School of                           Auschwitz for the Study
                                Medicine                            Of Professional Ethics

  2015 - 2016   Allen Barnett   University of    Mentor, AME        MD Candidate UCSF
                                California,      curricular         School of Medicine,
                                San              innovations        Class of 2019
                                Francisco        project
                                School of
                                Medicine

  2015 - 2017   Nicolas Murphy University of     Research/Schola MD Candidate UCSF
                               California,       rly Mentor      School of Medicine,
                               San                               Class of 2019
                               Francisco
                               School of
                               Medicine

  2018 -        Jeff Ondocsin   University of    Research/Schola MPH candidate
                                Texas            rly Mentor

  2019          India Perez-    University of    Summer             MD Candidate, School
                Urbano          California,      curricular         of Medicine, 2022
                                San              innovations
                                Francisco        project
                                School of
                                Medicine

  2019          Cara            University of    Mentor: 4th year   MD Candidate, School
                Eberhardt       California,      Inquiry            of Medicine, 2020
                                San              immersion
                                Francisco        project
                                School of
                                Medicine

 FACULTY MENTORING
      Dates         Name        Position while        Mentor Type         Mentoring Role         Current
                                  Mentored                                                       Position

  2004 - 2005   Elizabeth       Assistant         Co-Mentor/Clinical                          Vice Chair,
                Wilson, MD,     Professor         Mentor                                      DFCM
                MPH




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      Dates         Name        Position while       Mentor Type       Mentoring Role      Current
                                  Mentored                                                 Position

  2005 - 2006   Niranjan        Resident,         Career Mentor                         Vice Chair for
                Karnik, MD,     Psychiatry,                                             Innovation |
                PhD             Stanford;                                               Department
                                Assistant                                               of Psychiatry,
                                Professor,                                              Rusk
                                UCSF                                                    University
                                                                                        Medical
                                                                                        Center,
                                                                                        Chicago, IL

  2007 - 2008   Ryan Brown,     Fellow, RWJ                                             Faculty,
                PhD             Health and                                              Northwestern
                                Society                                                 Univ.
                                Postdoctoral
                                Scholar

  2007 - 2011   Brad Shapiro,   Assistant         Career Mentor                         Professor,
                MD              Professor                                               DFCM;
                                                                                        Psychiatry,
                                                                                        UCSF

  2008 - 2017   George "Jay"    Postdoctoral      Research/Scholarly                    Associate
                Unick, PhD      Fellow,           Mentor, Project                       Professor,
                                Psychiatry        Mentor, Career                        University of
                                                  Mentor                                Maryland
                                                                                        Medical
                                                                                        Center

  2009 - 2017   Daniel          Assistant         Research/Scholarly                    Associate
                Rosenblum       Professor         Mentor                                Professor,
                                                                                        Dalhousie
                                                                                        University,
                                                                                        Quebec

  2011 - 2012   Jennifer        Assistant         Co-Mentor/Clinical                    Associate
                Hettema, PhD    Professor         Mentor                                Professor,
                                                                                        University of
                                                                                        New Mexico

  2011 - 2012   Shira Shavit    Assistant         Co-Mentor/Clinical                    Associate
                                Professor         Mentor                                Professor

  2012 - 2013   Dipesh R        Assistant         Career Mentor                         Assistant
                Bhakta, MD      Clinical                                                Clinical
                                Professor                                               Professor,
                                                                                        Family and
                                                                                        Community
                                                                                        Medicine



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      Dates          Name        Position while       Mentor Type       Mentoring Role      Current
                                   Mentored                                                 Position

  2014 - 2014   Heather Lee      Assistant         K-award mentor                        Assistant
                                 Professor                                               Professor,
                                                                                         Family
                                                                                         Medicine,
                                                                                         Rutgers Univ.

  2014 - 2014   Gaetan           Asst. Professor Career Mentor                           Assistant
                Haberkoss                                                                Clinical
                                                                                         Professor,
                                                                                         Family and
                                                                                         Community
                                                                                         Medicine

  2015 - present Sarah Mars      Analyst IV        Research/Scholarly                    Associate
                                                   Mentor, Project                       Professional
                                                   Mentor, Career                        Researcher,
                                                   Mentor                                Step 1

  2015 - present Magdalena       Lecturer          Research/Scholarly                    Associate
                 Harris                            Mentor, Career                        Professor,
                                                   Mentor                                London
                                                                                         School of
                                                                                         Hygiene and
                                                                                         Tropical
                                                                                         Medicine




  2016 - 2018   Jon E. Zibbell   CDC               Research/Scholarly                    Faculty
                                 researcher        Mentor, Career                        Center for the
                                                   Mentor                                Study of
                                                                                         Human
                                                                                         Health Emory
                                                                                         University

  2017 - 2017   Aileen           Physician's       Co-Mentor/Clinical                    Applicant;
                Kuscera,         Assistant at      Mentor                                doctoral
                                 One Medical                                             programs in
                                 Group                                                   clinical
                                                                                         psychology




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      Dates          Name       Position while       Mentor Type       Mentoring Role     Current
                                  Mentored                                                Position

  2017 - present Annick         Postdoctoral      Research/Scholarly                    Recipient,
                 Borquez;       researcher;       Mentor                                NIH/NIDA
                                division of                                             Avenir Award
                                Global Public                                           for Research
                                Health UCSD                                             on Substance
                                                                                        Abuse and
                                                                                        HIV/AIDS

  2018 - 2019   Larissa Maier   Post-doctoral     Career mentoring
                                researcher,
                                UCSF

  2018 -        Will Brown      Post-doc,         Research/                             Applicant,
                                Center for        Scholarly Mentor                      NIH/NIH K
                                AIDS                                                    Award
                                Prevention,
                                UCSF

  2019 -        Christine       UCSF         Research/ Scholarly                        Post-doc
                Anastasiou,     Rheumatology Mentor                                     UCSF
                MD              Fellow



 RESEARCH AND CREATIVE ACTIVITIES
 RESEARCH AND CREATIVE ACTIVITIES SUMMARY
 I have been Principal Investigator or Co-Investigator on numerous NIH sponsored research
 projects in the areas of public health and HIV/AIDS prevention. These population-based
 studies, utilizing both quantitative and qualitative methodologies, aim to deepen our
 understanding of HIV and related disease and risk-taking among socially marginalized groups,
 e.g., injection drug users. My work, including collaborations, has been published in New
 England Journal of Medicine, JAMA, Addiction, PLoS Medicine, International Journal of Drug
 Policy, Drug and Alcohol Dependency, American Journal of Public Health and other peer-
 reviewed journals.

 With researchers at RAND, I have contributed to secondary analyses of the HIV Costs and
 Service Utilization Study (HCSUS) looking at disclosure of HIV status to sexual partners in a
 national sample of HIV seropositive persons. I was lead author on the first manuscript to come
 out of these analyses, published in the American Journal of Public Health. This paper is among
 the most cited of my work and received a sizable amount of national media attention including
 recently in the NYT (2012).

 I have collaborated with Dr. Barbara Gerbert's team on their innovative "video doctor"
 computer-based intervention to reduce risk-taking among HIV-positive clinic patients. Results
 of the randomized controlled trial of this intervention are published in PLoS One. I am proud of
 my co-author and Co-Investigator contribution as the substance-use risk-reduction expert:
 among the most significant findings in this RCT is a reduction of overall drug use and



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 specifically, methamphetamine use. This intervention has been listed by the Centers for
 Disease Control and Prevention as a "Best Evidence" HIV prevention program.

 My contributions to the public health understanding of heroin use and consequences:
 Collaborating with Dr. Philippe Bourgois, internationally renowned urban anthropologist, we
 developed an interdisciplinary research platform combining quantitative and qualitative
 techniques to explore structural risk and risk taking among injection drug users. Dr. Bourgois
 and I discovered that different physical and chemical types of heroin are prevalent in different
 regions of the US and that the behaviors associated with a certain type of heroin may have
 slowed the diffusion of HIV among IDUs. This working thesis has generated intrigue and
 controversy since its publication in 2003 (Significant Publications #1 below; role: first
 author). My K-23 grant (NIDA) enabled me to look more broadly at the medical consequences
 of differential heroin use. A commentary I wrote in 2005 on the political economy of global
 heroin was accepted for publication in the International Journal of Drug Policy (IJDP) as a lead
 editorial (#2 below; role: first author).

 My recent Heroin Price, Purity and Outcomes study explored the medical consequences of
 distribution and use of the two main source-forms of heroin in the U.S. (Mexican-sourced
 “black tar” heroin and Colombian-sourced powder heroin). Foundational papers on the entry of
 novel Colombian-sourced heroin and its public health implications are in IJDP. (#3 & 4; role:
 first author) Recent publications stemming from this funding include a national
 epidemiological model demonstrating the rise in injection related soft tissue infections and their
 correlation with black tar heroin availability (#5; first author); and a detailed qualitative paper
 on users’ perceptions of tar vs powder heroin (#6; senior author).

 Doing street-based ethnographic research has an advantage of real time authentic
 observation. Fieldwork I did during 2011-12 in inner-city Philadelphia led to a big-shift in the
 focus of my teams’ work. We documented the early rise of the US heroin epidemic and the
 influx of users migrating from opioid pill dependency to heroin. Our first papers on this received
 national attention all the way to the White House. These include a national statistical model on
 the intertwining epidemics of prescription opioid- and heroin-related overdose (#7; senior-
 author); this paper, led by Dr. Jay Unick, has been cited 110 times and the language of
 “intertwined epidemics” used by many leaders including Michael Botticelli, former Director,
 ONDCP. Its Altmetric score of 433 puts it in the top 1 percentile of all research outputs
 measured. “’Every never I ever said came true’” is a qualitative exploration of opioid-pill to
 heroin transition stories (#8; senior author); this paper, led by Dr. Sarah Mars has received
 several accolades: cited 144 times, it is the most cited paper at the International Journal of
 Drug Policy since 2011; a “highly cited paper” according to Science Direct, it has received
 enough citations to place it in the top 1% of the academic field of Pharmacology & Toxicology;
 its Altmetric score of 29 puts it in the top 5th percentile of all research outputs.

 I am currently leading the Heroin in Transition (HIT) study a five-year project with integrated
 multidisciplinary – ethnographic, economic and statistical modeling – aims to examine the
 recent rise in US heroin use and the expanding diversity of heroin source-forms and illicitly-
 made synthetic opioids (e.g. fentanyls) and their relationship to sharp increases in illicit opioid-
 involved morbidity and mortality. During the peer-review process for vetting this RO1 grant
 application we received a perfect score of “10;” an exceedingly rare occurrence in the
 competitive NIH funding world. Early publications include two IJDP commentaries: one on the
 role of heroin solution acidity as a proximal risk factor for disease (#9; first author); and a
 methodology commentary on how ethnographic contextualization of marginalized populations
 and “risk environments” can improve public health inferences (#10; first author). In 2017 I


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 served as Guest Editor for a Special Issue of IJDP: “Heroin in Transition; Supply Changes,
 Fentanyl Adulteration and Consequences”; exploring the heroin adulteration crisis in the US;
 this issue contained ten original research papers, including two from the HIT study; and my
 editorial (# 11, 12; first author). The HIT papers and editorial have attached serious media
 attention (see below) and Altmetric scores placing them in the top 3%ile of all research outputs
 measured.

 My work in understanding heroin use and consequences has garnered intense national
 attention. In 2015 I had a meeting at The Office of National Drug Control Policy (ONDCP) and
 in 2016 began serving as an expert consultant at the behest of the Centers for Disease Control
 and Prevention, Injury Prevention Branch. I was nominated to the Scientific Advisory Board for
 the latter by the HHS Secretary (pending). In 2016 I also shared a live webinar stage, with an
 international audience (~850) with Dr. Wilson Compton, Deputy Director at the National
 Institute on Drug Abuse; we discussed the evolving US heroin epidemic. In late 2016 I was
 invited to speak at the National Academies of Science and Medicine by a committee convened
 to work on advancing policies on addressing chronic pain management. In 2017 I have spoken
 on Capitol Hill to staff and representatives from the Neuroscience Caucus; thrice to forums run
 by the Association for the Advancement of Science; at the 10th annual National Opioid and
 Heroin Summit; and the Heroin Response Strategy Symposium organized by the CDC and
 ONDCP. In 2018 I testified before the Committee on Foreign Affairs, Subcommittee on Africa,
 Global Health, Global Human Rights, and International Organizations, United Sates House of
 Representatives at a hearing on “tackling fentanyl”.

 National media mentions for the HIT project (2017-18 alone) include (among 82 total): New
 York Times; 5 articles, three front page, one initiated by me and one co-constructed; New
 Yorker; 2 articles; Science (American Association for the Advancement of Science); 2 articles;
 Nature; Chicago Tribune; 2 articles; Mother Jones; 2 articles; Nature; Washington Post 2
 articles; Glamour magazine; ABC Nightline (online); Bloomberg; San Francisco Magazine; Los
 Angeles Times; UCSF media as well as numerous radio and TV spots.

 According to Mendeley (as of 8.3.20), the total body of my work has been cited 3216 times with
 an h-index of 29 (i.e., number of papers with that number of citations), 3998 readers and 64k
 views. My work has an international reputation as evidenced by the citation indices, my service
 to journals (five NEJM reviews), an Associate Editor position at IJDP, international
 presentations and invitations to participate in heroin related research in Europe and South
 America. My national reputation is evidenced by calls to service at the CDC, FDA, National
 Academies of Science and Medicine, and the American Association for the Advancement of
 Science as well as testimony to the US Congress.

 RESEARCH AWARDS - CURRENT
 1. RO1 DA037820               Principal Investigator                          Ciccarone (PI)
    NIH / NIDA                                            02/01/2015          01/31/2021
    Heroin in Transition (HIT) Study                      $ 500,000 direct/yr $ 2.5M total
                                                          1
    2. Supplement to above award                          2/01/2019           01/31/2021
    NIH / NIDA                                            $100,000 direct




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 RESEARCH AWARDS - PAST
 1. RO1 DA27599                Principal Investigator                         Ciccarone (PI)
    NIH / NIDA and NIAID                                   02/01/2010          01/31/2016
    Heroin Price and Purity Outcomes Study (HPPOS)         $ 250,000 direct/yr $ 1,250,000 total
                                                           1



  2. R01DA10164                Co-Investigator             15 % effort         Bourgois (PI)
     NIH / NIDA                                            1996                2015
     The Logics for HIV Risk Among Homeless Heroin         $ 250,000 direct/yr
     Addicts                                               1
     Multiple competing renewals total


  3. K23-DA16165             Principal Investigator                           Ciccarone (PI)
     NIH / NIDA                                            2004               2010
     The Medical Consequences of Different Types of                           $ 832,000 total
     Heroin



  4. 2001 – 2002              Co-Investigator                                  Lum (PI)
     SAMHSA                                                2008                2013
     SBIRT Medical Residency Program at SFGH               $ 375,000 direct/yr $ 1,875,000 total
                                                           1



  5.                             Principal Investigator                       Ciccarone (PI)
       American Heart Association                          2011               2011
       Summer Student Project Grant                                           $ 7,700 total



  6. RO1                          Co-Investigator                             Gerbert (PI)
     2004 – 2010                                           2003               2008
       Positive Choice: Clinic-based Prevention with HIV
       Positive Persons



  7. PA-96-010                Project Director                                Edlin (PI)
     $7,700 total                                          1998               2000
     Medical and Health Consequences of Drug Abuse



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    I worked on this project as part of my post-doctoral fellowship


 PEER REVIEWED PUBLICATIONS
  1. Lurie P, Lowe RA, Avins AL, Phillips KA, Kahn JG, Franks PE, Ciccarone DH.
     Undiagnosed HIV infection in acute care hospitals. N Engl J Med. 1992 Dec 17;
     327(25):1815-6. PMID: 1435939
  2. Phillips KA, Lowe RA, Kahn JG, Lurie P, Avins AL, Ciccarone D. The cost-effectiveness of
     HIV testing of physicians and dentists in the United States. JAMA. 1994 Mar 16;
     271(11):851-8. PMID: 8114240
  3. Lurie P, Avins AL, Phillips KA, Kahn JG, Lowe RA, Ciccarone D. The cost-effectiveness of
     voluntary counseling and testing of hospital inpatients for HIV infection. JAMA. 1994 Dec
     21; 272(23):1832-8. PMID: 7990217
  4. Ciccarone D, Bamberger J, Kral A, Hobart CJ, Moon A, Edlin BR, Harris HW, Young DM,
     Bourgois P, Murphy EL. Soft Tissue Infections Among Injection Drug Users - San
     Francisco, California, 1996-2000. JAMA. 2001; 285(21):2707-2709. [Reprinted from
     MMWR]
  5. Bangsberg DR, Hecht FM, Clague H, Charlebois ED, Ciccarone D, Chesney M, Moss A.
     Provider assessment of adherence to HIV antiretroviral therapy. J Acquir Immune Defic
     Syndr. 2001 Apr 15; 26(5):435-42. PMID: 11391162
  6. Ciccarone D, Bamberger J, Kral A, Hobart CJ, Moon A, Edlin BR, Harris HW, Young DM,
     Bourgois P, Murphy EL.. Soft Tissue Infections among Injection Drug Users - San
     Francisco, California, 1996-2000. JAMA. 2001; 285(21):2707-2709.
  7. Murphy EL, DeVita D, Liu H, Vittinghoff E, Leung P, Ciccarone DH, Edlin BR. Risk factors
     for skin and soft-tissue abscesses among injection drug users: a case-control study. Clin
     Infect Dis. 2001 Jul 1; 33(1):35-40. PMID: 11389492
  8. Edlin BR, Seal KH, Lorvick J, Kral AH, Ciccarone DH, Moore LD, Lo B. Is it justifiable to
     withhold treatment for hepatitis C from illicit-drug users? N Engl J Med. 2001 Jul 19;
     345(3):211-5. PMID: 11463019
  9. Ciccarone D. With Both Eyes Open: Notes on a Disciplinary Dialogue between
     Ethnographic and Epidemiological Research among Injection Drug Users. Int J Drug
     Policy. 2003; 14(1):115-8.
 10. Ciccarone DH, Kanouse DE, Collins RL, Miu A, Chen JL, Morton SC, Stall R. Sex without
     disclosure of positive HIV serostatus in a US probability sample of persons receiving
     medical care for HIV infection. Am J Public Health. 2003 Jun; 93(6):949-54. PMID:
     12773361
 11. Seal KH, Downing M, Kral AH, Singleton-Banks S, Hammond JP, Lorvick J, Ciccarone D,
     Edlin BR. Attitudes about prescribing take-home naloxone to injection drug users for the
     management of heroin overdose: a survey of street-recruited injectors in the San Francisco
     Bay Area. J Urban Health. 2003 Jun; 80(2):291-301. PMID: 12791805
 12. Ciccarone D, Bourgois P. Explaining the geographical variation of HIV among injection
     drug users in the United States. Subst Use Misuse. 2003 Dec; 38(14):2049-63. PMID:
     14677781


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 13. Charlebois ED, Perdreau-Remington F, Kreiswirth B, Bangsberg DR, Ciccarone D, Diep
     BA, Ng VL, Chansky K, Edlin BR, Edlin B, Chambers HF. Origins of community strains of
     methicillin-resistant Staphylococcus aureus. Clin Infect Dis. 2004 Jul 1; 39(1):47-54. PMID:
     15206052
 14. Ciccarone D, Coffin P, Preer G. Integrating HIV risk reduction into the medical curriculum.
     Med Educ. 2004 Nov; 38(11):1197-8. PMID: 15507033
 15. Schackman BR, Finkelstein R, Neukermans CP, Lewis L, Eldred L, Ciccarone D et al.. The
     cost of HIV medication adherence support interventions: Results of a cross-site evaluation.
     AIDS Care. 2005; 17(8):927-37.
 16. Ciccarone D. The Political Economy of Heroin: Regional Markets, Practices and
     Consequences. Int J Drug Policy. 2005; 16(5):289-90.
 17. Kral AH, Lorvick J, Ciccarone D, Wenger L, Gee L, Martinez A, Edlin BR. HIV prevalence
     and risk behaviors among men who have sex with men and inject drugs in San Francisco.
     J Urban Health. 2005 Mar; 82(1 Suppl 1):i43-50. PMID: 15738321
 18. Seal KH, Thawley R, Gee L, Bamberger J, Kral AH, Ciccarone D, Downing M, Edlin BR.
     Naloxone distribution and cardiopulmonary resuscitation training for injection drug users to
     prevent heroin overdose death: a pilot intervention study. J Urban Health. 2005 Jun;
     82(2):303-11. PMID: 15872192
 19. Gerbert B, Danley DW, Herzig K, Clanon K, Ciccarone D, Gilbert P, Allerton M. Reframing
     "Prevention with Positives": Incorporating Counseling Techniques that Improve the Health
     of HIV-Positive Patients. AIDS Patient Care STDS, Jan/2006;20(1):19-29. PMID: 16426152
 20. Duru OK, Collins RL, Ciccarone DH, Morton SC, Stall R, Beckman R, Miu A, Kanouse DE.
     Correlates of sex without serostatus disclosure among a national probability sample of HIV
     patients. AIDS Behav. 2006 Sep; 10(5):495-507. PMID: 16779659
 21. Mannheimer SB, Mukherjee R, Hirschhorn LR, Dougherty J, Celano SA, Ciccarone D,
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  25. Finkelstein R, Mantell J, Cassidy T, Ciccarone D, et al "Impact of September 11th Events
      and Their Aftermath among People with HIV/AIDS on Antiretroviral Therapy." 130th
      Annual Meeting of the American Public Health Association, Philadelphia, Pennsylvania,
      November 9-13, 2002.
  26. Mantell J, Cassidy T, Finkelstein R, Ciccarone D, et al "Disclosure of HIV Status and
      Antiretroviral Therapy: Barriers to Medication Initiation and Adherence?" National Minority
      AIDS Conference, 2002(Postponed due to 9/11).
  27. Seal KH, Edlin BR, Thawley R, Hammond JP, Downing M, Bamberger J, Ciccarone D
      "Providing Naloxone to IDUs Can Save Lives." Fourth National Harm Reduction
      Conference, Seattle, Washington, December 1-4, 2002.
  28. Wenger LD, Ciccarone DH, Riess TH, Edlin BR "Facilitators and Barriers of HIV
      Medication Adherence: Perspectives of Clients and Providers." Elements of Success: An
      International Conference on Adherence to Antiretroviral Therapy, Dallas, Texas,
      December 5-8, 2002.
  29. Ciccarone D "Soft Tissue Infections among Injection Drug Users: Community Strategies
      for Treatment and Prevention." Demand Treatment! Partners Institute, National Meeting,
      San Francisco, California, April 2-5, 2003.
  30. Mannheimer S, Mantell J, Mukherjee R, Ciccarone D, et al "Successful Interventions for
      Antiretroviral Adherence." 41st Annual Meeting of the Infectious Diseases Society of
      America (IDSA), San Diego, California, October 9-12, 2003.
  31. Ciccarone, D "Culture and Infection: Understanding Risk-taking Among Heroin Users in
      San Francisco." California Society of Addiction Medicine Annual Meeting, San Francisco,
      California, October 8-11, 2003.
  32. Finkelstein R, Mantell J, Eldred L, Mukherjee R, Ciccarone D, et al "Effectiveness of
      Different Adherence Support Program Models in Helping Clients Adhere to HAART." 131st
      Annual Meeting of the American Public Health Association, San Francisco, California,
      November 15-19, 2003.
  33. Seal KH, Thawley R, Hammond JP, Downing M, Bamberger J, Ciccarone D, Kral AH,
      Edlin BR "Providing Naloxone to Heroine Injectors Can Save Lives." 131st Annual Meeting
      of the American Public Health Association, San Francisco, California, November 15-19,
      2003.
  34. Satterfield J, Ciccarone D, Muller J "Group on Education Affairs / Group on Student Affairs
      Mini-Workshop: Educational Strategies to Address Health Disparities." 114th Association
      of American Medical Colleges Annual Meeting, Washington, D.C., November 7 - 12, 2003.


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  35. Ciccarone D (Session Chair), Bourgois P "Heroin in Black and White: Explaining the
      Unequal Diffusion of HIV among Injection Drug Users in the United States." Annual
      Meeting of the American Anthropological Association, Chicago, Illinois, November 2003.
  36. Kral AH, Seal KH, Thawley R, Hammond JP, Gee L, Bamberger J, Ciccarone D, Edlin BR
      "Providing Naloxone and Training to IDUs Can Save Lives." The Central Point
      Conference, California Department of Health Services, AIDS Office, Sacramento,
      California, February 2004.
  37. Ciccarone D "Explaining the Geographical Variation of HIV among Injection Drug Users in
      the United States." Practice Improvement Collaborative, Community Behavioral Health
      Services, San Francisco Department of Public Health, San Francisco, California, March 1,
      2004.
  38. Kral AH, Lorvick L, Ciccarone D, Wenger L, Gee L, Martinez A, Edlin B "HIV Prevalence
      and Risk Behaviors Among Men Who Have Sex With Men and Inject Drugs." New
      dynamics of HIV risk among drug-using men who have sex with men: Working meeting,
      National Institutes of Drug Abuse, National Institutes of Health, Bethesda, Maryland,
      March 2, 2004.
  39. Ciccarone D, Coffin P, Preer G "The Integration of HIV Risk Reduction Education into the
      Inflammation, Infection and Immunity Block of the Undergraduate Medical Curriculum."
      Working Group on Educational Affairs / Working Group on Student Affairs Regional AAMC
      Conference: "The Reflective Practitioner," Asilomar Conference Center, Pacific Grove,
      California, April 25-28, 2004.
  40. Ciccarone D, Coffin P, Preer G "The Integration of HIV Risk Reduction Education into the
      Inflammation, Infection and Immunity Block of the Undergraduate Medical Curriculum."
      UCSF Medical Education Day, San Francisco, California, April 19, 2004.
  41. Kral AH, Lorvick J, Ciccarone D, Wenger L, Gee L, Martinez A, Edlin BR "HIV Prevalence
      and Risk Behaviors among Men Who Have Sex With Men and Inject Drugs." XVth
      International AIDS Conference, Bangkok, Thailand, July 2004.
  42. Ciccarone D, McMahan B, Bourgois P "Black Tar Heroin Use Explains Lower HIV
      Prevalence among Injection Drug Users in the Western United States." XVth International
      AIDS Conference, Bangkok, Thailand, July 2004.
  43. Bourgois P, Ciccarone D, McMahan B "Water Works? Implications for Low Threshold HIV
      Prevention (Keynote Presentation)." National Centre in HIV Social Research, Annual
      Conference, Sydney, Australia, September 30, 2004.
  44. Ciccarone D "Understanding the Effects of Substance Abuse (Oral Presentation)."
      Understanding and Interviewing Around Mental Illness and Substance Abuse, Habeas
      Corpus Resource Center, San Francisco, California, October 18, 2004.
  45. Ciccarone D, Coffin P, Preer G "The Integration of HIV Risk Reduction Education Into the
      Inflammation, Infection and Immunity Block of the Undergraduate Medical Curriculum
      (Oral Presentation)." Caring for the Community: A Department of Family and Community
      Medicine Colloquium, UCSF, October 29, 2004.
  46. Ciccarone D, Bourgois P "Heroin in Black and White: Explaining Lower HIV Prevalence
      Among Injection Drug Users in the United States (Poster Presentation)." Caring for the
      Community: A Department of Family and Community Medicine Colloquium, UCSF,
      October 29, 2004.



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  47. Gilbert P, Gerbert B, Ciccarone D, Danley D, Herzig K "Positive Choice: A Multimedia
      Computer Program to Screen for and Intervene on Risky Behaviors of HIV-Positive
      Patients." 132nd Annual Meeting of the American Public Health Association, Washington,
      D.C., November 6-10, 2004.
  48. Ciccarone D "Improving Care for Persons with Soft Tissue Infections (Panel
      Presentation)." Doctor Involvement in the Grassroots Development of Harm Reduction,
      Fifth Annual Harm Reduction Conference, New Orleans, Louisiana, November 11-14,
      2004.
  49. Kral A, Lorvick J, Gee L, Ciccarone D "Speed in The City: Not Just a Gay Thing." Doctor
      Involvement in the Grassroots Development of Harm Reduction, Fifth Annual Harm
      Reduction Conference, New Orleans, Louisiana, November 11-14, 2004.
  50. Ciccarone D "Heroin in Black and White: Uses and Consequences of Different Types of
      Heroin." Doctor Involvement in the Grassroots Development of Harm Reduction, Fifth
      Annual Harm Reduction Conference, New Orleans, Louisiana, November 11-14, 2004.
  51. Ciccarone D, Coffin P, Preer G "Integration of HIV Risk Reduction Education into the
      Inflammation, Infection and Immunity Block of Undergraduate Medical Education." Doctor
      Involvement in the Grassroots Development of Harm Reduction, Fifth Annual Harm
      Reduction Conference, New Orleans, Louisiana, November 11-14, 2004.
  52. Ciccarone D "Paradoxics in the War on Drugs (Panel Presentation - Rethinking the War
      on Drugs: Insights from Anthropology for Reformulating Public Policy)." Annual Meeting of
      the American Anthropological Association, San Francisco, California, November 17-21,
      2004 (Abstract accepted; conference postponed).
  53. Ciccarone D "Caring for the Underserved during Your Medical Education...and Beyond
      (Panel Presentation)." Family Medicine Interest Group: "FMIG Celebrates Primary Care!"
      December 2, 2004.
  54. Muller JH, Hill-Sakurai L, Ciccarone D, Satterfield JM "Developing a Curricular Theme in
      Sociocultural and Behavioral Sciences: The Experience of One Medical School." 31st
      Annual Predoctoral Education Conference, Society for Teachers of Family Medicine,
      Albuquerque, New Mexico, January 27-30, 2005.
  55. Ciccarone D, Jain S, Bourgois P "Understanding the Complexities of Illicit Substance Use
      in the 'Real World': A 4th-year Medical Student Elective." Second Department of Family
      and Community Medicine Colloquium, UCSF, San Francisco, California, October, 6, 2005.
  56. Ciccarone D "Understanding HIV-related Risk and Risk Taking among Injection Drug
      Users." UCSF Student AIDS Forum, San Francisco, California, October 8, 2005.
  57. Danley D, Gilbert P, Ciccarone D, Bangsberg D, Clanon K, Thakar D, Viloria JA, Khan A,
      McPhee SJ, Herzig K, Gerbert B "Results of a Behavioral Risk Assessment Designed to
      Facilitate Patient-Centered and Transmission Prevention Counseling in HIV Care
      Settings." Bay Area Clinical Research Symposium, San Francisco, California, October 14,
      2005.
  58. Ciccarone D, Bourgois P "'Water Works:' Anthropological Perspectives on HIV Prevention
      among Homeless Heroin Addicts." Medicine Grand Rounds, San Francisco General
      Hospital, San Francisco, California, November 1, 2005.
  59. Mannheimer S, Botsko M, Hirschhorn L, Dougherty J, Ciccarone D, et al "The CASE
      Adherence Index: A Novel Method for Measuring Adherence to Antiretroviral Therapy."


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     2006 National Institutes of Mental Health / International Association Physicians for AIDS
     Care International Conference on HIV Treatment Adherence, Jersey City, New Jersey,
     March 8-10, 2006.
  60. Ciccarone D "The Political Economy of Heroin: Regional Markets, Practices and
      Consequences (Panel Presentation - Beyond the Edge of the Law: Studying the Illicit Drug
      Trade)." Society for Applied Anthropology Annual Meeting, Vancouver, British Colombia,
      Canada, March 28-April 2, 2006.
  61. Danley D, Gilbert P, Ciccarone D, Thakar D, Herzig K, Gerbert B "Augmenting Providers'
      Detection of Unprotected Sex and Other Risky Behaviors with a Multimedia Risk
      Assessment." Society of General Internal Medicine 29th Annual Meeting, Los Angeles,
      California, April 26-29, 2006.
  62. Ciccarone D "Heroin in Brown, Black and White: Structural Factors and Medical
      Consequences." National Development and Research Institutes, June 14, 2006.
  63. Danley D, Gilbert P, Gansky S, Ciccarone D, Bangsberg D, Gerbert B "Illicit Drug Use is
      Reduced Following a Video Doctor Intervention Designed for HIV Care Settings: A
      Randomized Controlled Trial." XVI International AIDS Conference, Toronto, Canada,
      August 13-18, 2006.
  64. Gilbert P, Danley D, Herzig K, Thakar D, Ciccarone D, Gansky S, Gerbert B "Assessing
      Disclosure of Risky Behaviors in a 'Prevention with Positives' Intervention." 134th Annual
      Meeting of the American Public Health Association, Boston, Massachusetts, November 4-
      8, 2006.
  65. Ciccarone D "Dope at Discount: Heroin Price and Purity in the United States." 6th National
      Harm Reduction Conference, Oakland, California, November 8-12, 2006.
  66. Ciccarone D, Kraus A "Dope at Discount: Heroin Price and Purity in the U.S." Disability
      Evaluation and Consultation Unit, City and County of San Francisco Human Services
      Agency, San Francisco, California, December 20, 2006.
  67. Ciccarone D, Gilbert P, Gansky S, Calderon S, Gerbert B "A Randomized, Interactive
      'Video-Doctor' Intervention Reduces Substance Use, Including Methamphetamine, Among
      HIV Positive Persons in Care." 2nd National Conference on Methamphetamine, HIV, and
      Hepatitis: Science & Response 2007, Salt Lake City, Utah, February 1-3, 2007.
  68. Ciccarone D, Kraus A, Unick GJ "Dope at Discount: Public Health Consequences of
      Historically Low-Cost and Pure Heroin in the United States, 1990-2004." 135th Annual
      Meeting of the American Public Health Association, Washington, D.C., November 3-7,
      2007.
  69. Gilbert P, Ciccarone D, Gansky S, Calderon S, Gerbert B "A Randomized, Interactive
      'Video-Doctor' Intervention Reduces Substance Use, Including Methamphetamine, Among
      HIV Positive Persons in Care." 135th Annual Meeting of the American Public Health
      Association, Washington, D.C., November 3-7, 2007.
  70. Mohlenhoff B, Ciccarone D, Bourgois P "Memory and Madness: Perceptions of a Unique
      Culture-Bound Disorder Involving Altered Mental States." UCSF Medical Education Day,
      San Francisco, California, January 10, 2007.
  71. Mohlenhoff B, Ciccarone D, Bourgois P "Memory and Madness: Perceptions of an Unique
      Culture-Bound Disorder Involving Altered Mental States." Innovations in Family Medicine:



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     Research, Education, Community, Clinical Care, UCSF, San Francisco, California, May
     10, 2007.
  72. Ciccarone D, Gilbert P, Gansky S, Calderon S, Gerbert B "A Randomized, Interactive
      'Video-Doctor' Intervention Reduces Substance Use, Including Methamphetamine, Among
      HIV Positive Persons in Care." Innovations in Family Medicine: Research, Education,
      Community, Clinical Care, UCSF, San Francisco, California, May 10, 2007.
  73. Ciccarone D, Gilbert P, Gansky S, Calderon S, Gerbert B, "A Randomized, Interactive
      'Video Doctor' Intervention Reduces Substance Use, Including Methamphetamine, Among
      HIV Positive Persons in Care." 2nd National Conference on Methamphetamine, HIV and
      Hepatitis: Science & Response 2007, Salt Lake City, Utah, February 1-3 2007.
  74. Ciccarone D, Kraus, Unick GJ "Dope at Discount: Public Health Consequences of
      Historically Low-Cost and Pure Heroin in the United States, 1990-2004." 135th Annual
      Meeting of the American Public Health Association, Washington, D.C., November 3-7,
      2007.
  75. Gilbert P, Ciccarone D, Gansky S, Calderon S, Gerbert B "A Randomized, Interactive
      'Video Doctor' Intervention Reduces Substance Use, Including Methamphetamine, Among
      HIV Positive Persons in Care." 135th Meeting of the Annual American Public Health
      Association, Washington, D.C., November 3-7, 2007.
  76. Ciccarone D, Bourgois P, Jain S "Understanding Substance Use in the 'Real World:' A 4th
      Year Medical Student Elective." Society for Teachers of Family Medicine 34th Annual
      Predoctoral Education Conference, Portland, OR, January 24-27, 2008.
  77. Utley B, Hoffman A, Ciccarone D "Spontaneous Teamwork: Using Improv to Improve
      Communication." Working Group on Educational Affairs/Working Group on Student Affairs
      Regional AAMC Conference, Asilomar Conference Center, Pacific Grove, California, April
      27-30. 2008.
  78. Ciccarone D, Gilbert P, Gerbert B "Clinic-based "Video Doctor" Intervention Reduces
      Methamphetamine Use among HIV Positive Patients." 1st Global Conference on
      Methamphetamine, Prague, Czech Republic, Sept. 15-16, 2008. [Abstract accepted, but
      presentation withdrawn due to travel constraints]
  79. Ciccarone D, "Heroin in Brown, Black and White: Geographic Risk Environments in the
      US Heroin Market." Invited to speak at a Major Session, Risk Environments and Drug
      Harms, at Harm Reduction and Human Rights - International Harm Reduction
      Association's 20th International Conference, Bangkok, Thailand, April 19-23, 2009.
  80. Lum P, Ratanawongsa N, Jain S, Shapiro B, Ciccarone D, Hersh D, Hettema J. "A SBIRT
      Medical Residency Program at San Francisco General Hospital." SBIRT Grantee
      Conference 2009, Bethesda, MD, November 3-4, 2009.
  81. Ciccarone D, Ratanawongsa N, Hettema J, Lum P. "Engaging Medical Students and
      Residents in Multidisciplinary Substance Use Disorders Curricula." Workshop, with three
      presentations, organized and presented at the American Society of Addiction Medicine,
      41st Annual Medical Scientific Conference, San Francisco, CA, April 15-18, 2010.
  82. Chen HC, Muller J, Azzam A, Ciccarone D, Chang A, Chou C, "Integrated Exercises:
      Practicing Clinical Skills, Clinical Reasoning, and the Application of Basic Science
      Knowledge in Standardized Patient Encounters." AAMC Western Group on Educational




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      Affairs (WGEA) 2010 Annual Conference, Asilomar Conference Center, Pacific Grove,
      CA, April 25-27, 2010.
  83. Chen HC, Muller J, Azzam A, Ciccarone D, Chang A, Chou C, "Integrated Exercises:
      Practicing Clinical Skills, Clinical Reasoning, and the Application of Basic Science
      Knowledge in Standardized Patient Encounters." UCSF Academy of Medical Educators,
      Education Day 2010, UCSF, San Francisco, CA, April 12, 2010.
  84. Hettema JE, Ciccarone D, Ratanawongsa N, Jain S, Shapiro B, Hersh D, Rios LD, Lum
      PJ, "The Role of Confidence, Perceived Responsibility, and Perceived Barriers in the
      Development of a Novel Substance Use Curriculum for Medical Residents." AAMC
      Western Group on Educational Affairs (WGEA) 2010 Annual Conference, Asilomar
      Conference Center, Pacific Grove, CA, April 25-27, 2010.
  85. Ciccarone D, Hettema JE, Ratanawongsa N, Jain S, Shapiro B, Hersh D, Rios LD, Lum
      PJ, "The Role of Confidence, Perceived Responsibility, and Perceived Barriers in the
      Development of a Novel Substance Use Curriculum for Medical Residents." UCSF
      Academy of Medical Educators, Education Day 2010, UCSF, San Francisco, CA, April 12,
      2010.
  86. Assam A, Ciccarone D, Chang A, McNamara M, Chou C, Muller J. Foundations of Patient
      Care "Integrated Exercises:" Using the TLC Resources Throughout a Longitudinal Course.
      Presented at the opening of the Teaching and Learning Center, UCSF, January 18, 2011.
  87. Ciccarone D. "Rising Tides: The Remodeling of International Flows of Heroin," in Panel:
      "Influencing the War on Drugs: Studying the Illicit Drug Trade." Society for Applied
      Anthropology 71st Annual Meeting, Seattle, WA, March 29 - April 2, 2011.
  88. Ciccarone D., Unick G.J., Rosenblum D. "Rising Tide: Trends in Heroin Price, Purity and
      Heroin Related Consequences in the US: 1990 - 2008." The International Harm Reduction
      Association 22nd International Conference, Beirut, Lebanon, April 3-7, 2011.
  89. Ciccarone D. International Panel: "'How does National Drug Policy Affect Drug
      Treatment?' The SF perspective." The International Harm Reduction Association 22nd
      International Conference, Beirut, Lebanon, April 3-7, 2011.
  90. Ratanawongsa N, Manuel J, Ciccarone D, Hettema J, Shapiro B, Lum P. Enhancing
      Residents' Clinical Skills in Screening, Brief Intervention, and Referral to Treatment for
      Substance Use Disorders. UCSF Academy of Medical Educators, Education Day 2011,
      UCSF, San Francisco, CA, April 25, 2011.
  91. Ratanawongsa N, Manuel J, Ciccarone D, Hettema J, Shapiro B, Jain S, Coffa D,
      Cangelosi C, Tulsky J, Hersh D, Lum P. Screening, Brief Intervention, and Referral to
      Treatment (SBIRT) for Substance Use Disorders among Resident Physicians: Curriculum
      Development and Preliminary Evaluation. AAMC Western Group on Educational Affairs
      (WGEA) 2011 Annual Conference, Stanford University School of Medicine, Palo Alto, CA,
      April 30 - May 3, 2011.
  92. Ratanawongsa N, Manuel J, Ciccarone D, Hettema J, Shapiro B, Lum P. Enhancing
      Residents' Clinical Skills in Screening, Brief Intervention, and Referral to Treatment for
      Substance Use Disorders. Society of General Internal Medicine 34th Annual Meeting,
      Phoenix, AZ, May 4-7, 2011.




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  93. Tseng W, Unick GJ, Rosenblum D, Ciccarone D. Trends in injection drug use-related
      infective endocarditis in the United States, 1993-2007. American Heart Association 2nd
      Annual Greater Bay Area Research Award Reception, San Francisco, CA, Oct. 6, 2011.
  94. Tseng W, Unick GJ, Rosenblum D, Ciccarone D. Trends in injection drug use-related
      infective endocarditis in the United States, 1993-2007. American Public Health Association
      139th Annual Meeting, Washington, DC, October 29- November 2, 2011.
  95. Unick GJ, Rosenblum D, Tseng W, Ciccarone D. Trends in Opiate-Related Overdose
      Admissions in a Nationally Representative Sample of US Hospitals: 1993-2007. American
      Public Health Association 139th Annual Meeting, Washington, DC, October 29- November
      2, 2011.
  96. Hettema J, Ratanawongsa N, Manuel J, Ciccarone D, Lum P et al. The Empirical
      Development of Feedback in a SBIRT Curriculum. Association for Medical Education and
      Research in Substance Abuse (AMERSA), 35th National Conference, Arlington, VA,
      November 3-5, 2011.
  97. Unick GJ, Rosenblum D, Tseng W, Ciccarone D. Trends In Opiate Overdose Related
      Hospital Admission In a Nationally Representative Sample. 2012 Annual Conference of
      the Society for Social Work and Research, Washington, DC, January 11-15, 2012.
  98. Tseng W, Unick GJ, Rosenblum D, Ciccarone D. Trends in injection drug use-related
      infective endocarditis in the United States, 1993-2007. Department of Family and
      Community Medicine Colloquium, UCSF, SF, CA, March 23, 2012.
  99. Ciccarone D, Yu T, Azzam A, Nye, H, Muller J, Chang A. The Medical Note Writing
      Workshop. Department of Family and Community Medicine Colloquium, UCSF, SF, CA,
      March 23, 2012.
 100. Ciccarone D, Yu T, Azzam A, Nye H, Muller J, Chang A. The Medical Note Writing
      Workshop. AAMC Western Group on Educational Affairs (WGEA) 2012 Annual
      Conference, Asilomar, CA, March 31 - April 3, 2012.
 101. Ciccarone D, Yu T, Azzam A, Nye H, Muller J, Chang A. The Medical Note Writing
      Workshop. UCSF Academy of Medical Educators, Education Day 2012, UCSF, SF, CA,
      April 27, 2012.
 102. Hauer K, Chang A, Ciccarone D, Fitzhenry K, Azzam A, Muller J, Fulton T, Yukawa M.
      Competency Directors and Competency Coaches: Implementing a Longitudinal,
      Individualized Competency-based Curriculum. American Association of Medical Colleges
      Annual Meeting, San Francisco, CA, November 2-7, 2012
 103. Ciccarone D, Mars S, Montero F, Karandinos G, Bourgois P. The Pill-studded Path:
      Heroin Initiation East and West, AMERSA 36th National Conference, Bethesda, MD Nov.
      1-3, 2012
 104. Unick GJ, Ciccarone D, Rosenblum D. National Demographic Trends in Hospitalizations
      for Heroin- and Opioid-Related Overdoses, 1993-2009, AMERSA 36th National
      Conference, Bethesda, MD Nov. 1-3, 2012 [Note: Finalist for Best Abstract]
 105. Unick GJ, Ciccarone D, Rosenblum D. Intertwined Epidemics: Rising Hospitalizations for
      Heroin- and Opiate-Related Overdoses, 1993-2009. 9th National Harm Reduction
      Conference: From Public Health to Social Justice, Portland OR. Nov 15-18, 2012.




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 106. Mars S, Ciccarone D, Montero F, Karandinos G, Bourgois P. The Pill-studded Path:
      Heroin Initiation East and West, 9th National Harm Reduction Conference: From Public
      Health to Social Justice, Portland OR. Nov 15-18, 2012.
 107. Unick GJ, Ciccarone D, Rosenblum D. National Demographic Trends in Hospitalizations
      for Heroin- and Opioid-Related Overdoses, 1993-2009, Society for Social Work and
      Research 17th Annual Conference, San Diego, CA, Jan 16-20, 2013.
 108. Rosenblum D, Unick J and Ciccarone D. The Entry of Colombian Heroin into the US
      Market: The Relationship between Competition, Price, and Purity. Seventh Annual
      Conference of the International Society for the Study of Drug Policy, to be held in
      Universidad de los Andes, Bogota, Colombia, May 15-17, 2013.
 109. Ciccarone D, Harris, M. Shooting acid 'gear': The pH of street heroin in London, UK. Harm
      Reduction International Conference 2013, Vilnius, Lithuania, June 9-12, 2013
 110. Bueno AM, Espinel Z, Schultz JM, Ciccarone D. Systematic Review of the Use of
      Buprenorphine for Opioid Withdrawal: Implications for Practice in Colombia. Colombian
      Congress of Psychiatry 2013, Hotel Las Americas, Cartagena, Colombia, October 10-14,
      2013.
 111. Unick GJ, Ciccarone D, Rosenblum D. Relationship between US Heroin Market Dynamics
      and Heroin-Related Overdose 1992-2008, 37th Annual AMERSA National Conference,
      Bethesda, MD, November 7-9, 2013.
 112. Bourgois P, Ciccarone D, Rosenblum D, Castrillo FM, Mars S, Karandinos G, Unick GJ.
      "Puerto Rican Vulnerability in the US Inner-City Narco-Economy" presented to the
      Department of Socio-Medical Sciences, Mailman School of Public Health, Columbia
      University, January 27, 2014.
 113. Ciccarone D, Rosenblum D, Castrillo FM, Bourgois P, Mars S, Karandinos G, Unick GJ.
      Urban Segregation and the US Heroin Market: A Quantitative Model of Anthropological
      Hypotheses from an Inner-City Drug Market. Society for Applied Anthropology 74th Annual
      Meeting, Albuquerque, NM, March 18-21, 2014.
 114. Ciccarone D, Rosenblum D, Castrillo FM, Bourgois P, Mars S, Karandinos G, Unick GJ.
      Urban Segregation and the US Heroin Market: A Quantitative Model of Anthropological
      Hypotheses from an Inner-City Drug Market. Eighth Annual Conference of the
      International Society for the Study of Drug Policy, CNR - Rome, Italy, May 21-23, 2014.
 115. Unick GJ, Rosenblum D, Ciccarone D. National Trends in Heroin-related Skin and Soft
      Tissue Infections and Relationships to Heroin Market Characteristics, 38th Annual
      AMERSA National Conference, San Francisco, CA, November 6-8, 2014.
 116. Mars S, Montero F, Karandinos G, Bourgois P, Ciccarone D. Heroin Overdose: Explaining
      Contrasting Patterns on the East and West Coasts, 38th Annual AMERSA National
      Conference, San Francisco, CA, November 6-8, 2014.
 117. Ciccarone D, Unick GJ, Rosenblum D. National Trends in Heroin-related Skin and Soft
      Tissue Infections and Relationships to Heroin Market Characteristics, 10th National Harm
      Reduction Conference, Baltimore, MD, Oct 23-26, 2014.
 118. Mars S, Montero F, Karandinos G, Bourgois P, Ciccarone D. Heroin Overdose: Explaining
      Contrasting Patterns on the East and West Coasts, 10th National Harm Reduction
      Conference, Baltimore, MD, Oct 23-26, 2014.



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 119. Ciccarone D. Fire in the Vein: Heroin Acidity, Vein Loss and Abscesses, 10th National
      Harm Reduction Conference, Baltimore, MD, Oct 23-26, 2014.
 120. Unick GJ, Ciccarone D. National Trends in Heroin-Related Soft Tissue Infections and
      Their Relationship to Change in Local Heroin Markets, Society for Social Work and
      Research 19th Annual Conference: The Social and Behavioral Importance of Increased
      Longevity, Jan 2015
 121. Ciccarone D. Fire in the Vein: Heroin Acidity, Vein Loss and Abscesses. Society for
      Applied Anthropology 75th Annual Meeting, Pittsburg, PA, March 24th - 28th 2015
 122. Ciccarone D, Unick GJ. "The Pendulum and the Pit": Rising heroin-related medical
      consequences in the US, 2005-2012. Ninth Annual Conference of the International
      Society for the Study of Drug Policy, Gent, Belgium, May 20-2, 2015.
 123. Ciccarone D, Unick GJ, Rosenblum D,. National Trends in Heroin-related Skin and Soft
      Tissue Infections and Relationships to Heroin Market Characteristics, International Harm
      Reduction Conference, Malaysia, Nov. 2015
 124. Mars S, Montero F, Karandinos G, Bourgois P, Ciccarone D. The Vicissitudes of Heroin:
      Change and Continuity in Heroin Forms and Markets in the United States, 39th Annual
      AMERSA National Conference, Washington, DC, November 7-9, 2015.
 125. Ciccarone D, Unick GJ. Opioid "Push" Or Heroin "Pull": Regional Disparities in the Heroin
      Overdose Epidemic, 39th Annual AMERSA National Conference, Washington, DC,
      November 7-9, 2015.
 126. Ciccarone D., Mars, S. Heroin Uncertainties: The Rise in New Forms of Heroin in the US.
      Society for Applied Anthropology 76th Annual Meeting, Vancouver, BC, Canada, March
      29th -April 2nd 2016. [Session Chair and presenter]
 127. Mars SG, Fessel JN, Ciccarone D. The Appreciation of Heroin: Connoisseurship and Its
      Absence in the Present Day United States. Society for Applied Anthropology 76th Annual
      Meeting, Vancouver, BC, Canada, March 29th -April 2nd 2016.
 128. Unick GJ. Ciccarone D. Rates of Opioid Overdose Among Recipients of US Disability
      Insurance Payments, Tenth Annual Conference of the International Society for the Study
      of Drug Policy, Sydney, Australia, May 16-8th, 2016.
 129. Ciccarone D, Unick GJ. Intertwined Epidemics: U.S. Regional Disparities in the Heroin and
      Opioid Overdose Epidemics. Tenth Annual Conference of the International Society for the
      Study of Drug Policy, Sydney, Australia, May 16-8th, 2016.
 130. Yuan P, Goodman L, Nason P, Azzam A, Ciccarone D, Satterfield J. Calibrated Peer
      Review (CPR): A Peer-Peer Evaluation System to Enrich Learning. MedEd Day, UCSF,
      2016
 131. Rosenblum D, Unick GJ, Ciccarone D. An Instrumental Variables Approach to Estimating
      the Effects of Changes in the Heroin Market on Overdose in the US. Economics
      Department, Canadian Economics Association. June. 2016
 132. Zibbel J, Ciccarone D, Wheeler E. Panel presentation: "Illicitly Manufactured Fentanyl in
      the United States: Implications for Overdose Prevention and Public Health" 11th National
      Harm Reduction Conference, San Diego, CA, November 3-6, 2016




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 133. Ciccarone D, Unick GJ, Mars S. A More Dangerous "Heroin": emerging patterns in the
      heroin overdose epidemic, 11th National Harm Reduction Conference, San Diego, CA,
      Nov 3-6, 2016.
 134. Mars S, Ciccarone D, Bourgois P. What is happening to heroin? Flux in the current US
      heroin market, 11th National Harm Reduction Conference, San Diego, CA, Nov 3-6, 2016.
 135. Rosenblum D, Unick GJ, Ciccarone D. An Instrumental Variables Approach to Estimating
      the Effects of Changes in the Heroin Market on Overdose in the US. Economics
      Department, University of Adelaide. Nov. 2016
 136. Unick GJ, Ciccarone D. Rates of Opioid Overdose Among Recipients of US Disability
      Insurance Payments, Society for Social Work and Research 21st Annual Conference: Jan
      2017
 137. Ciccarone D., Mars, S. Heroin Uncertainties: The Rise in New Forms of Heroin in the US.
      Society for Applied Anthropology 77th Annual Meeting, Santa Fe, NM, March 28th to April
      1st 2017.
 138. Ciccarone D. Heroin in Transition: Supply changes, adulteration and consequences.
      International Harm Reduction Conference, Montreal. May 14-17, 2017
 139. Harris M; Ciccarone D; Hope V, Scott J. Drawing attention to neglected injecting-related
      harms: the case of AA amyloidosis International Harm Reduction Conference, Montreal
      May 14-17, 2017
 140. Unick GJ, Ciccarone D. The US Regional Differences in Opioid vs. Heroin Overdose.
      Panel presentation at the Society for Epidemiologic Research’s 50th Annual Meeting,
      Seattle, WA June 20-23rd 2017
 141. Mars S, Ondocsin J, Fessel J, Ciccarone D. “’It’s Not Heroin Anymore!’ Experiences
      Injecting Adulterated Heroin in Four East Coast States,” 41st Annual AMERSA National
      Conference, Washington, DC, November 1-4, 2017.
 142. Harris M, Braithwaite R, Wright T, Ciccarone D, Hope V, Scott J. Navigating the street
      injecting risk environment: learning from the experts to prevent health harms in the UK.
      International Harm Reduction Conference, Porto, Portugal, April 2019
 143. Harris M, Braithwaite R, Wright T, Ciccarone D, Hope V, Scott J. Risky use of acidifiers in
      drug injection preparation: implications for health harms and service provision in the UK,
      International Harm Reduction Conference Porto, Portugal, April 2019
 144. Ciccarone D, Ondocsin J, Howe M, Fessel J and Mars SG. Missed opportunities: viral
      transmission risks among a new cohort of injectors in the United States ‘heroin’ epidemic,
      13th Annual Conference of the International Society for the Study of Drug Policy, Paris,
      France, May 2019
 145. Rosenblum D, Ciccarone D. The Rapidly Changing US Illicit Opioid Market and the
      Potential for an Improved Early Warning System: Evidence from Ohio Drug Crime Labs.
      13th Annual Conference of the International Society for the Study of Drug Policy, Paris,
      France, May 2019
 146. Unick J, Rosenblum D, Ciccarone D. Drug Classification: Consequences for
      understanding the introduction of fentanyl. 13th Annual Conference of the International
      Society for the Study of Drug Policy, Paris, France, May 2019




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 147. Bobashev G, OTHERS, Ciccarone D. NSDUH polysubstance use presentation. 13th
      Annual Conference of the International Society for the Study of Drug Policy, Paris, France,
      May 2019



 OTHER CREATIVE ACTIVITIES
   1. TEACHING AND MENTORING CREATIVE ACTIVITIES:
   2. Ciccarone D and Bourgois P. Syllabus: Inflammation, Immunity and Infection Block,
      lecture on infectious complications of injection drug use. 2002, rev. 2003-2015. Awarded
      "Best Lecture" in 2009.
   3. Ciccarone D and Pena-Dolhun E. Case: "Mr. D. Livery," Integration and Consolidation
      Block. 2003
   4. Ciccarone D. Independent Learning Module: I-3 Block on "Socially" Transmitted Disease.
      2003
   5. Ciccarone D and Mittness L. Syllabus: Prologue Block, lecture on introduction to social
      sciences in medicine. 2003-2004.
   6. Ciccarone D. Facilitator Guide: I-3 Block, small group exercise on social disparities in
      organ transplantation. 2003, rev. 2004, 2005.
   7. Ciccarone D and Hogle L. Syllabus: I-3 Block, small group exercise on social disparities in
      organ transplantation. 2003, rev. 2004, 2005.
   8. Ciccarone D and Dawson-Rose C. Syllabus: Inflammation, Immunity and Infection Block,
      small group exercise on HIV risk reduction. 2004.
   9. Ciccarone D. Director. Recipient of UCSF Academy of Medical Educators Innovations
      funding. Syllabus: Understanding the Complexities of Substance Use in the "Real World,"
      Fourth-year Medical School Elective. 2004-2008.
  10. Satterfield J and Ciccarone D. Syllabus: Prologue Block Lecture, "The Biopsychosocial
      Model and Culture in Medicine: An Introduction to the Social and Behavioral Determinants
      of Health," Pages 7-11. 2005-2006.
  11. Satterfield J and Ciccarone D. Script: Mr. Danovic's Outpatient Visit. 2005-present.
  12. Ciccarone D. Case: "Leaving AMA: Medical Mistakes and Resistance to Medicine, or
      'Please doc don't send me back'." Developed for and discussed in Critical Social Science
      Clinical Case Conference, Homeless Medicine Elective and Public Health and
      Homelessness: Intersections of Law and Health Care.
  13. Ciccarone D and Abrahamson D. Case: "On the Edge: The Medical and Legal Case for
      Safer Injection Facilities." Developed for and discussed in: Public Health and
      Homelessness: Intersections of Law and Health Care. 2008, rev. 2009, 2010.
  14. Ciccarone D. Editor, Syllabus, Foundations of Patient Care course during Organs Block
      (2009-present):
  15. Ciccarone D. Editor, Syllabus, Transitional Clerkship (2009-present):




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  16. Chen H.C. and Ciccarone D. Syllabus: "Challenging Communication," lecture during I3
      Block. 2009-2011.
  17. Foundations of Patient Care Co-Directors (including Ciccarone D.) Cases: revised cases
      used in PBLs and Integrated Exercises, including: "Daniel Green", "Henry Ponds" and
      "Rage."
  18. Lum P., Ciccarone D., Ratanawongsa N., Jain S., Shapiro B., Ciccarone D., Hersh D.,
      Hettema J. Curriculum development: "SBIRT (Screening, Brief Intervention and Referral to
      Treatment) Medical Residency Program at San Francisco General Hospital." This is a 7-
      week seminar series to introduce SBIRT skills to Internal Medicine residents. 2009-2015.
  19. Shore W. and Ciccarone D. Syllabus: "The Medical Record, Part 1," and "The Medical
      Record, Part 2: The SOAP Note, during Organs Block. 2010
  20. Shore WB, Ciccarone D (ed.) and Faculty of Foundations of Patient Care. Co-Edited: The
      Data Base: The Medical History, Physical Examination & Write-up. 7th Edition, 2010.
  21.
   o Ciccarone D. and Co-Directors of Foundations of Patient Care: Integrated Curriculum on
      Clinical Reasoning. I have integrated previously developed material and developed new
      material to make a longitudinal theme on clinical reasoning for the pre-clerkship students.
      The components of this curriculum (and my role):
   o Lecture on the theory and practice of clinical problem solving. (I recruited for this lecture
      for the FPC block I direct.)
   o Series of six "Integrated Exercises," one in each EC block, which allow students to
      practice information gathering and communication skills as well as exercise clinical
      reasoning by means of a worksheet. (Existing material; with extensive revisions to the
      Toby Ettinger case and exercise; see below)
   o Clinical reasoning worksheets: these are utilized by students to develop an evolving
      differential diagnoses list after these key segments of the Integrated Exercise case: Chief
      Complaint, History of Present Illness, full History and Physical Exam. In addition students
      are asked to list key next questions at each stage. (I revised existing material.)
   o The Master Clinician's Corner for Clinical Reasoning (MC3R): a series of six interactive
      sessions following each Integrated Exercise. These present the same case, or a parallel
      one, from the Integrated Exercise and have 1-2 expert clinical discussants walk the class
      through their reasoning process. It is interactive large group session with students using
      an audience response system to weigh in on their diagnoses as well as shorter clinical
      problems using the same clinical presentation as a stem for each question. (I conceived of
      the MC3R concept and format and led the conversion of each existing "Master Clinician
      Wrap-Up" lecture into the new format. I specifically directed and led the MC3R (and co-
      wrote the case) following the Toby Ettinger Integrated Exercise.)
   o The Medical Note Writing Workshop emphasizes the reasoning process in the writing of
      medical notes (see below).
  22. Ciccarone D. and Co-Directors of Foundations of Patient Care, Observed Structured
      Clinical Exam (OSCE):
  23. Ciccarone D, Dhaliwal G and Daihk D. Master Clinician Wrap-up Case. Co-authored and
      co-presented the case of Irene G. Alperts, a fictional case of IGA nephropathy following
      URI. This case and interactive large format discussion diverges from the Toby Ettinger
      Integrated Exercise case, which I have edited and run since 2009. This case also includes
      script concordance tests, as aids in teaching clinical reasoning, and which I am pioneering
      use of in the medical school curriculum (see OSCE above). During 2011-2012, this case


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      and discussion format has become the model for the wrap-up sessions for all the FPC
      Integrated Exercises (6 cases). During 2012-13, I revised this lecture and series to
      become "The Master Clinician's Corner for Clinical Reasoning (MC3R)." The series is well
      received by the students.
  24. Ciccarone D and Tina Yu (MSII): The Medical Note Writing Workshop (2011). This is an
      active learning session, utilizing the technology of the Teaching and Learning Center, in
      which students hear and see a live SP interview and CV exam and practice writing H&P
      and SOAP notes with peer and facilitator guidance. Components developed for this:
  25. Ciccarone D: The Medical Note Writing Workshop (2012). This is the second year of this
      workshop and a new case was adapted for use. The 2011 Workshop was well received by
      students and a description of it has been published in Really Good Stuff in the journal
      Medical Education. New teaching materials authored:
  26. Satterfield J, Azzam A and Ciccarone D. John Danovic PBL Case for small group
      discussion in Brain Mind and Behavior block: "Cog Heuristics and Clinical Decision
      Making"
  27. Ciccarone, Grundling and Lee-Atkinson. Medical Note Writing Workshop revision for
      Bridges (2016) New SP case with two parts; revised Facilitator Guide; model H&P and
      SOAP notes.
  28. Oral case presentations video library. AME innovations grant (2016)
  29. Michael Tomlin case. Developed for Bridges and the Clinical Microsystems Clerkship to be
      used in the Medical Note Writing Workshop (MNWS; sixth year). This is a Standardized
      Patient case in 2 parts: an initial visit for a patient presenting with uncontrolled asthma and
      a follow-up visit to establish primary care. Both SP encounters were videotaped and
      included a master clinician history and physical exam. These videos are presented to
      students in the MNWS for them to work on their first H&P and SOAP notes.
  30. UC-wide Opioid Curriculum Working Group. This group, made up of senior educators
      representing each of the UC medical campuses, is charged with developing a
      contemporary curriculum on pain management and substance use disorder treatment.
      Output from 2018-19: 1. Education competencies on pain management and opioid use
      disorder across three domains. 2. Exploration of and advocacy on buprenorphine waiver
      training for all UC medical students (this is the project I have championed).




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                 Exhibit B
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                                Daniel Ciccarone Reliance List
       In addition to the materials referenced in my report, I considered the following:
 1.    Cases of HIV confirmed in Cabell County,
       https://www.youtube.com/watch?v=nWJg273TNpU
 2.    Epidemiology and Prevention of HIV and Viral Hepatitis Co-infections, Centers for
       Disease Control and Prevention, https://www.cdc.gov/hepatitis/populations/hiv.htm
 3.    West Virginia Department of Health and Human Resources, Heroin Fast Stats, West
       Virginia Department of Health and Human Resources
 4.    HepVu, Local Data: West Virginia, https://hepvu.org/state/west-virginia/
 5.    Susan Williams Keeshin and Judith Feinberg, Endocarditis as a Marker for New
       Epidemics of Injection Drug Use, Am J Med Sci. 2016 Dec; 352(6): 609–614
 6.    Inside America’s Hepatitis Epidemic,
       https://www.youtube.com/watch?v=4mFZxnr7YQE
 7.    West Virginia Department of Health & Human Resources, 2016 West Virginia Overdose
       Fatality Analysis: Healthcare Systems Utilization, Risk Factors, and Opportunities for
       Intervention
 8.    Letter from Charles Babcock et al., Bringing naloxone to ground zero: Huntington, West
       Virginia, Journal of the American Pharmacists Association 57 (2017) S8-S11
 9.    National Survey of Substance Abuse Treatment Services (N-SSATS), 2017 State Profile
       — West Virginia
 10.   West Virginia Department of Health & Human Resources, Outbreak Report: Opioid-
       Related Overdose – Huntington, West Virginia (August 2016)
 11.   West Virginia Board of Pharmacy, Prescription Opioid Problematic Prescribing
       Indicators County Report – Cabell County
 12.   Paul III, D. P., Botre, N., Phillips, M., Abboud, J., Coustasse, A. The Continuing
       Epidemic of Hepatitis C in the United States: The Case of West Virginia. Proceedings of
       the Northeast Business & Economics Association 2018 Conference (pp. 230-236).
       Galloway, NJ.
 13.   Sean T. Allen, DrPH, MPH, Allison O’Rourke, MPH, Rebecca Hamilton White, MPH,
       Kristin E. Schneider, BA, Michael Kilkenny, MD, and Susan G. Sherman, PhD, MPH,
       Estimating the Number of People Who Inject Drugs in A Rural County in Appalachia,
       Am J Public Health. 2019;109:445–450. doi:10.2105/AJPH.2018.304873
 14.   Bishop Nash, DHHR says Cabell HIV cluster is growing, Charleston Gazette-Mail,
       https://www.wvgazettemail.com/news/health/dhhr-says-cabell-hiv-cluster-is-
       growing/article_ba37b709-32ec-5b16-8b8c32867037b9b1.html
 15.   West Virginia Department of Health & Human Resources, West Virginia Health
       Advisory Number WV162-10-09-2019 (Human Immunodeficiency Virus (HIV)
       Infections Among People Who Inject Drugs – Additional Area Seeing Increase, Others
       Vulnerable)
 16.   AIDSVu, Local Data: West Virginia, https://aidsvu.org/local-data/united-
       states/south/west-virginia/
 17.   West Virginia Opioid Epidemic, Opioid & Health Indicators Database,
       https://opioid.amfar.org/WV
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 18.   West Virginia Department of Health & Human Resources, Human Immunodeficiency
       Virus (HIV) and Acquired Immune Deficiency Syndrome (AIDS),
       https://oeps.wv.gov/hiv-aids/Pages/default.aspx
 19.   Sean T. Allen, Rebecca Hamilton White, Allison O’Rourke, N. Jia Ahmad, Tim Hazelett,
       Michael E. Kilkenny, Susan G. Sherman, Correlates of Transactional Sex Among a Rural
       Population of People Who Inject Drugs, AIDS and Behavior (2020) 24:775–781,
       https://doi.org/10.1007/s10461-019-02612-7
 20.   Rebecca Hamilton White, Allison O’Rourke, Ricky N. Bluthenthal, Alex H. Kral,
 21.   Michael E. Kilkenny, Tim D. Hazelett, Susan G. Sherman & Sean T. Allen (2020)
       Initiating Persons into Injection Drug Use in Rural West Virginia, USA, Substance Use
       & Misuse, 55:2, 337-344, DOI:10.1080/10826084.2019.1669660
 22.   Kristin E. Schneider et al., Polysubstance use in rural West Virginia: Associations
       between latent classes of drug use, overdose, and take-home naloxone, International
       Journal of Drug Policy 76 (2020) 102642
 23.   West Virginia Department of Health & Human Resources, Hepatitis B and Hepatitis C
       Infection in West Virginia – 2016 Surveillance Summary (April 2018)
 24.   Bowden, N, Merino, R., Katamneni, S., Coustasse, A. (2018, April). The cost of the
       opioid epidemic in West Virginia. Paper presented at the 54th Annual MBAA
       Conference, Chicago, IL
 25.   The Opioid Files, The Washington Post,
       https://www.washingtonpost.com/national/2019/07/20/opioid-files/?arc404=true
 26.   West Virginia Department of Health & Human Resources, West Virginia Health
       Advisory Number WV162-10-09-2019 (Human Immunodeficiency Virus (HIV)
       Infections Among People Who Inject Drugs – Additional Area Seeing Increase, Others
       Vulnerable)
 27.   HUNT_00030096
 28.   HUNT_00030290
 29.   HUNT_00030421
 30.   HUNT_00053205
 31.   HUNT_00060305
 32.   HUNT_00063582
 33.   HUNT_00081484
 34.   HUNT_00099227
 35.   HUNT_00028762
 36.   HUNT_00030411
 37.   HUNT_00074829
 38.   HUNT_00078524
 39.   HUNT_00080816
 40.   HUNT_00102403
